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Case 2:17-cv-00527-TC           Document 9       Filed 09/06/18      PageID.193     Page 2 of 166

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&HOODULJKWDIWHU&HOODVXEVWDQWLDOO\FRPSOHWHGZRUNRQDQXPEHURIGHDOVDQGLPPHGLDWHO\

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VFKHGXOH6XFKWHUPLQDWLRQZDVDUHVXOWRI0REL&KRUGDQG8KO¶VGHVLUHWRDYRLGSD\LQJ&HOOD

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FRQWUDFWVXQGHUZKLFKLWZRXOGDFTXLUHDQGKDQGOHFODVVLILHGLQIRUPDWLRQRQLQIRUPDWLRQDQG

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            &RPSOLDQFHZLWKWKH1DWLRQDO,QGXVWULDO6HFXULW\3URJUDP ³1,63´ LVD

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            5DWKHUWKDQFRPSO\ZLWKLWVFOHDUOHJDOREOLJDWLRQVRUSD\WKHDPRXQWWKDWZRXOG

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PLVFRQGXFWWRWKHIHGHUDOJRYHUQPHQWGLG0REL&KRUGDOWHULWVDUUDQJHPHQWLQDPDQQHUWKDW

FRPSOLHGZLWKWKHODZ

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           9HQXHLQWKLV&RXUWLVSURSHUEHFDXVH'HIHQGDQWVWUDQVDFWEXVLQHVVLQWKLV'LVWULFW

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           0REL&KRUGLVDWHOHFRPVHUYLFHPDQDJHPHQWFRPSDQ\WKDWHPSOR\VDGDWD

DJJUHJDWLRQWRROWRSURYLGHHQWHUSULVHOHYHODQDO\VLVDQGRSWLPL]DWLRQRILWVFOLHQWV¶PRELOH

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           )RUH[DPSOH0REL&KRUGFROOHFWVGHWDLOHGLQIRUPDWLRQDERXWSKRQHFDOOVWH[W

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ZLWKLQDQRUJDQL]DWLRQDQGDSSOLHVLWVGDWDDQDO\VLVWRROWRGHWHUPLQHWKHPRVWRSWLPL]HGPRELOH

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DEOHWRVDYHWKRXVDQGVRIGROODUVSHUPRQWKLQXQQHFHVVDU\H[SHQVHVDQGRYHUDJHFKDUJHV

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           .OLPHQNRLVD5XVVLDQQDWLRQDO0REL&KRUG¶VFXUUHQW&72DQGPHPEHURI

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           8KOSURPLVHG&HOODWKDWLIKHOHIWKLVWKHQFXUUHQWSRVLWLRQKHZRXOGUHFHLYHDQ

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                         )RUWKHFRQWUDFWVWKDW0REL&KRUGZDVQHJRWLDWLQJZLWKWKHIHGHUDOJRYHUQPHQW

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                         $PRQJRWKHUWKLQJV1,63UHTXLUHVDOOJRYHUQPHQWFRQWUDFWRUVZKRGHDOZLWK

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                I &RQWUDFWRUVDUHREOLJDWHGWRHQVXUHWKDWRQO\DXWKRUL]HGSHUVRQVKDYH

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                J &RQWUDFWRUVDUHREOLJDWHGWRHVWDEOLVKFRQWUROV\VWHPVXQGHUZKLFKWKH

            UHSURGXFWLRQRIFODVVLILHGPDWHULDOLVKHOGWRWKHPLQLPXPFRQVLVWHQWZLWK

            FRQWUDFWXDODQGRSHUDWLRQDOUHTXLUHPHQWV1,6320

                K &RQWUDFWRUVKDQGOLQJFODVVLILHGLQIRUPDWLRQWKURXJKDFRPSXWHU

            LQIRUPDWLRQV\VWHPPXVWDGRSWVHFXULW\SURWRFROVWRSURWHFWFODVVLILHGLQIRUPDWLRQ

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                L &RQWUDFWRUHPSOR\HHVORFDWHGRXWVLGHRIWKH8QLWHG6WDWHVPD\KDYH

            DFFHVVWRFODVVLILHGLQIRUPDWLRQSXUVXDQWWRDYDOLGFRQWUDFWEXWXQGHUQR

            FLUFXPVWDQFHVPD\DQRQ86FLWL]HQHPSOR\HHORFDWHGRXWVLGHWKH8QLWHG6WDWHV

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                   M 6WRUDJHRIFODVVLILHGLQIRUPDWLRQE\FRQWUDFWRUHPSOR\HHVDWDQ\ORFDWLRQ

               RXWVLGHWKH8QLWHG6WDWHVLVVWULFWO\SURKLELWHGXQOHVVWKHQRQ86ORFDWLRQLV

               FRQWUROOHGE\WKH86JRYHUQPHQW1,6320 D 

                   N &ODVVLILHGLQIRUPDWLRQPD\RQO\EHWUDQVPLWWHGRXWVLGHWKH8QLWHG6WDWHVLI

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                   O ,QRUGHUWRTXDOLI\IRUDIDFLOLW\FOHDUDQFHWKHFRPSDQ\PXVWQRWEHXQGHU

               IRUHLJQRZQHUVKLSFRQWURORULQIOXHQFH ³)2&,´ 1,6320 G &)5

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                   P $86FRPSDQ\LVFRQVLGHUHGWREHXQGHU)2&,³ZKHQHYHUDIRUHLJQ

               LQWHUHVWKDVWKHSRZHUGLUHFWRULQGLUHFWZKHWKHURUQRWH[HUFLVHGDQGZKHWKHURU

               QRWH[HUFLVDEOHWKURXJKRZQHUVKLSRIWKH86FRPSDQ\¶VVHFXULWLHVE\

               FRQWUDFWXDODUUDQJHPHQWVRURWKHUPHDQVWRGLUHFWRUGHFLGHPDWWHUVDIIHFWLQJWKH

               PDQDJHPHQWRURSHUDWLRQVRIWKDWFRPSDQ\LQDPDQQHUZKLFKPD\UHVXOWLQ

               XQDXWKRUL]HGDFFHVVWRFODVVLILHGLQIRUPDWLRQRUPD\DGYHUVHO\DIIHFWWKH

               SHUIRUPDQFHRIFODVVLILHGFRQWUDFWV´1,6320 D see also&)5

                E  

                   Q $86FRPSDQ\XQGHU)2&,³is ineligibleIRU>DIDFLOLW\FOHDUDQFH@XQOHVV

               DQGXQWLOVHFXULW\PHDVXUHVKDYHEHHQSXWLQSODFHWRPLWLJDWH)2&,´&)5

                E  L  HPSKDVLVDGGHG 

           &RPSDQLHVDUHDOVRUHTXLUHGWRFRPSOHWHD&HUWLILFDWH3HUWDLQLQJWR)RUHLJQ

,QWHUHVWVZKHQDSSO\LQJIRUDIDFLOLW\FOHDUDQFH1,6320$FRS\RIWKH&HUWLILFDWH

3HUWDLQLQJWR)RUHLJQ,QWHUHVWV ³&HUWLILFDWH´ LVDWWDFKHGKHUHWRDV([KLELW&
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           $PRQJRWKHULQIRUPDWLRQFRPSDQLHVFRPSOHWLQJD&HUWLILFDWHDUHUHTXLUHGWR

GLVFORVHZKHWKHUDQ\IRUHLJQSHUVRQVGLUHFWO\RULQGLUHFWO\KDYHDEHQHILFLDORZQHUVKLSLQWHUHVW

RIILYHSHUFHQWRIWKHFRPSDQ\RUPRUH([&

           &RPSDQLHVDUHDOVRUHTXLUHGWRGLVFORVHZKHWKHUDQ\QRQ86FLWL]HQVHUYHVDVD

PHPEHURIWKHERDUGRIGLUHFWRUVRUDVDVHQLRUPDQDJHPHQWRIILFLDORIWKHFRPSDQ\RULQDQ\

RWKHUZD\LVDEOHWRLQIOXHQFHRUFRQWUROWKHRSHUDWLRQVRIWKHFRPSDQ\([&

           &RPSOHWLRQRIWKH&HUWLILFDWHLVDUHTXLUHPHQWIRUDIDFLOLW\FOHDUDQFH([&

           &RPSDQLHVXQGHU)2&,PD\VWLOOTXDOLI\IRUDIDFLOLW\FOHDUDQFHEXWRQO\LIWKH\

DGRSWPHWKRGVWRQHJDWHRUPLWLJDWHWKHIRUHLJQRZQHUVKLSRUFRQWURO1,6320

           +RZHYHUXQGHUDOOVXFKPLWLJDWLRQSODQVLQGLYLGXDOVLQPDQDJHPHQWSRVLWLRQV

ZLWKDFFHVVWRFODVVLILHGLQIRUPDWLRQPXVWEH86FLWL]HQVUHVLGLQJLQWKH8QLWHG6WDWHV

1,6320

           &RQWUDFWRUVWKDWVHHNWRQHJDWHRUPLWLJDWH)2&,PXVWDQQXDOO\FHUWLI\WKHLU

FRPSOLDQFHZLWKVXFKPLWLJDWLRQSURFHGXUHV1,6320 E 

0REL&KRUG¶V(IIRUWVWR&RQWUDFWZLWKWKH866WDWH'HSDUWPHQWDQG0LVXVHRI6WDWH
'HSDUWPHQW,QIRUPDWLRQ
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       6LQFH0REL&KRUGKDVEHHQDSODWIRUPSDUWQHUZLWK6HUYLFH1RZDWRSWLHU

SURYLGHURIJRYHUQPHQWLQIRUPDWLRQWHFKQRORJ\ ³,7´ FRQWUDFWV

           6HUYLFH1RZFRQWUDFWVZLWKQXPHURXVJRYHUQPHQWDJHQFLHVWRSURYLGHDYDULHW\

RI,7UHODWHGVHUYLFHVDQGSDUWQHUVZLWKFRPSDQLHVOLNH0REL&KRUGWRPDQDJHWKRVHFRQWUDFWV

           :LWKDQQXDOUHYHQXHVRIDSSUR[LPDWHO\ELOOLRQ6HUYLFH1RZLVRQHRIWKH

ODUJHVWDQGPRVWWUXVWHGVXSSOLHUVRI,7UHODWHGVHUYLFHVWRWKHIHGHUDOJRYHUQPHQW




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           ,QJRYHUQPHQWSURFXUHPHQWSDUWQHUVKLSVZLWKHVWDEOLVKHGYHQGRUVOLNH6HUYLFH

1RZDUHHVSHFLDOO\YDOXDEOHEHFDXVHVXFKSDUWQHUVKLSVDOORZQHZYHQGRUVWRIDVWWUDFNWKHLU

DSSOLFDWLRQVWRSURYLGHVHUYLFHVWRWKHJRYHUQPHQW

           2IWHQRQFHDYHQGRUKDVVXFFHVVIXOO\ILQDOL]HGRQHFRQWUDFWZLWKDEXUHDXRU

DJHQF\RIWKHIHGHUDOJRYHUQPHQWWKDWYHQGRUZLOOEHSUHIHUHQWLDOO\SODFHGWRHQWHULQWR

DGGLWLRQDOFRQWUDFWVZLWKRWKHUGLYLVLRQV

           ,QRUDURXQG$XJXVW0REL&KRUGEHJDQQHJRWLDWLQJZLWKWKH6WDWH

'HSDUWPHQWWRSURYLGHLWVGDWDDQDO\VLVWRROVWRRSWLPL]HWKH6WDWH'HSDUWPHQW¶VPRELOHGHYLFH

XVDJH

           &HOODZDVLQFKDUJHRIWKHQHJRWLDWLRQVDQGZRUNHGFORVHO\ZLWK6WDWH'HSDUWPHQW

RIILFLDOV

           2QLQIRUPDWLRQDQGEHOLHIWKHSURSRVHGFRQWUDFW WKH³&RQWUDFW´ ZDVZRUWK

DSSUR[LPDWHO\PLOOLRQRYHUWKUHH\HDUV

           7KH&RQWUDFWZDV0REL&KRUG¶VODUJHVWVLQJOHFRQWUDFWWRGDWHDQGZRXOGKDYH

FRQVWLWXWHGDSSUR[LPDWHO\WKLUW\ILYHSHUFHQW  RIWKHFRPSDQ\¶VDQQXDOUHYHQXH

           $OWKRXJKWKH&RQWUDFWRULJLQDOO\FRQWHPSODWHGWKDW0REL&KRUGZRXOGVLPSO\

OLFHQVHLWVWHFKQRORJ\WRWKH6WDWH'HSDUWPHQWDWWKHWLPH&HOODZDVWHUPLQDWHG DQGEHIRUHKH

QRWLILHG0REL&KRUGWKDWKHZRXOGEHUHSRUWLQJLWVFRQGXFWWRWKHIHGHUDOJRYHUQPHQW 

0REL&KRUGZDVQHJRWLDWLQJWRSURYLGHDPDQDJHGVHUYLFHXQGHUZKLFK0REL&KRUGZRXOG

DFWLYHO\PRQLWRUDQGDQDO\]HWKH6WDWH'HSDUWPHQW¶VGDWD

           8QGHUWKH&RQWUDFW0REL&KRUGZRXOGEHJUDQWHGDFFHVVWRDOO6WDWH'HSDUWPHQW

PRELOHGHYLFHGDWDLQFOXGLQJFDOOORJVWH[WPHVVDJHVLQVWDQWPHVVHQJHUORJV*36DQGRWKHU



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ORFDWLRQEDVHGGDWDHPDLODQGRWKHUPHVVDJLQJVHUYLFHVDQGDOOZHEEURZVLQJKLVWRU\RIDOO

6WDWH'HSDUWPHQWHPSOR\HHV

            6XFKHPSOR\HHVLQFOXGHGGLSORPDWVDQGWKHLUVWDIIOLYLQJDEURDGDVZHOODV

HPSOR\HHVORFDWHGLQWKH8QLWHG6WDWHV

            2QLQIRUPDWLRQDQGEHOLHIPXFKRIWKHGDWDWRZKLFK0REL&KRUGZRXOGEHSULY\

FRQVWLWXWHVFODVVLILHGPDWHULDO

            )RUH[DPSOH0REL&KRUGZRXOGEHSULY\WRWKHORFDWLRQRIHYHU\6WDWH

'HSDUWPHQWPRELOHGHYLFH²LQFOXGLQJWKRVHGHYLFHVXVHGE\VHQLRU6WDWH'HSDUWPHQWRIILFLDOV

DQGGLSORPDWV²DWDOOWLPHV

            $VDQRWKHUH[DPSOH0REL&KRUGZRXOGKDYHFRPSOHWHDFFHVVWRERWKWKHFRQWHQW

DQGWKHPHWDGDWDDVVRFLDWHGZLWKHPDLOVWH[WPHVVDJHVDQGFKDWSURJUDPVXVHGE\DOO6WDWH

'HSDUWPHQWHPSOR\HHVLQWKHLURIILFLDOEXVLQHVV

            ,QRUDURXQG-XO\DQG$XJXVWWKH6WDWH'HSDUWPHQWSURYLGHG0REL&KRUG

ZLWKDQDQRQ\PL]HGGDWDVHWRQZKLFK0REL&KRUGFRXOGUXQLWVDQDO\WLFVVRWKDW0REL&KRUG

FRXOGGHPRQVWUDWHWKHSRWHQWLDOFRVWVDYLQJVRILWVV\VWHP

            $OWKRXJKWKLVGDWDVHWZDVDQRQ\PL]HGWKH6WDWH'HSDUWPHQWGLUHFWHGWKDWWKH

GDWDZDVQRWWROHDYHWKH6WDWH'HSDUWPHQW¶VIDFLOLW\XQGHUDQ\FLUFXPVWDQFHV

            8QEHNQRZQVWWRWKH6WDWH'HSDUWPHQWDQG&HOOD.OLPHQNRVHWXSD³PLUURU´LQ

ZKLFKWKH6WDWH'HSDUWPHQW¶VGDWDVHWZDVFRSLHGDQGWUDQVPLWWHGWRDQDO\VWVLQ.LHY8NUDLQH

            2QLQIRUPDWLRQDQGEHOLHI8KONQHZRIDQGDSSURYHGWKHXVHRIWKLVPLUURU

            2QLQIRUPDWLRQDQGEHOLHI.OLPHQNRDQG8KOVHWXSWKLVPLUURUVRWKDW

0REL&KRUGFRXOGPDNHXVHRIORZHUSDLGQRQ86FLWL]HQDQDO\VWVLQWKH8NUDLQH



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           7KH8NUDLQLDQDQDO\VWVZHUHJUDQWHGIXOODFFHVVWRWKH6WDWH'HSDUWPHQW¶VGDWD

ZKLFKHYHQLQDQDQRQ\PL]HGIRUPWKH6WDWH'HSDUWPHQWZDQWHGNHSWVROHO\ZLWKLQLWVIDFLOLW\

           $FFHVVWRVXFKGDWDE\XQDXWKRUL]HGLQGLYLGXDOVFRQVWLWXWHVDJUDYHWKUHDWWR86

QDWLRQDOVHFXULW\

           ,QDKLJKO\XQXVXDOPRYH8KODQG.OLPHQNRFXW&HOODRXWRIWKHLQIRUPDWLRQ

ORRSUHJDUGLQJWKHDQDO\VLVRIWKH6WDWH'HSDUWPHQW¶VGDWDVHW

           8VXDOO\WKHVDOHVUHSUHVHQWDWLYHLQFKDUJHRIDFRQWUDFWLVLQIRUPHGRIWKH

RXWFRPHRI0REL&KRUG¶VHYDOXDWLRQVRWKDWWKHVDOHVUHSUHVHQWDWLYHFDQFRPPXQLFDWHWKDW

RXWFRPHWRWKHFOLHQW

           2QLQIRUPDWLRQDQGEHOLHI8KODQG.OLPHQNRGHOLEHUDWHO\FKRVHQRWWRLQIRUP

&HOODRIWKHDQDO\VHVFRQGXFWHGRQWKH6WDWH'HSDUWPHQW¶VGDWDVHWLQRUGHUWRSUHYHQW&HOODIURP

GLVFRYHULQJWKDWWKHGDWDKDGEHHQVHQWRYHUVHDV

           :KHQ&HOODEHFDPHDZDUHRIWKHXVHRIWKHPLUURUIRUWKH6WDWH'HSDUWPHQW¶V

GDWDKHSURWHVWHGWR8KO

           8KO¶VUHVSRQVHZDVWKDWXVHRIWKHPLUURUZDVQRWDSUREOHPEHFDXVHWKHVHUYHUV

RQZKLFKWKH6WDWH'HSDUWPHQW¶VGDWDZDVXOWLPDWHO\VWRUHGZHUHLQWKH8QLWHG6WDWHV

           2IFRXUVHWKHIDFWWKDWWKHGDWDVHWZDVVWRUHGRQVHUYHUVLQWKH8QLWHG6WDWHVGRHV

QRWPLWLJDWHWKHIDFWWKDWQRQ86FLWL]HQVLQWKH8NUDLQHZHUHJUDQWHGDFFHVVWRDQGSHUIRUPHG

GHWDLOHGDQDO\VHVRQWKDWGDWD

           7KHWUDQVPLVVLRQRIWKH6WDWH'HSDUWPHQW¶VGDWDWRDQDO\VWVLQWKH8NUDLQHZDV

FRQVLVWHQWZLWK0REL&KRUG¶VXVXDOSUDFWLFH




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Case 2:17-cv-00527-TC        Document 9       Filed 09/06/18      PageID.204        Page 13 of 166

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           2QLQIRUPDWLRQDQGEHOLHI0REL&KRUGKDVIROORZHGWKHVDPHSUDFWLFHZLWKRWKHU

FOLHQWVLQFOXGLQJWKH5R\DO%DQNRI&DQDGDDQG:LOOLDPV(OHFWULFDQRWKHUJRYHUQPHQW

FRQWUDFWRU

           2QLQIRUPDWLRQDQGEHOLHIWKHWUDQVPLVVLRQRIWKRVHFOLHQWV¶GDWDWRRYHUVHDV

DQDO\VWVZDVLQYLRODWLRQRIWKHODZDQGRI0REL&KRUG¶VFRQWUDFWXDOREOLJDWLRQV

           :KHQ&HOODEHFDPHDZDUHWKDW0REL&KRUGKDGVHQWGDWDIURPWKH5R\DO%DQNRI

&DQDGDDQG:LOOLDPV(OHFWULFRYHUVHDVKHH[SUHVVHGKLVFRQFHUQVWR8KODERXWGDWDEHLQJVHQW

RXWVLGHWKHFOLHQWV¶QHWZRUNV

           $VSDUWRIWKHQHJRWLDWLRQSURFHVVIRUWKH&RQWUDFWWKH6WDWH'HSDUWPHQW

H[SUHVVO\DVNHG0REL&KRUGDERXWZKHWKHULWZDVXQGHU)2&,

           ,QRUDERXW$XJXVW&HOODEURXJKWIRUWKFRQFHUQVDERXWGLVFORVLQJ

0REL&KRUG¶VIRUHLJQRZQHUVKLSDQGFRQWURO

           $WWKDWWLPHnoneRI0REL&KRUG¶VPDQDJHPHQWRUERDUGRIGLUHFWRUVZDVD86

FLWL]HQ

           8KOUHMHFWHG&HOOD¶VFRQFHUQVDQGVXJJHVWHGWKDWVXFKGLVFORVXUHVZHUHQRW

&HOOD¶VUHVSRQVLELOLW\

           7KURXJKRXWWKHIDOORI&HOODUHSHDWHGO\UDLVHGKLVFRQFHUQVDERXW

0REL&KRUGQHHGLQJWRGLVFORVHLWVIRUHLJQRZQHUVKLSZLWKWKH6WDWH'HSDUWPHQWDQGZDV

UHSHDWHGO\WROGWKDWKHZDVQRWWRPDNHVXFKGLVFORVXUHV

           2QLQIRUPDWLRQDQGEHOLHI0REL&KRUGQHYHUPDGHWKHUHTXLUHGGLVFORVXUHV

           2QLQIRUPDWLRQDQGEHOLHI0REL&KRUGOHYHUDJHGLWVUHODWLRQVKLSZLWK6HUYLFH

1RZ²DWUXVWHGJRYHUQPHQWFRQWUDFWRU²WRDYRLG6WDWH'HSDUWPHQWVFUXWLQ\RI0REL&KRUG¶V

RZQHUVKLS
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7HUPLQDWLRQRI&HOOD¶V(PSOR\PHQWZLWK0REL&KRUG

            'HVSLWH&HOOD¶VH[HPSODU\SHUIRUPDQFHDV93RI6DOHV8KOVXGGHQO\WHUPLQDWHG

&HOOD¶VHPSOR\PHQWZLWK0REL&KRUGRQ'HFHPEHU²RQHPRQWKEHIRUHWKHILUVWTXDUWHU

RI&HOOD¶VRSWLRQVZDVWRYHVW

            &HOOD¶VWHUPLQDWLRQZDVKLJKO\LUUHJXODULQWKDWWKHUHZHUHQRLQGLFDWLRQV8KORU

DQ\RQHHOVHZDVXQKDSS\ZLWK&HOOD¶VSHUIRUPDQFH

            1RUZDV&HOODSURYLGHGZLWKDQ\WHUPLQDWLRQSDSHUZRUNDVLVXVXDOO\SURYLGHG

            ,QVWHDG8KODSSURDFKHG&HOODZLWKRXWZDUQLQJDVNHGKLPWRFRPSOHWHSDSHUZRUN

QHHGHGWRILQDOL]HVHYHUDOVDOHVFRQWUDFWV&HOODKDGQHJRWLDWHGWKHQDVNHG&HOODWRIROORZKLPWR

KLVRIILFHKDQGHG&HOODDFKHFNIRUWKHFRPPLVVLRQVRZHGRQUHFHQWO\FORVHGFRQWUDFWVDQG

LQIRUPHG&HOODKHZDVILUHG

            0REL&KRUGGLGQRWSD\&HOODFRPPLVVLRQVRQWKHFRQWUDFWVKHRULJLQDWHGEXW

ZKLFKKDGQRWRIILFLDOO\FORVHGGHVSLWHWKHIDFWWKDW&HOODKDGFRPSOHWHGDOORIWKHVWHSV

QHFHVVDU\WREULQJLQWKHFRQWUDFWV

            )URPWKHQXPEHURIFRQWUDFWVWKDWZHUHVXEVWDQWLDOO\FRPSOHWHDWWKHWLPH&HOOD

ZDVWHUPLQDWHGDQGDVDGLUHFWUHVXOWRI&HOOD¶VHIIRUWV&HOODZRXOGKDYHEHHQHQWLWOHGWR

FRPPLVVLRQVH[FHHGLQJPLOOLRQ

            %HFDXVH8KOWHUPLQDWHG&HOOD¶VHPSOR\PHQWSULRUWR)HEUXDU\&HOODZDV

GHQLHGWKHILUVWTXDUWHURIKLVRSWLRQDVZHOO

            2QLQIRUPDWLRQDQGEHOLHI&HOOD¶VWHUPLQDWLRQZDVXQUHODWHGWRDQ\OHJLWLPDWH

EXVLQHVVFRQFHUQ

            5DWKHURQLQIRUPDWLRQDQGEHOLHI&HOOD¶VWHUPLQDWLRQZDVPRWLYDWHGE\FRQFHUQV

KHUDLVHGUHODWHGWR0REL&KRUG¶VPLVKDQGOLQJRIWKH6WDWH'HSDUWPHQW¶VGDWDDQGIDLOXUHWR
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GLVFORVHLWVIRUHLJQRZQHUVKLSDVUHTXLUHGE\ODZE\0RELFKRUG¶VGHVLUHWRWHUPLQDWH&HOOD

EHIRUHKLVLQWHUHVWLQ0RELFKRUGEHJDQWRYHVWDQGE\0RELFKRUG¶VGHVLUHWREHQHILWIURPWKH

ODUJHQXPEHURIFRQWUDFWV&HOODEURXJKWLQZLWKRXWSD\LQJ&HOODWKHFRPPLVVLRQVRZHGWRKLP

            ,QIDFWnoneRI86FLWL]HQ0REL&KRUGHPSOR\HHVZKRKDGNQRZOHGJHRIWKH

&RQWUDFWUHPDLQZLWK0REL&KRUGWRGD\DOOVXFKHPSOR\HHVKDYHEHHQILUHG

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            &HOODKHUHE\LQFRUSRUDWHWKHIRUHJRLQJSDUDJUDSKVRIWKLV&RPSODLQWE\UHIHUHQFH

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            &HOODZDVDWDOOUHOHYDQWWLPHVDQHPSOR\HHRI0REL&KRUG

         8QGHUIHGHUDOODZ0REL&KRUGZDVUHTXLUHGWRFHUWLI\WKDWLWZDVLQFRPSOLDQFH

ZLWKDOODSSOLFDEOHUHJXODWLRQVLQFOXGLQJ1,6320UHTXLUHPHQWV

         0REL&KRUGGLGVRFHUWLI\RULQWKHDOWHUQDWLYH0REL&KRUG¶VFRQWLQXHG

SDUWLFLSDWLRQLQWKH&RQWUDFWFRQVWLWXWHVDQLPSOLHGFHUWLILFDWLRQRILWVFRPSOLDQFHZLWKWKH

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         7KLVFHUWLILFDWLRQZDVIDOVHDQGRUIUDXGXOHQWEHFDXVH0REL&KRUGLVRZQHGDQGRU

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         &HOODLQIRUPHG8KOLQ8KO¶VFDSDFLW\DV0REL&KRUG¶V&(2WKDW0REL&KRUGZDV

UHTXLUHGWRGLVFORVHLWVIRUHLJQRZQHUVKLSDQGWKDWPXFKRI0REL&KRUG¶VDQDO\VLVZDVFRQGXFWHG

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&HOODIRULQIRUPLQJ0REL&KRUGRILWVOHJDOREOLJDWLRQV

         &HOODLVHQWLWOHGWRUHLQVWDWHPHQWRIKLVMREDQGWRGDPDJHVWREHGHWHUPLQHGDW

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          0REL&KRUGKDGDQREOLJDWLRQQRWWRLQWHQWLRQDOO\LQWHUIHUHZLWK&HOOD¶VULJKWV

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WKDW&HOODZRXOGKDYHXOWLPDWHLQGHSHQGHQFHLQKLVDELOLW\WRQHJRWLDWHWKHVDOHVFRQWUDFWV

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                   EXHIBIT A
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                                     M OBICHORD, LLC
                                          4001S 700E Suite 500
                                        Salt Lake City, Utah 84107



                                          January 16, 2016

 Travis Cella
 Via email to: Travis.Cella@gmail.com



 Dear Travis:

       MobiChord LLC, a Utah corporation (the “Company”), is pleased to offer you
 employment with the Company on the terms described below.

        1.      Position. You will start as VP of Sales America reporting to the CEO. Your
 primary duties will be winning new customer and extending the MobiChord footprint in existing
 customer in America. This may include the recruiting and management of additional employees.

 By signing this letter agreement you represent and warrant to the Company that you are under no
 contractual commitments inconsistent with your obligations to the Company.

       2.      Compensation and Employee Benefits. As a full-time employee of the
 Company, you are entitled to standard company employee benefits such as vacation, sick leave
 and medical insurance.

 You are eligible to participate on the new Company’s Option program 2016 with an option
 amount of 1% of the shares of the cooperation with a vesting period of four years. 25% of the
 option will vest after the first year and the remaining 75% of the option will vest 1/48 per month
 after the initial 25% are vested. The strike price of the shares are based on the company valuation
 as of 12/31/2015.

 You will be paid a guaranteed base salary of $120.000 per year paid in twenty-four bi-weekly
 rates of $5.000, payable on the Company’s regular payroll.

 Your commission is $120,000 per year, if you reach the yearly target. Your on target earning
 (OTE) is $240,000 (base salary plus commission). The yearly target and the commission base
 and calculation will be defined yearly.

 The calculation of your commission in 2016 is based on the subscription invoices of MobiChord
 in America. Your 2016 target for subscription invoice is $2,000,000 ($1,630,000 direct and
 370,000 indirect). For eligible invoices you will receive a commission of 7% of your direct new
 customer and 3% of your indirect (managed by your sales team or from existing customer). For
 invoices after you reached your target of $2,000,000 you receive an additional commission of
 2%. The compensation will be paid in the month following the payment of the customer.

 You are entitled for reimbursement of travel and communication expenses within the limits of
 the US tax laws. The reimbursement for the use of your own car is limited to the gas expenses.
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 You will work from your Home Office in Utah. You have 24 days vacation per year, which has
 to be taken till the end of March of the following year.

         3.      Confidential Information and Invention Assignment Agreement. It should be
 noted that, like all of the Company’s employees, as a condition of employment, you will be
 required to sign an agreement which addresses the issues of confidentiality, conflicts of interest,
 non-competition, and invention assignments, two copies of which are included with this offer
 letter. Please sign one copy and return it with this letter, retaining the other copy for your files.

         4.      Employment Relationship. Employment with the Company is for no specific
 period of time. Your employment with the Company will be “at will,” meaning that either you
 or the Company may terminate your employment at any time and for any reason, with or without
 cause. Any contrary representations which may have been made to you are superseded by this
 offer. This is the full and complete agreement between you and the Company on this term.
 Although your job duties, title, compensation and benefits, as well as the Company’s personnel
 policies and procedures, may change from time to time, the “at will” nature of your employment
 may only be changed in an express written agreement signed by you and the Company’s CEO.

         5.      Outside Activities. While you render services to the Company, you agree that
 you will not engage in any other employment, consulting or other business activity without the
 written consent of the Company. In addition, while you render services to the company, you will
 not assist any person or entity in competing with the Company, in preparing to compete with the
 Company or in hiring any employees or consultants of the Company.

         6.      Withholding Taxes. All forms of compensation referred to in this letter are
 subject to applicable withholding and payroll taxes.

        7.      Entire Agreement. This letter supersedes and replaces any prior understandings
 or agreements, whether oral, written or implied, between you and the Company regarding the
 matters described in this letter.

                                          [Signature Page Follows]




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          If you wish to accept this offer, please sign and date both the enclosed duplicate original
 of this letter and the enclosed Confidential Information and Invention Assignment Agreement
 and return them to me. This offer, if not accepted, will expire at the close of business on January
 23, 2015.

        We look forward to having you join us February 1 2016.

                                                        Very truly yours,


                                                        MOBICHORD LLC




                                                        By:
                                                                        (Signature)

                                                        Name: Herbert Uhl
                                                        Title: CEO

 ACCEPTED AND AGREED:

 TREVIS CELLA
 (PRINT EMPLOYEE NAME)


 (Signature)


 Date

 Anticipated Start Date: February 1, 2016

 Attachment: MobiChord LLC Proprietary Information and Invention Assignment Agreement




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                       MOBICHORD, LLC PROPRIETARY INFORMATION AND INVENTIONS AGREEMENT

    In consideration of my employment or continued employment by MobiChord, LLC (together with any successors or assigns, the
 “Company”), and the compensation now and hereafter paid to me, I, intending to be legally bound, hereby agree as follows:

1.        NONDISCLOSURE.                                                  2.        ASSIGNMENT OF INVENTIONS.

          1.1        Recognition      of     Company’s         Rights;              2.1        Proprietary Rights. The term “Proprietary
Nondisclosure. At all times during my employment and thereafter,          Rights” shall mean all trade secret, patent, copyright, mask work
I will hold in strictest confidence and will not disclose, use, lecture   and other intellectual property rights throughout the world.
upon or publish any of the Company’s Proprietary Information
(defined below), except as such disclosure, use or publication may                  2.2        Prior Inventions. I have set forth on Exhibit A
be required in connection with my work for the Company, or unless         attached hereto a complete list of all Inventions that I have, alone or
an officer of the Company (other than me) expressly authorizes such       jointly with others, conceived, developed or reduced to practice or
in writing. I will obtain Company’s written approval before               caused to be conceived, developed or reduced to practice prior to the
publishing or submitting for publication any material (written,           commencement of my employment with the Company, that I
verbal, or otherwise) that incorporates any Proprietary Information       consider to be my property or the property of third parties and that I
and/or disparages the Company. I hereby assign to the Company             wish to have excluded from the scope of this Agreement
any rights I may have or acquire in such Proprietary Information and      (collectively referred to as “Prior Inventions”). If disclosure of any
recognize that all Proprietary Information shall be the sole property     such Prior Invention would cause me to violate prior confidentiality
of the Company and its assigns.                                           obligation to which I am subject, I understand that I am not to list
                                                                          such Prior Inventions in Exhibit A but am only to disclose a cursory
           1.2      Proprietary Information.             The term         name for each such invention, a listing of the party(ies) to whom it
“Proprietary Information” shall mean any and all confidential             belongs and the fact that full disclosure as to such inventions has not
and/or proprietary knowledge, data or information of the Company.         been made for that reason. A space is provided on Exhibit A for
By way of illustration but not limitation, “Proprietary                   such purpose. If no such disclosure is attached, I represent that there
Information” includes (a) trade secrets, inventions, mask works,          are no Prior Inventions. If, in the course of my employment with the
ideas, processes, formulas, source and object codes, data, programs,      Company, I incorporate a Prior Invention into a Company product,
other works of authorship, know-how, improvements, discoveries,           process or machine, the Company is hereby granted and shall have a
developments, designs and techniques (hereinafter collectively            nonexclusive, royalty-free, irrevocable, perpetual, worldwide license
referred to as “Inventions”); and (b) information regarding plans for     (with rights to sublicense through multiple tiers of sublicensees) to
research, development, new products, marketing and selling,               make, have made, modify, use and sell such Prior Invention.
business plans, budgets and unpublished financial statements,             Notwithstanding the foregoing, I agree that I will not incorporate, or
licenses, prices and costs, suppliers and customers and potential         permit to be incorporated, Prior Inventions in any Company
suppliers and customers; and (c) information regarding the skills and     Inventions without the Company’s prior written consent.
compensation or employment terms of other employees of the
Company.                                                                            2.3       Assignment of Inventions. I hereby assign and
                                                                          agree to assign in the future (when any such Inventions or
           1.3       Third Party Information. I understand, in            Proprietary Rights are first reduced to practice or first fixed in a
addition, that the Company has received and in the future will            tangible medium, as applicable) to the Company all my right, title
receive from third parties confidential or proprietary information        and interest in and to any and all Inventions (and all Proprietary
(“Third Party Information”) subject to a duty on the Company’s            Rights with respect thereto) whether or not patentable or registrable
part to maintain the confidentiality of such information and to use it    under copyright or similar statutes, developed, made, conceived or
only for certain limited purposes.         During the term of my          reduced to practice or learned by me, either alone or jointly with
employment and thereafter, I will hold Third Party Information in         others, prior to or during the period of my employment with the
the strictest confidence and will not disclose to anyone (other than      Company, and which either (a) relate in any way to the business or
Company personnel who need to know such information in                    anticipated business of the Company; or (b) arise from or relate to
connection with their work for the Company) or use, except in             my service or anticipated service to the Company. Inventions
connection with my work for the Company, Third Party Information          assigned to the Company, or to a third party as directed by the
unless expressly authorized by an officer of the Company in writing.      Company pursuant to this Section 2, are hereinafter referred to as
                                                                          “Company Inventions.”
          1.4        No Improper Use of Information of Prior
Employers and Others. During my employment by the Company I                         2.4       Obligation to Keep Company Informed.
will not improperly use or disclose any confidential information or       During period of my employment and for two years after termination
trade secrets, if any, of any former employer or any other person to      of my employment with the Company, I will promptly disclose to
whom I have an obligation of confidentiality, and I will not bring        the Company fully and in writing all Inventions authored, conceived
onto the premises of the Company any unpublished documents or             or reduced to practice by me, either alone or jointly with others. In
any property belonging to any former employer or any other person         addition, I will promptly disclose to the Company all patent
to whom I have an obligation of confidentiality unless consented to       applications filed by me or on my behalf within a year after
in writing by that former employer or person. I will use in the           termination of employment.
performance of my duties only information which is generally
known and used by persons with training and experience comparable                   2.5       Works for Hire. I acknowledge that all original
to my own, which is common knowledge in the industry or                   works of authorship which are made by me (solely or jointly with
otherwise legally in the public domain, or which is otherwise             others) within the scope of my employment (which shall be deemed
provided or developed by the Company.                                     to include Company Inventions made by me, solely or jointly with
                                                                          others, prior to my employment), and which are protectable by
                                                                          copyright are “works made for hire,” pursuant to United States
                                                                          Copyright Act (17 U.S.C., Section 101).
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           2 .6     Enforcement of Proprietary Rights. I will            director or otherwise), or have any ownership interest in, or
assist the Company in every proper way to obtain, and from time to       participate in the financing, operation, management or control of,
time enforce, United States and foreign Proprietary Rights relating to   any person, firm, corporation or business that engages in a
Company Inventions in any and all countries. To that end I will          “Restricted Business” in a “Restricted Territory” (as defined below).
execute, verify and deliver such documents and perform such other        It is agreed that ownership of (i) no more than one percent (1%) of
acts (including appearances as a witness) as the Company may             the outstanding voting stock of a publicly traded corporation, or (ii)
reasonably request for use in applying for, obtaining, perfecting,       any stock I presently own shall not constitute a violation of this
evidencing, sustaining and enforcing such Proprietary Rights and the     provision.
assignment thereof. In addition, I will execute, verify and deliver
assignments of such Proprietary Rights to the Company or its                        5.1       REASONABLE. I agree and acknowledge that the
designee. My obligation to assist the Company with respect to            time limitation on the restrictions in this paragraph, combined with
Proprietary Rights relating to such Company Inventions in any and        the geographic scope, is reasonable. I also acknowledge and agree
all countries shall continue beyond the termination of my                that this paragraph is reasonably necessary for the protection of
employment, but the Company shall compensate me at a reasonable          Company’s Proprietary Information as defined in paragraph 1.2
rate after my termination for the time actually spent by me at the       herein, that through my employment I have and shall receive
Company’s request on such assistance.                                    adequate consideration for any loss of opportunity associated with
                                                                         the provisions herein, and that these provisions provide a reasonable
In the event the Company is unable for any reason, after reasonable      way of protecting Company’s business value which will be imparted
effort, to secure my signature on any document needed in connection      to me. I also understand it is a condition of my employment that I
with the actions specified in the preceding paragraph, I hereby          execute this agreement. If any restriction set forth in this Section 5
irrevocably designate and appoint the Company and its duly               is found by any court of competent jurisdiction to be unenforceable
authorized officers and agents as my agent and attorney in fact,         because it extends for too long a period of time or over too great a
which appointment is coupled with an interest, to act for and in my      range of activities or in too broad a geographic area, it shall be
behalf to execute, verify and file any such documents and to do all      interpreted to extend only over the maximum period of time, range
other lawfully permitted acts to further the purposes of the preceding   of activities or geographic area as to which it may be enforceable.
paragraph with the same legal force and effect as if executed by me.
I hereby waive and quitclaim to the Company any and all claims, of                 5.2       As used herein, the terms:
any nature whatsoever, which I now or may hereafter have for
infringement of any Proprietary Rights assigned hereunder to the                   (i)        “Restricted Business” shall mean any line of
Company.                                                                 the Company’s business conducted by the Company during the one
                                                                         year period prior to my last day of employment with the Company.
3.         RECORDS. Unless otherwise directed or requested by the
Company, I agree to keep and maintain adequate and current records                 (ii)      “Restricted Territory” shall mean the United
(in the form of notes, sketches, drawings and in any other form that     States.
may be required by the Company) of all Proprietary Information
developed by me and all Inventions made by me during the period of       6.         NO CONFLICTING OBLIGATION. I represent that my
my employment at the Company, which records shall be available to        performance of all the terms of this Agreement and as an employee
and remain the sole property of the Company at all times.                of the Company does not and will not breach any agreement to keep
                                                                         in confidence information acquired by me in confidence or in trust
4.         NO CONFLICTS OR SOLICITATION. I acknowledge that              prior to my employment by the Company. I have not entered into,
during my employment I will have access to and knowledge of              and I agree I will not enter into, any agreement either written or oral
Proprietary Information. To protect the Company’s Proprietary            in conflict herewith.
Information, I agree that during the period of my employment by the
Company I will not, without the Company’s express written consent,       7.        RETURN OF COMPANY DOCUMENTS. When I leave the
engage in any other employment or business activity that would           employ of the Company, I will deliver to the Company any and all
conflict with my obligations to the Company. For the period of my        drawings, notes, memoranda, specifications, devices, formulas, and
employment by the Company and continuing until two (2) years             documents, together with all copies thereof, and any other material
after my last day of employment with the Company, I will not (a)         containing or disclosing any Company Inventions, Third Party
directly or indirectly induce any employee of the Company to             Information or Proprietary Information of the Company. I further
terminate or adversely alter his or her relationship with the            agree that any property situated on the Company’s premises and
Company, (b) solicit the business of any client or customer of the       owned by the Company, including disks and other storage media,
Company (other than on behalf of the Company) in any manner that         filing cabinets or other work areas, is subject to inspection by
is competitive with the Company or (c) induce any supplier, content      Company personnel at any time with or without notice. Prior to
provider, vendor, consultant or independent contractor of the            leaving, I will cooperate with the Company in completing and
Company to terminate or adversely alter his, her or its relationship     signing the Company’s termination statement in the general form
with the Company. If any restriction set forth in this Section is        attached as Exhibit B to this Agreement, with such modifications as
found by any court of competent jurisdiction to be unenforceable         may reasonably apply with respect to my service to and relationship
because it extends for too long a period of time or over too great a     with the Company.
range of activities or in too broad a geographic area, it shall be
interpreted to extend only over the maximum period of time, range        8.         LEGAL AND EQUITABLE REMEDIES. Because my services
of activities or geographic area as to which it may be enforceable.      are personal and unique and because I may have access to and
                                                                         become acquainted with the Proprietary Information of the
5.        COVENANT NOT TO COMPETE. I acknowledge that during             Company, the Company shall have the right to enforce this
my employment I will have access to and knowledge of Proprietary         Agreement and any of its provisions by injunction, specific
Information. To protect the Company’s Proprietary Information, I         performance or other equitable relief, without bond and without
agree that during my employment with the Company whether full-           prejudice to any other rights and remedies that the Company may
time or half-time and for a period of one year after my last day of      have for a breach of this Agreement.
employment with the Company, I will not directly or indirectly
engage in (whether as an employee, consultant, proprietor, partner,
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9.        NOTICES. Any notices required or permitted hereunder             this Agreement shall be construed as a waiver of any other right.
shall be given to the appropriate party at the address specified below     The Company shall not be required to give notice to enforce strict
or at such other address as the party shall specify in writing. Such       adherence to all terms of this Agreement.
notice shall be deemed given upon personal delivery to the
appropriate address or the next business day after mailing if sent by                11.8       Entire Agreement. The obligations pursuant to
nationally recognized overnight courier or if sent by certified or         Sections 1 and 2 of this Agreement shall apply to any time during
registered mail, three (3) days after the date of mailing.                 which I was previously in service with, or am in the future in service
                                                                           with, the Company or any of its predecessors as a consultant or
10.       NOTIFICATION OF NEW EMPLOYER. In the event that I                employee if no other agreement governs nondisclosure and
leave the employ of the Company, I covenant and agree to inform            assignment of inventions during such period. This Agreement is the
any new employer of my rights and obligations under this                   final, complete and exclusive agreement of the parties with respect
Agreement and hereby consent to the notification of my rights and          to the subject matter hereof and supersedes and merges all prior
obligations under this Agreement by the Company.                           discussions between us. No modification of or amendment to this
                                                                           Agreement, nor any waiver of any rights under this Agreement, will
11.       GENERAL PROVISIONS.                                              be effective unless in writing and signed by the party to be charged.
                                                                           Any subsequent change or changes in my duties, salary or
           11.1      Governing Law; Consent to Personal                    compensation will not affect the validity or scope of this Agreement.
Jurisdiction. This Agreement will be governed by and construed
according to the laws of the State of Utah, as such laws are applied               11.9  Advice of Counsel. I ACKNOWLEDGE
to agreements entered into and to be performed entirely within such        THAT, IN EXECUTING THIS AGREEMENT, I HAVE HAD THE
state between residents of such state. I hereby expressly consent to       OPPORTUNITY TO SEEK THE ADVICE OF INDEPENDENT
the personal jurisdiction of the state and federal courts located in       LEGAL COUNSEL, AND I HAVE READ AND UNDERSTOOD
Utah for any lawsuit filed there against me by Company arising from        ALL OF THE TERMS AND PROVISIONS OF THIS
or related to this Agreement.                                              AGREEMENT.     THIS AGREEMENT SHALL NOT BE
                                                                           CONSTRUED AGAINST ANY PARTY BY REASON OF THE
           11.2       Severability. In case any one or more of the         DRAFTING OR PREPARATION HEREOF.
provisions contained in this Agreement shall, for any reason, be held
to be invalid, illegal or unenforceable in any respect, such invalidity,            I HAVE READ THIS AGREEMENT CAREFULLY AND
illegality or unenforceability shall not affect the other provisions of    UNDERSTAND ITS TERMS. I HAVE COMPLETELY FILLED OUT EXHIBIT
this Agreement, and this Agreement shall be construed as if such           A TO THIS AGREEMENT.
invalid, illegal or unenforceable provision had never been contained
herein. If moreover, any one or more of the provisions contained in        Dated:
this Agreement shall for any reason be held to be excessively broad
as to duration, geographical scope, activity or subject, it shall be
construed by limiting and reducing it, so as to be enforceable to the      (Signature)
extent compatible with the applicable law as it shall then appear.

          11.3       Successors and Assigns. This Agreement will           (Printed Name)
be binding upon my heirs, executors, administrators and other legal
representatives and will be for the benefit of the Company, its            ACCEPTED AND AGREED TO:
successors, and its assigns.
                                                                           MOBICHORD, LLC
          11.4       Survival. The provisions of this Agreement
shall survive the termination of my employment and the assignment
of this Agreement by the Company to any successor in interest or
other assignee.

           11.5      Attorneys Fees. In the event that any dispute
between the parties to this Agreement should result in litigation, the     By:
prevailing party in such dispute shall be entitled to recover from the
losing party all fees, costs and expenses incurred by such prevailing
                                                                           Title: CEO
party, including without limitation, such reasonable fees and
expenses of attorneys, which shall include, without limitation, all
fees, costs and expenses of appeals.                                       Address: 4001S 700E Suite 500, Salt Lake City, Utah 84092

          11.6       Employment. I acknowledge and agree that my           Dated: 1/16/2016
relationship with the Company is at-will, and that both the Company
and I may terminate my employment relationship at any time, with
or without cause or advance notice. I further agree and understand
that nothing in this Agreement shall confer any right with respect to
continuation of employment by the Company, nor shall it interfere in
any way with my right or the Company’s right to terminate my
employment at any time, with or without cause or advance notice.

         11.7     Waiver. No waiver by the Company of any
breach of this Agreement shall be a waiver of any preceding or
succeeding breach. No waiver by the Company of any right under


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                                                                   EXHIBIT A

                                                               PRIOR INVENTIONS

TO:                 MOBICHORD, LLC

FROM:

DATE:

SUBJECT:            Prior Inventions

1.        Except as listed in Section 2 below, the following is a complete list of all inventions or improvements relevant to the subject matter of
my employment by MobiChord, LLC (the “Company”) that have been made or conceived or first reduced to practice by me alone or jointly with
others prior to my engagement by the Company:

                    No inventions or improvements.

                    See below:




          Additional sheets attached.

2.      Due to a prior confidentiality agreement, I cannot complete the disclosure under Section 1 above with respect to inventions or
improvements generally listed below, the proprietary rights and duty of confidentiality with respect to which I owe to the following party(ies):

          Invention or Improvement                Party(ies)                         Relationship

1.

2.

3.

          Additional sheets attached.




                                                                   A-1.
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                                                       EXHIBIT B

                                            TERMINATION CERTIFICATE

        This termination certificate (this “Certificate”) is provided in connection with my termination of service with
MobiChord, LLC (the “Company”). Capitalized terms not otherwise defined herein have the meaning set forth in that
certain Proprietary Information and Inventions Agreement signed by me (the “Inventions Agreement”), a copy of
which is attached to this Certificate.

         In this Certificate, I represent and warrant that I have complied, and covenant and agree that I will comply,
with all of the terms and conditions of the Inventions Agreement, including without limitation all terms and conditions
relating to Proprietary Information, Proprietary Rights and Inventions. I acknowledge and agree that the Company’s
acceptance of this Certificate does not constitute an acknowledgement, waiver or release of any claims that the
Company may have against me under the Inventions Agreement or applicable law.

Date:
                                                         (Employee’s Signature)


                                                         (Print Employee’s Name)




                                                        2.
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                   EXHIBIT B
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                                     Incorporating Change 2,
                                     May 18, 2016
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1
 Not codified
2
 Copy is available at www.ul.com/contact us. Government agencies with a role as a Cognizant Security Agency or
Cognizant Security Office may obtain this reference without charge.


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      Information and Cyber Incident Reporting”
(ai) Section 3541 et seq. of title 44, United States Code (also known as the “Federal Information
      Security Management Act (FISMA)”)
(aj) National Institute of Standards and Technology Special Publication 800-37, “Guide for
      Applying the Risk Management Framework to Federal Information Systems: A Security
      Life Cycle Approach” February 2010, as amended 4
(ak) Committee on National Security Systems Directive 504, “Protecting NSS from Insider
      Threat,” February 4, 2014
(al) National Institute of Standards and Technology Special Publication 800-53, “Security and
     Privacy Controls for Federal Information Systems and Organizations,” current edition
(am) Committee on National Security Systems Information (CNNSI) No. 1253, “Security
      Categorization and Control Selection for National Security Systems,” March 27, 2014”
(an) Office of Management and Budget Memorandum M-14-03, “Enhancing the Security of
      Federal Information and Information Systems,” November 18, 2013
(ao) Treaty Between the Government of the United States of America and the Government of
      the United Kingdom of Great Britain and Northern Ireland Concerning Defense Trade
      Cooperation, June 21, 2007 5
(ap) Treaty Between the Government of the United States of America and the Government of
      the Australia Concerning Defense Trade Cooperation, September 5, 20075
(aq) Committee on National Security Systems Instruction No. 4009, “National Information
      Assurance (IA) Glossary,” April 26, 2010
(ar) National Security Presidential Directive-54, “Cyber Security and Monitoring,” January 8,
      2008
(as) Department of Energy Order 475.2B, “Identifying Classified Information,”
      October 3, 2014


3
  Copy is available at http://www.ncix.gov/nittf/docs/National_Insider_Threat_Policy.pdf
4
  Copy is available at http: //csrc.nist.gov/publications/.
5
  Copy is available at http://www/pmddtc.state.gov


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(at) Department of Energy Manual 205.1B, “Department of Energy Cyber Security Program,”
     May 16, 2011, as amended
(au) Department of Energy Order 452.7, “Protection of Use Control Vulnerabilities and
     Designs,” May 14, 2010
(av) Department of Energy Order 452.4B, “Security and Use Control of Nuclear Explosives and
     Nuclear Weapons,” January 22, 2010
(aw) Department of Energy Order 473.3, “Protection Program Operations,” June 29, 2011
(ax) Department of Energy Order 471.6, “Information Security,” June 20, 2011, as amended
(ay) Department of Energy Manual 483.1-1A, “DOE Cooperative Research and Developments
     Agreements Manual,” November 6, 2013




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AL1. Acronyms

AL.1.1. ACCM                  Alternative Compensatory Control Measures
AL.1.2. AECA                  Arms Export Control Act
AL.1.3. AO                    Authorizing Official
AL.1.4. ASC                   Alarm Service Company
AL.1.5. ATD                   Authorization Termination Date
AL.1.6 ATO                    Authorization to Operate
AL.1.7 AUS                    Australia

AL.1.8. BL                    Bill of Lading

AL.1.9. C                     CONFIDENTIAL
AL.1.10. CAGE                 Commercial and Government Entity
AL.1.11. CAP                  Controlled Access Program
AL.1.12. CFIUS                Committee on Foreign Investment in the United States
AL.1.13. CFR                  Code of Federal Regulations
AL.1.14. CI                   Counterintelligence
AL.1.15. CIA                  Central Intelligence Agency
AL.1.16. CM                   Configuration Management
AL.1.17. CNSS                 Committee on National Security Systems
AL.1.18. CNWDI                Critical Nuclear Weapons Design Information
AL.1.19. COMSEC               Communications Security
AL.1.20. COR                  Central Office of Record
AL.1.21. CRYPTO               Cryptographic
AL.1.22. CSA                  Cognizant Security Agency
AL.1.23. CSO                  Cognizant Security Office
AL.1.24. CUSR                 Central United States Registry
AL.1.25. CVA                  Central Verification Activity

AL.1.26. DCID                 Director of Central Intelligence Directive
AL.1.27. DDTC                 Directorate of Defense Trade Controls
AL.1.28. DGR                  Designated Government Representative
AL.1.29. DNI                  Director of National Intelligence
AL.1.30. DOD                  Department of Defense
AL.1.31. DOE                  Department of Energy
AL.1.32. DOJ                  Department of Justice
AL.1.33. DSS                  Defense Security Service
AL.1.34. DTIC                 Defense Technical Information Center

AL.1.35. EAA                  Export Administration Act
AL 1.36. EPA                  Environmental Protection Agency

AL.1.37. FBI                  Federal Bureau of Investigation
AL.1.38. FCC                  Federal Communications Commission
AL.1.39. FCL                  Facility (Security) Clearance
AL.1.40. FGI                  Foreign Government Information
AL.1.41. FOCI                 Foreign Ownership, Control or Influence
AL.1.42. FOUO                 For Official Use Only
AL.1.43. FRD                  Formerly Restricted Data
AL.1.44. FRS                  Federal Reserve System
AL.1.45. FSCC                 NATO Facility Security Clearance Certificate
AL.1.46. FSO                  Facility Security Officer

AL.1.47. GAO                  Government Accountability Office



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AL.1.48. GCA                  Government Contracting Activity
AL.1.49. GCMS                 Government Contractor Monitoring Station
AL.1.50. GFE                  Government Furnished Equipment
AL.1.51. GSA                  General Services Administration
AL.1.52. GSC                  Government Security Committee

AL.1.53. IATO                 Interim Authorization to Operate
AL.1.54. IC                   Intelligence Community
AL.1.55. IDS                  Intrusion Detection System
AL.1.56. IFB                  Invitation for Bid
AL.1.57. IR&D                 Independent Research & Development
AL.1.58. IS                   Information System
AL.1.59. ISs                  Information Systems
AL.1.60. ISCAP                Interagency Security Classification Appeals Panel
AL.1.61. ISL                  Industrial Security Letter
AL.1.62. ISOO                 Information Security Oversight Office
AL.1.63. ISR                  Industrial Security Representative
AL.1.64. ISSM                 Information System Security Manager
AL.1.65. ISSO                 Information System Security Officer
AL.1.66. ITAR                 International Traffic in Arms Regulations

AL.1.67. LAA                  Limited Access Authorization
AL.1.68. LAN                  Local Area Network
AL.1.69. MFO                  Multiple Facility Organization

AL.1.70. NACLC                National Agency Check with Local Agency Check and Credit Check
AL.1.71. NASA                 National Aeronautics and Space Administration
AL.1.72. NATO                 North Atlantic Treaty Organization
AL.1.73. NIAG                 NATO Industrial Advisory Group
AL.1.74. NID                  National Interest Determination
AL.1.75. NISP                 National Industrial Security Program
AL.1.76. NISPOM               National Industrial Security Program Operating Manual
AL.1.77. NISPOMSUP            National Industrial Security Program Operating Manual Supplement
AL.1.78. NIST                 National Institute for Standards and Technology
AL.1.79. NOFORN               Not Releasable to Foreign Nationals
AL.1.80. NPLO                 NATO Production Logistics Organization
AL.1.81. NRC                  Nuclear Regulatory Commission
AL.1.82. NSA                  National Security Agency
AL.1.83. NSF                  National Science Foundation
AL.1.84. NSI                  National Security Information

AL.1.85. OADR                 Originating Agency's Determination Required
AL.1.86. ORCON                Dissemination and Extraction of Information Controlled by Originator

AL.1.87 PCL                   Personnel (Security) Clearance
AL.1.88. PROPIN               Proprietary Information Involved

AL.1.89. RD                   Restricted Data
AL.1.90. RDT&E                Research, Development, Test, and Evaluation
AL.1.91. REL TO               Authorized for Release to
AL.1.92. RFP                  Request for Proposal
AL.1.93. RFQ                  Request for Quotation
AL.1.94. RFV                  Request for Visit

AL.1.95. S                    SECRET
AL.1.96. SAP                  Special Access Program


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AL.1.97. SBA                  Small Business Administration
AL.1.98. SCA                  Security Control Agreement
AL.1.99. SCI                  Sensitive Compartmented Information
AL.1.100. SCIF                Sensitive Compartmented Information Facility
AL.1.101. SDDC                Surface Deployment and Distribution Command
AL.1.102. SIO                 Senior Intelligence Officer
AL.1.103. SSA                 Special Security Agreement
AL.1.104. SSBI                Single Scope Background Investigation
AL.1.105. SSP                 Systems Security Plan

AL.1.106. TS                  TOP SECRET
AL.1.107. TCO                 Technology Control Officer
AL.1.108. TCP                 Technology Control Plan
AL.1.109. TFNI                Transclassified Foreign Nuclear Information
AL.1.110. TP                  Transportation Plan

AL.1.111. UK                  United Kingdom
AL.1.112. UL                  Underwriters' Laboratories
AL.1.113. USAID               United States Agency for International Development
AL.1.114. USC                 United States Code
AL.1.115. USCIS               United States Citizenship and Immigration Services
AL.1.116. USITC               United States International Trade Commission
AL.1.117. USML                United States Munitions List
AL.1.118. USTR                United States Trade Representative

AL.1.119. VAL                 Visit Authorization Letter




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                                             CHAPTER 1
                                  General Provisions and Requirements

                                             Section 1. Introduction


1-100. Purpose. This Manual:                                              (1) The Secretary of Energy and the
                                                                     Chairman of the NRC are responsible for
     a. Is issued in accordance with the National                    prescribing that portion of the Manual that
Industrial Security Program (NISP). It prescribes the                pertains to information classified under reference
requirements, restrictions, and other safeguards to                  (c). Additionally, the Secretary of Energy and
prevent unauthorized disclosure of classified                        the Chairman of the NRC retain authority over
information. The Manual controls the authorized                      access to information under their respective
disclosure of classified information released by U.S.                programs classified under reference (c), and may
Government Executive Branch Departments and                          inspect and monitor contractor, licensee,
Agencies to their contractors. It also prescribes the                certificate holder, and grantee programs and
procedures, requirements, restrictions, and other                    facilities that involve access to such
safeguards to protect special classes of classified                  information.
information, including Restricted Data (RD),
Formerly Restricted Data (FRD), intelligence sources                      (2) The DNI is responsible for prescribing
and methods information, Sensitive Compartmented                     that portion of the Manual that pertains to
Information (SCI), and Special Access Program                        intelligence sources and methods, including SCI.
(SAP) information. These procedures are applicable                   The DNI retains authority over access to
to licensees, grantees, and certificate holders to the               intelligence sources and methods, including SCI.
extent legally and practically possible within the                   The DNI’s responsibilities are derived from the
constraints of applicable law and the Code of Federal                National Security Act of 1947, as amended
Regulations (CFR).                                                   (reference (d)); Executive Order (EO) 12333, as
                                                                     amended (reference (e)); reference (b); and The
    b. Incorporates and cancels DoD 5220.22-M,                       Intelligence Reform and Terrorism Prevention
Supplement 1 (reference (ab)).                                       Act (IRTPA) of 2004 (reference (f)). For
                                                                     purposes of this Manual, the DNI may inspect
1-101. Authority                                                     and monitor contractor, licensee, and grantee
                                                                     programs and facilities that involve access to
     a. The NISP was established by Executive Order                  such information.
(E.O.) 12829 (reference (a)) for the protection of
information classified under E.O. 13526 (reference                    c. The Secretary of Defense serves as Executive
(b)), or its successor or predecessor orders, and the            Agent for inspecting and monitoring contractors,
Atomic Energy Act of 1954, as amended (reference                 licensees, grantees, and certificate holders who
(c)). The National Security Council is responsible for           require or will require access to, or who store or will
providing overall policy direction for the NISP. The             store classified information; and for determining the
Secretary of Defense has been designated Executive               eligibility for access to classified information of
Agent for the NISP by the President. The Director,               contractors, licensees, certificate holders, and
Information Security Oversight Office (ISOO), is                 grantees and their respective employees.
responsible for implementing and monitoring the
NISP and for issuing implementing directives that                     d. The Director, ISOO, will consider and take
shall be binding on agencies.                                    action on complaints and suggestions from persons
                                                                 within or outside the Government with respect to the
     b. The Secretary of Defense, in consultation                administration of the NISP.
with all affected agencies and with the concurrence
of the Secretary of Energy, the Chairman of the                       e. Nothing in this Manual shall be construed to
Nuclear Regulatory Commission (NRC) and the                      supersede the authority of the Secretary of Energy or
Director of National Intelligence (DNI) is responsible           the Chairman of the NRC under reference (c). Nor
for the issuance and maintenance of this Manual.                 shall this information detract from the authority of
                                                                 installation commanders under the Internal Security
                                                                 Act of 1950 (reference (g)); or the authority of the



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DNI under reference (f). This Manual shall not                     Secretary of State; (5) the Administrator, Small
detract from the authority of other applicable                     Business Administration (SBA); (6) the Director,
provisions of law, or the authority of any other                   National Science Foundation (NSF); (7) the Secretary
Federal department or agency head granted according                of the Treasury; (8) the Secretary of Transportation;
to U.S. statute or Presidential decree.                            (9) the Secretary of the Interior; (10) the Secretary of
                                                                   Agriculture; (11) the Secretary of Labor; (12) the
1-102. Scope                                                       Administrator, Environmental Protection Agency
                                                                   (EPA); (13) the Attorney General, Department of
    a. The NISP applies to all Executive Branch                    Justice (DOJ); (14) the Chairman, Board of
Departments and Agencies and to all cleared                        Governors, Federal Reserve System (FRS); (15) the
contractor facilities located within the United States             Comptroller General of the United States,
and its territories.                                               Government Accountability Office (GAO); (16) the
                                                                   Director of Administrative Services, United States
     b. This Manual applies to and shall be used by                Trade Representative (USTR); (17) the Director of
contractors to safeguard classified information                    Administration, United States International Trade
released during all phases of the contracting,                     Commission (USITC); (18) the Administrator,
licensing, and grant process, including bidding,                   United States Agency for International Development
negotiation, award, performance, and termination. It               (USAID); (19) the Executive Director for Operations
also applies to classified information not released                of the NRC; (20) the Secretary of Education; (21) the
under a contract, license, certificate or grant, and to            Secretary of Health and Human Services; (22) the
foreign government information furnished to                        Secretary of Homeland Security; (23) the Deputy
contractors that requires protection in the interest of            Managing Director, Federal Communications
national security.       This Manual implements                    Commission (FCC); (24) the Deputy Director,
applicable Federal statutes, E.O.s, national directives,           Facilities, Security, and Contracting, Office of
international treaties, and certain government-to-                 Personnel Management; (25) the Archivist, United
government agreements.                                             States     National      Archives      and      Records
                                                                   Administration; (26) the President and Chief
    c. Implementation of changes to this Manual by                 Executive Officer, Overseas Private Investment
contractors shall be effected no later than 6 months               Corporation; (27) the Deputy Secretary, Department
from the date of the published change, with the                    of Housing and Urban Development; (28) the Chief
exception of changes related to US-UK and US-                      Executive      Officer,     Millennium        Challenge
Australia (AUS) Treaty requirements, in Chapters 4                 Corporation; (29) the Deputy Assistant to the
and 10, Section 8 of this Manual, which must be                    President and Director, Office of Administration
implemented immediately.                                           Executive Office of the President; (30) the Associate
                                                                   Commissioner, Office of Security and Emergency
    d. This Manual does not contain protection                     Preparedness, Social Security Administration; and
requirements for Special Nuclear Material.                         (31) the Chief Postal Inspector, United States Postal
                                                                   Service.
1-103. Agency Agreements
                                                                   1-104. Security Cognizance
     a. Reference (a) requires the Heads of Agencies
to enter into agreements with the Secretary of                          a. Consistent with paragraph 1-101e, security
Defense as the Executive Agent for the NISP. This is               cognizance remains with each Federal department or
designated by Presidential guidance that establishes               agency unless lawfully delegated.           The term
the terms of the Secretary's responsibilities on behalf            Cognizant Security Agency (CSA) denotes the
of these agency heads.                                             Department of Defense (DoD), the Department of
                                                                   Energy (DOE), the NRC, and the DNI. The
     b. The Secretary of Defense has entered into                  Secretary of Defense, the Secretary of Energy, the
agreements with the departments and agencies listed                DNI and the Chairman, NRC, may delegate any
below for the purpose of rendering industrial security             aspect of security administration regarding classified
services. This delegation of authority is contained in             activities and contracts under their purview within the
an exchange of letters between the Secretary of                    CSA or to another CSA. Responsibility for security
Defense and (1) the Administrator, National                        administration may be further delegated by a CSA to
Aeronautics and Space Administration (NASA); (2)                   one or more Cognizant Security Offices (CSO). It is
the Secretary of Commerce; (3) the Administrator,                  the obligation of each CSA to inform industry of the
General Services Administration (GSA); (4) the                     applicable CSO.


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     b. The designation of a CSO does not relieve                 forwarded to the CSA through its designated CSO.
any Government Contracting Activity (GCA) of the                  Requests for interpretation by contractors located on
responsibility to protect and safeguard the classified            any U.S. Government installation shall be forwarded
information necessary for its classified contracts, or            to the CSA through the commander or head of the
from visiting the contractor to review the security               host installation. Requests for interpretation of
aspects of such contracts.                                        Director of Central Intelligence Directives (DCIDs)
                                                                  shall be forwarded to the DNI through approved
     c. Nothing in this Manual affects the authority              channels.
of the Head of an Agency to limit, deny, or revoke
access to classified information under its statutory,             1-107. Waivers and Exceptions to this Manual.
regulatory, or contract jurisdiction if that Agency               Requests shall be submitted by industry through
Head determines that the security of the nation so                government channels approved by the CSA. When
requires. The term "Agency Head" has the meaning                  submitting a request for waiver, the contractor shall
provided in Title 5 United States Code (U.S.C.)                   specify, in writing, the reasons why it is impractical
Section 552(f) (reference (h)).                                   or unreasonable to comply with the requirement.
                                                                  Waivers and exceptions will not be granted to impose
1-105. Composition of Manual. This Manual is                      more stringent protection requirements than this
comprised of a "baseline" portion (Chapters 1                     Manual provides for CONFIDENTIAL, SECRET, or
through 11). The portion of the Manual that                       TOP SECRET information.
prescribes requirements, restrictions, and safeguards
that exceed the baseline standards, such as those                 1-108. Releasability and Effective Date
necessary to protect special classes of information, is
included     in      the    NISPOM         Supplement               a. Cleared for public release. This manual is
(NISPOMSUP). Until officially revised or canceled,                available on the Internet from the DoD Issuances
the existing Carrier Supplement to the former                     Website at http://www.dtic.mil/whs/directives.
"Industrial Security Manual for Safeguarding
Classified Information" (reference (i)) will continue               b. Is effective February 28, 2006.
to be applicable to DoD-cleared facilities only.

1-106. Manual Interpretations. All contractor
requests for interpretations of this Manual shall be




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                                        Section 2. General Requirements


1-200. General. Contractors shall protect all                      procedures shall be prepared when the FSO believes
classified information to which they have access or                them to be necessary for effective implementation of
custody. A contractor performing work within the                   this Manual or when the CSA determines them to be
confines of a Federal installation shall safeguard                 necessary to reasonably exclude the possibility of
classified information according to the procedures of              loss or compromise of classified information.
the host installation or agency.
                                                                   1-204. One-Person Facilities. A facility at which
1-201. Facility Security Officer (FSO). The                        only one person is assigned shall establish procedures
contractor shall appoint a U.S. citizen employee, who              for CSA notification after death or incapacitation of
is cleared as part of the facility clearance (FCL) to be           that person. The current combination of the facility's
the FSO. The FSO will supervise and direct security                security container shall be provided to the CSA, or in
measures necessary for implementing applicable                     the case of a multiple facility organization, to the
requirements of this Manual and related Federal                    home office.
requirements for classified information. The FSO, or
those otherwise performing security duties, shall                  1-205. Cooperation with Federal Agencies and
complete security training as specified in Chapter 3               Officially Credentialed Representatives of Those
and as deemed appropriate by the CSA.                              Agencies. Contractors shall cooperate with Federal
                                                                   agencies     and     their   officially    credentialed
1-202. Insider Threat Program.                                     representatives     during     official    inspections,
                                                                   investigations concerning the protection of classified
     a. The contractor will establish and maintain an              information and during personnel security
insider threat program that will gather, integrate, and            investigations of present or former employees and
report relevant and available information indicative               others. Cooperation includes providing suitable
of a potential or actual insider threat, consistent with           arrangements within the facility for conducting
E.O. 13587 (reference (ac)) and the National Insider               private interviews with employees during normal
Threat Policy and Minimum Standards for Executive                  working hours, providing relevant employment and
Branch Insider Threat Programs (reference (ad)), as                security records and records pertinent to insider threat
required by the appropriate CSA.                                   (e.g., security, cybersecurity and human resources)
                                                                   for review when requested, and rendering other
     b. The contractor will designate a U.S. citizen               necessary assistance.
employee, who is a senior official and cleared in
connection with the FCL, to establish and execute an               1-206.        Security Training and Briefings.
insider threat program. This Insider Threat Program                Contractors are responsible for advising all cleared
Senior Official may also serve as the FSO. If the                  employees, including those outside the United States,
designated senior official is not also the FSO, the                of their individual responsibility for safeguarding
contractor’s Insider Threat Program Senior Official                classified information. In this regard, contractors
will assure that the FSO is an integral member of the              shall provide security training as appropriate,
contractor’s implementation program for an insider                 according to Chapter 3, to cleared employees by
threat program.                                                    initial briefings, refresher briefings, and debriefings.

     c. A corporate family may choose to establish a               1-207. Security Reviews
corporate-wide insider threat program with one
senior official designated to establish and execute the                 a. Government Reviews. Aperiodic security
program.      Each cleared legal entity using the                  reviews of all cleared contractor facilities will be
corporate-wide Insider Threat Program Senior                       conducted to ensure that safeguards employed by
Official must separately designate that person as the              contractors are adequate for the protection of
Insider Threat Program Senior Official for that legal              classified information.
entity.
                                                                            (1) Review Cycle. The CSA will determine
                                                                   the frequency of security reviews, which may be
1-203.     Standard Practice Procedures.           The             increased or decreased consistent with risk
contractor shall implement all applicable terms of this            management principles. Security reviews may be
Manual at each of its cleared facilities. Written


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conducted not more often than once every 12 months                       (4) Self-inspections by contractors will include
unless special circumstances exist.                                 the review of representative samples of the
                                                                    contractor’s derivative classification actions, as
         (2) Procedures. Contractors will normally                  applicable.
be provided notice of a forthcoming review.
Unannounced reviews may be conducted at the                         1-208. Hotlines. Federal agencies maintain hotlines
discretion of the CSA. Security reviews necessarily                 to provide an unconstrained avenue for government
subject all contractor employees and all areas and                  and contractor employees to report, without fear of
receptacles under the control of the contractor to                  reprisal, known or suspected instances of serious
examination. However, every effort will be made to                  security irregularities and infractions concerning
avoid unnecessary intrusion into the personal effects               contracts, programs, or projects. These hotlines do
of contractor personnel. The physical examination of                not supplant contractor responsibility to facilitate
the interior space of equipment not authorized to                   reporting and timely investigation of security matters
secure classified material will always be                           concerning its operations or personnel, and contractor
accomplished in the presence of a representative of                 personnel are encouraged to furnish information
the contractor.                                                     through established company channels. However,
                                                                    the hotline may be used as an alternate means to
          (3) Reciprocity. Each CSA is responsible                  report this type of information when considered
for ensuring that redundant and duplicative security                prudent or necessary. Contractors shall inform all
review and audit activity of its contractors is held to a           employees that the hotlines may be used, if
minimum, including such activity conducted at                       necessary, for reporting matters of national security
common facilities by other CSA's. Appropriate intra-                significance. CSA hotline addresses and telephone
and/or inter-agency agreements shall be executed to                 numbers are as follows:
avoid redundant and duplicate reviews. Instances of
redundant and duplicative security review and audit                 Defense Hotline
activity shall be reported to the Director, ISOO, for               The Pentagon
resolution.                                                         Washington, DC 20301-1900
                                                                    (800) 424-9098
     b. Contractor Reviews. Contractors shall
review their security system on a continuing basis                  U.S. Nuclear Regulatory Commission
and shall also conduct a formal self-inspection,                    Office of the Inspector General
including the self-inspection required by paragraph 8-              Hotline Program, MS 05 E13
101h of chapter 8 of this Manual, at intervals                      11555 Rockville Pike
consistent with risk management principles.                         Rockville, MD 20852-2738
                                                                    1-800-233-3497
     (1) These self-inspections will be related to the              TDD: 1-800-270-2787
activity, information, information systems (ISs), and
conditions of the overall security program, to include              DOE Hotline
the insider threat program; have sufficient scope,                  Department of Energy
depth, and frequency; and management support in                     Office of the Inspector General
execution and remedy.                                               1000 Independence Avenue, S.W. Room SD-031
                                                                    Washington, D.C. 20585
     (2) The contractor will prepare a formal report                (202) 586-4073
describing the self-inspection, its findings, and                   (800) 541-1625
resolution of issues found. The contractor will retain
the formal report for CSA review through the next                   DNI Hotline
CSA inspection.                                                     Director of National Intelligence
                                                                    Office of the Inspector General
     (3) A senior management official at the cleared
                                                                    Washington, D.C. 20511
facility will certify to the CSA, in writing on an
annual basis, that a self-inspection has been                       (703) 482-2650
conducted, that senior management has been briefed
on the results, that appropriate corrective action has              1-209. Classified Information Procedures Act
been taken, and that management fully supports the                  (CIPA) (Public Law. 96-456, 94 Stat. 2025 codified
security program at the cleared facility.                           at Title 18 U.S.C. Appendix 3 (reference (j))). The
                                                                    CIPA provides procedures for access to classified



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information by defendants and their representatives             contractors or their employees to release classified
in criminal proceedings in U.S. District Courts, U.S.           information in connection with any criminal
Courts of Appeal, and the U.S. Supreme Court. The               proceedings.
provisions of this Manual do not apply to criminal
proceedings in the courts and do not authorize




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                                      Section 3. Reporting Requirements


1-300. General. Contractors are required to report                1-302. Reports to be Submitted to the CSA
certain events that: impact the status of the facility
clearance (FCL); impact the status of an employee's                    a. Adverse Information. Contractors shall
personnel security clearance (PCL); may indicate the              report adverse information coming to their attention
employee poses an insider threat; affect proper                   concerning any of their cleared employees. Reports
safeguarding of classified information, or that                   based on rumor or innuendo should not be made.
indicate classified information has been lost or                  The subsequent termination of employment of an
compromised.                                                      employee does not obviate the requirement to submit
                                                                  this report. If the individual is employed on a Federal
     a. Contractors shall establish such internal                 installation, the contractor shall furnish a copy of the
procedures as are necessary to ensure that cleared                report and its final disposition to the commander or
employees are aware of their responsibilities for                 head of the installation.
reporting pertinent information to the FSO, the
Federal Bureau of Investigation (FBI), or other                   NOTE: In Taglia vs. Philco (372 F.2d 771 ), the U.S.
Federal authorities as required by this Manual, the               Court of Appeals for the 4th Circuit decided that a
terms of a classified contract, and U.S. law.                     contractor is not liable for defamation of an employee
Contractors shall provide complete information to                 because of reports made to the Government under the
enable the CSA to ascertain whether classified                    requirements of this Manual and its previous
information is adequately protected. Contractors                  versions. In Becker v. Philco (389 U.S. 979), the
shall submit reports to the FBI and to their CSA as               U.S. Supreme Court denied the appeal from the 4th
specified in this section.                                        Circuit.

     b. When the reports are classified or offered in                  b. Suspicious Contacts. Contractors shall
confidence and so marked by the contractor, the                   report efforts by any individual, regardless of
information will be reviewed by the CSA to                        nationality, to obtain illegal or unauthorized access to
determine whether it may be withheld from public                  classified information or to compromise a cleared
disclosure under applicable exemptions of the                     employee. In addition, all contacts by cleared
Freedom of Information Act (5 U.S.C. 552)                         employees with known or suspected intelligence
(reference (k)).                                                  officers from any country, or any contact which
                                                                  suggests the employee concerned may be the target
     c. When the reports are unclassified and contain             of an attempted exploitation by the intelligence
information pertaining to an individual, the Privacy              services of another country shall be reported.
Act of 1974 (5 U.S.C. 552a)(reference (l)) permits
withholding of that information from the individual                    c. Change in Cleared Employee Status.
only to the extent that the disclosure of the                     Contractors shall report: (1) the death; (2) a change in
information would reveal the identity of a source who             name; (3) the termination of employment; (4) change
furnished the information to the U.S. Government                  in citizenship; and (5) when the possibility of access
under an expressed promise that the identity of the               to classified information in the future has been
source would be held in confidence. The fact that a               reasonably foreclosed. The CSA shall designate the
report is submitted in confidence must be clearly                 appropriate reporting mechanism.
marked on the report.
                                                                       d. Citizenship by Naturalization. Contractors
1-301. Reports to be Submitted to the FBI. The                    shall report if a non-U.S. citizen employee granted a
contractor shall promptly submit a written report to              Limited Access Authorization (LAA) becomes a
the nearest field office of the FBI regarding                     citizen through naturalization. The report shall
information coming to the contractor's attention                  include: (1) city, county, and state where naturalized;
concerning actual, probable or possible espionage,                (2) date naturalized; (3) court; and (4) certificate
sabotage, terrorism, or subversive activities at any of           number.
its locations. An initial report may be made by
phone, but it must be followed in writing, regardless                  e. Employees Desiring Not to Perform on
of the disposition made of the report by the FBI. A               Classified Work. Contractors shall report that an
copy of the written report shall be provided to the               employee no longer wishes to be processed for a
CSA.                                                              clearance or to continue an existing clearance.


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   f. Standard Form (SF) 312. Refusal by an                             j.     Security Equipment Vulnerabilities.
employee to execute the "Classified Information                     Significant vulnerabilities identified in security
Nondisclosure Agreement" (SF 312).                                  equipment, intrusion detection systems (IDS), access
                                                                    control    systems,     communications      security
    g. Change Conditions Affecting the Facility                     (COMSEC) equipment or systems, and IS security
Clearance                                                           hardware and software used to protect classified
                                                                    material.
         (1) Any change of ownership, including
stock transfers that affect control of the company.                      k.      Unauthorized Receipt of Classified
                                                                    Material. The receipt or discovery of any classified
         (2) Any change of operating name or                        material that the contractor is not authorized to have.
address of the company or any of its cleared                        The report should identify the source of the material,
locations.                                                          originator, quantity, subject or title, date, and
                                                                    classification level.
         (3)     Any change to the information
previously submitted for key management personnel                       l. Employee Information in Compromise
including, as appropriate, the names of the                         Cases. When requested by the CSA, information
individuals they are replacing.      In addition, a                 concerning an employee when the information is
statement shall be made indicating (a) whether the                  needed in connection with the loss, compromise, or
new key management personnel are cleared, and if                    suspected compromise of classified information.
so, to what level and when, their dates and places of
birth, social security numbers, and their citizenship;                  m.     Disposition of Classified Material
(b) whether they have been excluded from access; or                 Terminated From Accountability.        When the
(c) whether they have been temporarily excluded                     whereabouts or disposition of classified material
from access pending the granting of their clearance.                previously terminated from accountability is
A new complete listing of key management personnel                  subsequently determined.
need be submitted only at the discretion of the
contractor and/or when requested by the CSA.                             n.    Foreign Classified Contracts.          Any
                                                                    precontract negotiation or award not placed through a
         (4)     Action to terminate business or                    GCA that involves, or may involve: (1) the release or
operations for any reason, imminent adjudication or                 disclosure of U.S. classified information to a foreign
reorganization in bankruptcy, or any change that                    interest or (2) access to classified information
might affect the validity of the FCL.                               furnished by a foreign interest.

         (5) Any material change concerning the                     1-303.       Reports of Loss, Compromise, or
information previously reported by the contractor                   Suspected Compromise. Any loss, compromise or
concerning foreign ownership, control or influence                  suspected compromise of classified information,
(FOCI). This report shall be made by the submission                 foreign or domestic, shall be reported to the CSA.
of a Certificate Pertaining to Foreign Interests. When              Classified material that cannot be located within a
submitting this information, it is not necessary to                 reasonable period of time shall be presumed to be lost
repeat answers that have not changed. When entering                 until an investigation determines otherwise. If the
into discussions, consultations or agreements that                  facility is located on a Government installation, the
may reasonably lead to effective ownership or control               report shall be furnished to the CSA through the
by a foreign interest, the contractor shall report the              Commander or Head of the host installation.
details by letter. If the contractor has received a
Schedule 13D from the investor, a copy shall be                          a. Preliminary Inquiry. Immediately on
forwarded with the report.                                          receipt of a report of loss, compromise, or suspected
                                                                    compromise of classified information, the contractor
    h. Changes in Storage Capability. Any                           shall initiate a preliminary inquiry to ascertain all of
change in the storage capability that would raise or                the circumstances surrounding the reported loss,
lower the level of classified information the facility is           compromise or suspected compromise.
approved to safeguard.
                                                                         b.    Initial Report.      If the contractor's
    i. Inability to Safeguard Classified Material.                  preliminary inquiry confirms that a loss, compromise,
Any emergency situation that renders the facility                   or suspected compromise of any classified
incapable of safeguarding classified material.                      information occurred, the contractor shall promptly


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submit an initial report of the incident unless
otherwise notified by the CSA. Submission of the
initial report shall not be deferred.

    c. Final Report. When the investigation has
been completed, a final report shall be submitted to
the CSA. The report should include:

         (1) Material and relevant information that
was not included in the initial report;

         (2) The name and social security number of
the individual(s) who was primarily responsible for
the incident, including a record of prior loss,
compromise, or suspected compromise for which the
individual had been determined responsible;

         (3) A statement of the corrective action
taken to preclude a recurrence and the disciplinary
action taken against the responsible individual(s), if
any; and

         (4)  Specific reasons for reaching the
conclusion that loss, compromise, or suspected
compromise occurred or did not occur.

1-304.         Individual     Culpability      Reports.
Contractors shall establish and enforce policies that
provide for appropriate administrative actions taken
against employees who violate requirements of this
Manual. They shall establish and apply a graduated
scale of disciplinary actions in the event of employee
violations or negligence.        A statement of the
administrative actions taken against an employee
shall be included in a report to the CSA when
individual responsibility for a security violation can
be determined and one or more of the following
factors are evident:

     a. The violation involved a deliberate disregard
of security requirements.

     b. The violation involved gross negligence in
the handling of classified material.

    c. The violation involved was not deliberate in
nature but involves a pattern of negligence or
carelessness.




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    Section 4. Reports to DoD About Cyber Incidents On Cleared Defense Contractors (CDCs) IS Approved
to Process Classified Information

1-400. General.                                                   restrictions based on the classification of the
                                                                  information.
    a.   This section applies only to CDCs.
                                                                  1-402. Access to Equipment and Information by
    b.   DoD will provide detailed reporting                      DoD Personnel.
         instructions via industrial security letter
         (ISL) in accordance with DoD Instruction                      a. DoD personnel, upon request to the CDC,
         5220.22 (reference (ae)).                                may be required to obtain access to equipment or
                                                                  information of the CDC that is necessary to conduct
    c.   This section sets forth the CDC reporting                forensic analysis in addition to any analysis
         requirements solely for any cyber incidents              conducted by the CDC.
         involving CDC covered ISs that have been
         approved by the designated DoD NISP CSO                       b. When access to CDC classified ISs is
         to process classified information, referred to           required, the CDC is only required to provide DoD
         in this Manual as a “classified covered IS.”             access to equipment or information, as described in
         A classified covered IS will be considered a             paragraph 1-402a of this section to determine
         type of covered network consistent with the              whether information was successfully exfiltrated
         requirements of Section 941 of Public Law                from a CDC’s classified covered IS and if so, what
         112-239 (reference (af)), and section 391 of             information was exfiltrated.
         Title 10, U.S. code (reference (ag)). The
         reporting requirements of this section are in
         addition to the requirements in paragraphs 1-
         301 or 1-303 of section 3 of this Manual,
         which can include certain activities
         occurring on unclassified ISs.

1-401. Reports to be Submitted to DoD.

    a. CDCs will report immediately to DoD any
cyber incident on a classified covered IS, as
described in paragraph 1-400c of this section.

    b. At a minimum, CDCs will report:

        (1) A description of the technique or
method used in the cyber incident.

         (2) A sample of the malicious software, if
discovered and isolated by the CDC, involved in the
cyber incident.

         (3) A summary of information in
connection with any DoD program that has been
potentially compromised due to the cyber incident.

     c. Information that is reported by the CDC (or
derived from information reported by the CDC) will
be safeguarded, used, and disseminated in a manner
consistent with DoD procedures governing the
handling of such information reported pursuant to
references (af) and (ag) (e.g., as implemented at Part
236 of reference (z) and Subpart 204.73 of Title 48,
CFR (reference (ah)), and subject to any additional


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                                                  CHAPTER 2
                                               Security Clearances

                                      Section 1. Facility Clearances (FCLs)


2-100. General. An FCL is an administrative                             c. The company must have a reputation for
determination that a company is eligible for access to             integrity and lawful conduct in its business dealings.
classified information or award of a classified                    The company and its key managers must not be
contract. Contract award may be made prior to the                  barred from participating in U.S. Government
issuance of an FCL. In those cases, the contractor                 contracts.
will be processed for an FCL at the appropriate level
and must meet eligibility requirements for access to                   d. The company must not be under FOCI to
classified information. However, the contractor will               such a degree that the granting of the FCL would be
not be afforded access to classified information until             inconsistent with the national interest.
the FCL has been granted. The FCL requirement for
a prime contractor includes those instances in which               2-103. Processing the FCL. The CSA will advise
all classified access will be limited to subcontractors.           and assist the company during the FCL process. As a
Contractors are eligible for custody (possession) of               minimum, the company will:
classified material if they have an FCL and storage
capability approved by the CSA.                                        a. Execute CSA-designated forms.

     a. An FCL is valid for access to classified                       b. Process key management personnel for PCLs.
information at the same or lower classification level
as the FCL granted.                                                    c. Appoint a U.S. citizen employee as the FSO.

   b. FCLs will be registered centrally by the U.S.                2-104. PCLs Required in Connection with the
Government.                                                        FCL. The senior management official, the FSO and
                                                                   the Insider Threat Program Senior Official must
    c. A contractor shall not use its FCL for                      always be cleared to the level of the FCL. Other
advertising or promotional purposes.                               officials, as determined by the CSA, must be granted
                                                                   PCLs or be excluded from classified access pursuant
2-101. Reciprocity. An FCL shall be considered                     to paragraph 2-106.
valid and acceptable for use on a fully reciprocal
basis by all Federal departments and agencies,                     2-105.      PCLs Concurrent with the FCL.
provided it meets or exceeds the level of clearance                Contractors may designate employees who require
needed.                                                            access to classified information during the
                                                                   negotiation of a contract or the preparation of a bid or
2-102. Eligibility Requirements. A contractor or                   quotation pertaining to a prime contract or a
prospective contractor cannot apply for its own FCL.               subcontract to be processed for PCLs concurrent with
A GCA or a currently cleared contractor may sponsor                the FCL. The granting of an FCL is not dependent
an uncleared company for an FCL. A company must                    on the clearance of such employees.
meet the following eligibility requirements before it
can be processed for an FCL:                                       2-106. Exclusion Procedures. When, pursuant to
                                                                   paragraph 2-104, formal exclusion action is required,
     a. The company must need access to the                        the organization's board of directors or similar
classified information in connection with a legitimate             executive body shall affirm the following, as
U.S.     Government      or    foreign    government               appropriate.
requirement.
                                                                        a. Such officers, directors, partners, regents, or
    b. The company must be organized and existing                  trustees (designated by name) shall not require, shall
under the laws of any of the fifty states, the District            not have, and can be effectively excluded from access
of Columbia, or Puerto Rico, and be located in the                 to all classified information disclosed to the
United States or its territorial areas.                            organization. They also do not occupy positions that
                                                                   would enable them to adversely affect the


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organization's policies or practices in the                       2-109. Parent-Subsidiary Relationships. When a
performance of classified contracts. This action shall            parent-subsidiary relationship exists, the parent and
be made a matter of record by the organization's                  the subsidiary will be processed separately for an
executive body. A copy of the resolution shall be                 FCL. As a general rule, the parent must have an FCL
furnished to the CSA.                                             at the same, or higher, level as the subsidiary.
                                                                  However, the CSA will determine the necessity for
     b. Such officers or partners (designated by                  the parent to be cleared or excluded from access to
name) shall not require, shall not have, and can be               classified information. The CSA will advise the
effectively denied access to higher-level classified              companies as to what action is necessary for
information (specify which higher level(s)) and do                processing the FCL. When a parent or its cleared
not occupy positions that would enable them to                    subsidiaries are collocated, a formal written
adversely affect the organization's policies or                   agreement to use common security services may be
practices in the performance of higher-level classified           executed by the two firms, subject to the approval of
contracts (specify higher level(s)). This action shall            the CSA.
be made a matter of record by the organization's
executive body. A copy of the resolution shall be                 2-110. Termination of the FCL. Once granted, an
furnished to the CSA.                                             FCL remains in effect until terminated by either
                                                                  party. If the FCL is terminated for any reason, the
2-107. Interim FCLs. An interim FCL may be                        contractor shall return all classified material in its
granted to eligible contractors by the CSA. An                    possession to the appropriate GCA or dispose of the
interim FCL is granted on a temporary basis pending               material as instructed by the CSA.
completion of the full investigative requirements.
                                                                  2-111. Records Maintenance. Contractors shall
2-108. Multiple Facility Organizations (MFOs).                    maintain the original CSA designated forms for the
The home office facility must have an FCL at the                  duration of the FCL.
same, or higher, level of any cleared facility within
the MFO. The CSA shall determine the necessity for
branch offices to be cleared.




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                                   Section 2. Personnel Security Clearances


2-200. General                                                    scope and standards for the level of PCL required.
                                                                  The types of investigations required are as follows:
     a. An employee may be processed for a PCL
when the contractor determines that access is                         a. Single Scope Background Investigation
essential in the performance of tasks or services                 (SSBI). An SSBI is required for TOP SECRET, Q,
related to the fulfillment of a classified contract. A            and SCI access. Investigative requests shall be made
PCL is valid for access to classified information at              using the electronic version of the Questionnaire for
the same or lower level of classification as the level            National Security Positions (SF 86).
of the clearance granted.
                                                                       b. National Agency Check with Local Agency
     b. The CSA will determine eligibility for access             Check and Credit Check (NACLC). An NACLC is
to classified information in accordance with the                  required for a SECRET, L, and CONFIDENTIAL
national standards and notify the contractor that                 PCLs. Investigative requests shall be made using the
eligibility has been granted. The CSA will notify the             electronic version of the SF 86.
contractor when an employee's PCL has been denied,
suspended, or revoked.         The contractor shall                   c.     Polygraph.      Agencies with policies
immediately deny access to classified information to              sanctioning the use of the polygraph for PCL
any employee when notified of a denial, revocation                purposes may require polygraph examinations when
or suspension. When the CSA has designated a                      necessary. If issues of concern surface during any
database as the system of record for contractor                   phase of security processing, coverage will be
eligibility and access, the contractor shall be                   expanded to resolve those issues.
responsible for annotating and maintaining the
accuracy of their employees’ access records.                           d. Reinvestigation. Contractor personnel may
Specific procedures will be provided by the CSA.                  be subject to a reinvestigation program as specified
                                                                  by the CSA.
    c. Within an MFO or within the same corporate
family, contractors may centrally manage eligibility                  e. Financial Disclosure. When advised by the
and access records.                                               GCA that an employee is required to complete a
                                                                  Financial Disclosure Form, the contractor shall
     d. The contractor shall limit requests for PCLs              ensure that the employee has the opportunity to
to the minimal number of employees necessary for                  complete and submit the form in private.
operational efficiency, consistent with contractual
obligations and other requirements of this Manual.                2-202. Procedures for Completing the Electronic
Requests for PCLs shall not be made to establish                  Version of the SF 86. The electronic version of the
"pools" of cleared employees.                                     SF 86 shall be completed jointly by the employee and
                                                                  the FSO or an equivalent contractor employee(s) who
     e. The contractor shall not submit a request for a           has (have) been specifically designated by the
PCL to one agency if the employee applicant is                    contractor to review an employee’s SF 86.
cleared or is in process for a PCL by another agency.
In such cases, to permit clearance verification, the                   a. The FSO or designee shall inform the
contractor should provide the new agency with the                 employee that the SF 86 is subject to review and shall
full name, date and place of birth, social security               review the application solely to determine its
number, clearing agency and type of investigation                 adequacy and to ensure that necessary information
                                                                  has not been omitted. The FSO or designee shall
    f. Access to SCI and SAP information is a                     provide the employee with written notification that
determination made by the granting authority.                     review of the information is for adequacy and
                                                                  completeness, information will be used for no other
2-201. Investigative Requirements. Investigations                 purpose within the company, and that the information
conducted by a Federal agency shall not be                        provided by the employee is protected by reference
duplicated by another Federal agency when those                   (l). The FSO or designee shall not share information
investigations are current within 5 years and meet the            from the employee’s SF 86 within the company and
                                                                  shall not use the information for any purpose other



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than determining the adequacy and completeness of                  classified foreign government information (FGI), or
the SF 86.                                                         for Critical or Controlled Nuclear Weapon Security
                                                                   positions.
     b. The FSO or designee shall ensure that the
applicant’s fingerprints are authentic, legible, and               2-207. Verification of U.S. Citizenship. The
complete to avoid subsequent clearance processing                  contractor shall require each applicant for a PCL who
delays. The FSO or designee shall retain an original,              claims U.S. citizenship to produce evidence of
signed copy of the SF 86, the Authorization for                    citizenship.
Release of Information and Records, and
Authorization for Release of Medical Information                   2-208. Acceptable Proof of Citizenship
until the clearance process has been completed. The
FSO or designee shall maintain the retained                             a. For individuals born in the United States, a
documentation in such a manner that the                            birth certificate is the primary and preferred means of
confidentiality of the documents is preserved and                  citizenship verification. Acceptable certificates must
protected against access by anyone within the                      show that the birth record was filed shortly after birth
company other than the FSO or designee. When the                   and it must be certified with the registrar's signature.
applicant’s eligibility for access to classified                   It must bear the raised, impressed, or multicolored
information has been granted or denied, the retained               seal of the registrar's office. The only exception is if
documentation shall be destroyed.                                  a State or other jurisdiction does not issue such seals
                                                                   as a matter of policy. Uncertified copies of birth
2-203. Common Adjudicative Standards. Security                     certificates are not acceptable. A delayed birth
clearance and SCI access determinations are based                  certificate is one created when a record was filed
upon uniform common adjudicative standards.                        more than one year after the date of birth. Such a
                                                                   certificate is acceptable if it shows that the report of
2-204. Reciprocity. Federal agencies that grant                    birth was supported by acceptable secondary
access to classified information to their employees or             evidence of birth. Secondary evidence may include:
their contractor employees are responsible for                     baptismal or circumcision certificates, hospital birth
determining whether such employees have been                       records, or affidavits of persons having personal
previously cleared or investigated by the Federal                  knowledge about the facts of birth.               Other
Government. Any previously granted PCL that is                     documentary evidence can be early census, school, or
based upon a current investigation of a scope that                 family bible records, newspaper files, or insurance
meets or exceeds that necessary for the clearance                  papers. All documents submitted as evidence of birth
required shall provide the basis for issuance of a new             in the U.S. shall be original or certified documents.
clearance     without     further     investigation   or
adjudication      unless      significant     derogatory               b. If the individual claims citizenship by
information that was not previously adjudicated                    naturalization, a certificate of naturalization is
becomes known to the granting agency.                              acceptable proof of citizenship.

2-205. Pre-employment Clearance Action. If                             c. If citizenship was acquired by birth abroad to
access to classified information is required by a                  a U.S. citizen parent or parents, the following are
potential       employee        immediately       upon             acceptable evidence:
commencement of their employment, a PCL
application may be submitted to the CSA by the                              (1) A Certificate of Citizenship issued by
contractor prior to the date of employment provided a              the Department of Homeland Security, U.S.
written commitment for employment has been made                    Citizenship and Immigration Services (USCIS) or its
by the contractor, and the candidate has accepted the              predecessor organization.
offer in writing. The commitment for employment
will indicate that employment shall commence within                         (2) A Report of Birth Abroad of a Citizen of
30 days of the granting of eligibility for a PCL.                  the United States of America

2-206.         Contractor-Granted     Clearances.                           (3) A Certificate of Birth.
Contractors are no longer permitted to grant
clearances.    Contractor-granted CONFIDENTIAL                         d. A passport, current or expired, is acceptable
clearances in effect under previous policy are not                 proof of citizenship.
valid for access to RD, FRD, COMSEC information,
SCI, NATO information (except RESTRICTED), and


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    e. A Record of Military Processing-Armed                       may be routinely granted interim PCLs, as
Forces of the United States (DD Form 1966) is                      appropriate, provided there is no evidence of adverse
acceptable proof of citizenship, provided it reflects              information of material significance. The interim
U.S. citizenship.                                                  status will cease if results are favorable following
                                                                   completion of full investigative requirements. Non-
2-209. Non-U.S. Citizens. Only U.S. citizens are                   U.S. citizens are not eligible for access to classified
eligible for a security clearance. Every effort shall be           information on an interim basis.
made to ensure that non-U.S. citizens are not
employed in duties that may require access to                           a. An interim SECRET or CONFIDENTIAL
classified information. However, compelling reasons                PCL is valid for access to classified information at
may exist to grant access to classified information to             the level of the eligibility granted, except for RD,
a non-U.S. citizen. Such individuals may be granted                COMSEC Information, and NATO information. An
a Limited Access Authorization (LAA) in those rare                 interim TOP SECRET PCL is valid for access to
circumstances where the non-U.S. citizen possesses                 TOP SECRET information, RD, NATO Information,
unique or unusual skill or expertise that is urgently              and COMSEC information at the SECRET and
needed to support a specific U.S. Government                       CONFIDENTIAL level. Access to SCI and SAP
contract involving access to specified classified                  information based on an interim PCL is a
information and a cleared or clearable U.S. citizen is             determination made by the granting authority.
not readily available. In addition, the LAA may be
processed only with the concurrence of the GCA.                         b. An interim PCL granted by the CSA negates
                                                                   any existing contractor-granted CONFIDENTIAL
2-210. Access Limitations of an LAA. An LAA                        clearance. When an interim PCL has been granted
granted under the provisions of this Manual is not                 and derogatory information is subsequently
valid for access to the following types of information:            developed, the CSA may withdraw the interim
                                                                   pending completion of the processing that is a
    a. TOP SECRET information.                                     prerequisite to the granting of a final PCL.

    b. RD or FRD.                                                       c. When an interim PCL for an individual who
                                                                   is required to be cleared in connection with the FCL
     c. Information that has not been determined                   is withdrawn, the individual must be removed from
releasable by a U.S. Government designated                         access or the interim FCL will also be withdrawn.
disclosure authority to the country of which the
individual is a citizen.                                               d. Withdrawal of an interim PCL is not a denial
                                                                   or revocation of the clearance and may not be
    d. COMSEC information.                                         appealed.

    e. Intelligence information.                                   2-212. Consultants. A consultant is an individual
                                                                   under contract to provide professional or technical
     f.   NATO Information.     However, foreign                   assistance to a contractor in a capacity requiring
nationals of a NATO member nation may be                           access to classified information. The consultant shall
authorized access to NATO Information provided                     not possess classified material off the premises of the
that: (1) A NATO Security Clearance Certificate is                 using (hiring) contractor except in connection with
obtained by the CSA from the individual's home                     authorized visits. The consultant and the using
country; and (2) NATO access is limited to                         contractor shall jointly execute a consultant
performance on a specific NATO contract.                           certificate setting forth respective security
                                                                   responsibilities. The using contractor shall be the
    g. Information for which foreign disclosure has                consumer of the services offered by the consultant it
been prohibited in whole or in part; and                           sponsors for a PCL. For security administration
                                                                   purposes, the consultant shall be considered an
     h. Information provided to the U.S. Government                employee of the using contractor. Consultants to
in confidence by a third party government and                      GCAs shall be processed for PCLs by the GCA in
classified information furnished by a third party                  accordance         with        GCA         procedures.
government.

2-211. Interim PCLs.  Applicants for TOP
SECRET, SECRET, and CONFIDENTIAL PCLs


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                        Section 3. Foreign Ownership, Control, or Influence (FOCI)


2-300. Policy. Foreign investment can play an                           e. Changed conditions, such as a change in
important role in maintaining the vitality of the U.S.             ownership, indebtedness, or the foreign intelligence
industrial base. Therefore, it is the policy of the U.S.           threat, may justify certain adjustments to the security
Government to allow foreign investment consistent                  terms under which a company is operating or,
with the national security interests of the United                 alternatively, that a different FOCI negation method
States.     The following FOCI policy for U.S.                     be employed. If a changed condition is of sufficient
companies subject to an FCL is intended to facilitate              significance, it might also result in a determination
foreign investment by ensuring that foreign firms                  that a company is no longer considered to be under
cannot undermine U.S. security and export controls                 FOCI or, conversely, that a company is no longer
to gain unauthorized access to critical technology,                eligible for an FCL.
classified information, and special classes of
classified information.                                                 f. The Federal Government reserves the right
                                                                   and has the obligation to impose any security method,
     a. A U.S. company is considered under FOCI                    safeguard, or restriction it believes necessary to
whenever a foreign interest has the power, direct or               ensure that unauthorized access to classified
indirect, whether or not exercised, and whether or not             information is effectively precluded and that
exercisable through the ownership of the U.S.                      performance of classified contracts is not adversely
company's securities, by contractual arrangements or               affected.
other means, to direct or decide matters affecting the
management or operations of that company in a                           g. Nothing contained in this section shall affect
manner which may result in unauthorized access to                  the authority of the Head of an Agency to limit, deny
classified information or may adversely affect the                 or revoke access to classified information under its
performance of classified contracts.                               statutory, regulatory or contract jurisdiction. For
                                                                   purposes of this section, the term "Agency" has the
    b. Whenever a company has been determined to                   meaning provided at reference (h), to include the
be under FOCI, the primary consideration shall be the              term "DoD Component."
safeguarding of classified information. The CSA is
responsible for taking whatever interim action is                  2-301. Factors. The following factors relating to the
necessary to safeguard classified information, in                  company, the foreign interest, and the government of
coordination with other affected agencies as                       the foreign interest, as appropriate, shall be
appropriate.                                                       considered in the aggregate to determine whether an
                                                                   applicant company is under FOCI, its eligibility for
     c. A U.S. company determined to be under                      an FCL, and the protective measures required:
FOCI is ineligible for an FCL unless and until
security measures have been put in place to negate or                  a.    Record of economic and government
mitigate FOCI. When a contractor determined to be                  espionage against U.S. targets.
under FOCI is negotiating an acceptable FOCI
mitigation/negation measure, an existing FCL shall                     b. Record of enforcement and/or engagement in
continue so long as there is no indication that                    unauthorized technology transfer.
classified information is at risk of compromise. An
existing FCL shall be invalidated if the contractor is                  c. The type and sensitivity of the information
unable or unwilling to negotiate an acceptable FOCI                that shall be accessed.
mitigation/negation measure. An existing FCL shall
be revoked if security measures cannot be taken to                      d. The source, nature and extent of FOCI,
remove the possibility of unauthorized access or                   including whether foreign interests hold a majority or
adverse affect on classified contracts.                            substantial minority position in the company, taking
                                                                   into consideration the immediate, intermediate, and
     d. If the company does not have possession of                 ultimate parent companies. A minority position is
classified material, and does not have a current or                deemed substantial if it consists of greater than 5
impending requirement for access to classified                     percent of the ownership interests or greater than 10
information, the FCL shall be administratively                     percent of the voting interest.
terminated.



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    e. Record of compliance with pertinent U.S.                  foreign interest can be effectively mitigated and
laws, regulations and contracts.                                 cannot otherwise adversely affect performance on
                                                                 classified contracts. Examples of such measures
    f. The nature of any bilateral and multilateral              include modification or termination of loan
security and information exchange agreements that                agreements, contracts and other understandings with
may pertain.                                                     foreign interests; diversification or reduction of
                                                                 foreign-source income; demonstration of financial
     g. Ownership or control, in whole or in part, by            viability independent of foreign interests; elimination
a foreign government.                                            or resolution of problem debt; assignment of specific
                                                                 oversight duties and responsibilities to board
2-302. Procedures. A company is required to                      members; formulation of special executive-level
complete a Certificate Pertaining to Foreign Interests           security committees to consider and oversee matters
when applying for an FCL or when significant                     that affect the performance of classified contracts;
changes occur to information previously submitted.               physical or organizational separation of the
In the case of a corporate family, the form shall be a           contractor component performing on classified
consolidated response rather than separate                       contracts; the appointment of a technology control
submissions from individual members of the                       officer; adoption of special Board Resolutions; and
corporate family.                                                other actions that negate or mitigate foreign
                                                                 influence.
     a. If there are any affirmative answers on the
Certificate Pertaining to Foreign Interests, or other            2-303. FOCI Action Plans. The following are the
information is received which indicates that the                 methods that can be applied to negate or mitigate the
applicant company may be under FOCI, the CSA                     risk of foreign ownership or control.
shall review the case to determine the relative
significance of the information in regard to:                         a. Board Resolution. When a foreign interest
                                                                 does not own voting interests sufficient to elect, or
        (1) Whether the applicant is under FOCI,                 otherwise is not entitled to representation on the
                                                                 company's governing board, a resolution(s) by the
         (2) The extent and manner to which the                  governing board shall normally be adequate. The
FOCI may result in unauthorized access to classified             governing board shall identify the foreign
information or adversely impact classified contract              shareholder and describe the type and number of
performance; and                                                 foreign-owned shares; acknowledge the company's
                                                                 obligation to comply with all industrial security
         (3) The type of actions, if any, that would             program and export control requirements; and certify
be necessary to negate the effects of FOCI to a level            that the foreign owner does not require, shall not
deemed acceptable to the Federal Government.                     have, and can be effectively precluded from
Disputed matters may be appealed and the applicant               unauthorized access to all classified and export-
shall be advised of the government's appeal channels             controlled information entrusted to or held by the
by the CSA.                                                      company. The governing board shall provide for
                                                                 annual certifications to the CSA acknowledging the
     b. When a contractor with an FCL enters into                continued effectiveness of the resolution.        The
negotiations for the proposed merger, acquisition, or            company shall distribute to members of its governing
takeover by a foreign interest, the contractor shall             board and to its key management personnel copies of
submit notification to the CSA of the commencement               such resolutions, and report in the company's
of such negotiations. The submission shall include               corporate records the completion of such distribution.
the type of transaction under negotiation (stock
purchase, asset purchase, etc.), the identity of the                  b.     Voting Trust Agreement and Proxy
potential foreign interest investor, and a plan to               Agreement. The Voting Trust Agreement and the
negate the FOCI by a method outlined in 2-303. The               Proxy Agreement are arrangements whereby the
company shall submit copies of loan, purchase and                foreign owner relinquishes most rights associated
shareholder agreements, annual reports, bylaws,                  with ownership of the company to cleared U.S.
articles of incorporation, partnership agreements, and           citizens approved by the U.S. Government. Under a
reports filed with other Federal agencies to the CSA.            Voting Trust Agreement, the foreign owner transfers
                                                                 legal title in the company to the Trustees. Under a
    c. When factors not related to ownership are                 Proxy Agreement, the foreign owner’s voting rights
present, positive measures shall assure that the                 are conveyed to the Proxy Holders.          Neither


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arrangement imposes any restrictions on the                       Board members (outside directors), who must be
company’s eligibility to have access to classified                cleared U.S. citizens; provide for the establishment of
information or to compete for classified contracts.               a Government Security Committee (GSC) to oversee
                                                                  classified and export control matters; and preserve
         (1) Establishment of a Voting Trust or                   the foreign owner’s right to be represented on the
Proxy Agreement involves the selection of Trustees                Board (inside directors) with a direct voice in the
or Proxy Holders, all of whom must become                         business management of the company while denying
members of the company’s governing board. Both                    unauthorized access to classified information.
arrangements must provide for the exercise of all
prerogatives of ownership by the Trustees or Proxy                         (1) When a company is not effectively
Holders with complete freedom to act independently                owned or controlled by a foreign interest and the
from the foreign owners, except as provided in the                foreign interest is nevertheless entitled to
Voting Trust or Proxy Agreement. The arrangements                 representation on the company’s governing board, the
may, however, limit the authority of the Trustees or              company may be cleared under an SCA. There are
Proxy Holders by requiring that approval be obtained              no access limitations under an SCA.
from the foreign owner(s) with respect to matters
                                                                           (2) A company that is effectively owned or
such as:
                                                                  controlled by a foreign interest may be cleared under
                                                                  an SSA arrangement.           Access to proscribed
           (a)       The sale or disposal of the
                                                                  information 6 by a company cleared under an SSA
company's assets or a substantial part thereof;
                                                                  may require that the GCA complete a National
                                                                  Interest Determination (NID) to determine that
           (b)       Pledges, mortgages, or other
                                                                  release of proscribed information to the company is
encumbrances on the company’s assets, capital stock
                                                                  consistent with the national security interests of the
or ownership interests;
                                                                  United States, in accordance with part 2004 of
                                                                  reference (z). The CSA shall advise the GCA on the
            (c)       Mergers,     consolidations,   or
                                                                  need for a NID.
reorganizations;
                                                                                (a) The NID can be program, project or
            (d) Dissolution; and
                                                                  contract specific. A separate NID is not required for
                                                                  each contract under a program or project. The NID
            (e) Filing of a bankruptcy petition.
                                                                  decision shall be made at the GCA’s Program
                                                                  Executive Office level. If the proscribed information
However, the Trustees or Proxy Holders may consult
                                                                  is under the classification or control jurisdiction of
with the foreign owner, or vice versa, where
                                                                  another agency, the GCA shall advise that agency;
otherwise consistent with U.S. laws, regulations and
                                                                  e.g., National Security Agency (NSA) for COMSEC,
the terms of the Voting Trust or Proxy Agreement.
                                                                  DNI for SCI, DOE for RD. These agencies may
                                                                  determine that release to the contractor of an entire
         (2) The Trustees or Proxy Holders assume
                                                                  category of information under their control may not
full responsibility for the foreign owner’s voting
                                                                  harm the national security.
interests and for exercising all management
prerogatives relating thereto in such a way as to
                                                                                (b)     The GCA shall forward the
ensure that the foreign owner shall be insulated from
                                                                  completed NID to the CSA. The CSA shall not delay
the company, thereby solely retaining the status of a
                                                                  implementation of a FOCI action plan pending
beneficiary.    The company must be organized,
                                                                  completion of a GCA’s NID process as long as there
structured, and financed so as to be capable of
                                                                  is no indication that a NID shall be denied.
operating as a viable business entity independent
from the foreign owner.
                                                                  2-304. Citizenship of Persons Requiring PCLs.
    c. Special Security Agreement (SSA) and                       Under all methods of FOCI mitigation or negation,
Security Control Agreement (SCA). The SSA and
SCA are arrangements that, based upon an                          6
assessment of the FOCI factors, impose various                      Proscribed information includes TS, COMSEC
industrial security and export control measures within            information or material, excluding controlled
an institutionalized set of company practices and                 cryptographic items when unkeyed or utilized with
procedures. They require active involvement in                    unclassified keys; RD as defined in reference (c),
security matters of senior management and certain                 SAP information; or SCI.



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management positions requiring PCLs in conjunction               management. The FSO and TCO functions shall be
with the FCL must be filled by U.S. citizens residing            carried out under the authority of the GSC.
in the United States.
                                                                 2-307. TCP. A TCP approved by the CSA shall be
2-305. Qualifications of Trustees, Proxy Holders,                developed and implemented by those companies
and Outside Directors. Individuals who serve as                  cleared under a Voting Trust Agreement, Proxy
Trustees, Proxy Holders, or Outside Directors must               Agreement, SSA and SCA and when otherwise
be:                                                              deemed appropriate by the CSA. The TCP shall
                                                                 prescribe all security measures determined necessary
     a. Resident U.S. citizens who can exercise                  to reasonably foreclose the possibility of inadvertent
management prerogatives relating to their position in            access by non-U.S. citizen employees and visitors to
a way that ensures that the foreign owner can be                 information for which they are not authorized. The
effectively insulated from the company;                          TCP shall also prescribe measures designed to assure
                                                                 that access by non-U.S. citizens is strictly limited to
     b. Except as approved by the CSA in advance                 only that specific information for which appropriate
and in writing, completely disinterested individuals             Federal Government disclosure authorization has
with no prior involvement with the company, the                  been obtained; e.g., an approved export license or
entities with which it is affiliated, or the foreign             technical assistance agreement. Unique badging,
owner; and                                                       escort, segregated work area, security indoctrination
                                                                 schemes, and other measures shall be included, as
   c. Issued a PCL at the level of the facility’s                appropriate.
FCL.
                                                                 2-308. Annual Review and Certification
2-306.     GSC.    Under a Voting Trust, Proxy
                                                                      a. Annual Review. The CSA shall meet at least
Agreement, SSA and SCA, the contractor is required
                                                                 annually with the GSCs of contractors operating
to establish a permanent committee of its Board of
                                                                 under a Voting Trust, Proxy Agreement, SSA, or
Directors, known as the GSC.
                                                                 SCA to review the purpose and effectiveness of the
                                                                 clearance arrangement and to establish common
     a. Unless otherwise approved by the CSA, the
                                                                 understanding of the operating requirements and their
GSC consists of Voting Trustees, Proxy Holders or
                                                                 implementation. These reviews shall also include an
Outside Directors, as applicable, and those
                                                                 examination of the following:
officers/directors who hold PCLs.
                                                                          (1) Acts of compliance or noncompliance
     b. The members of the GSC are required to
                                                                 with the approved security arrangement, standard
ensure that the contractor maintains policies and
                                                                 rules, and applicable laws and regulations;
procedures to safeguard classified and export
controlled information entrusted to it, and that
                                                                          (2) Problems or impediments associated
violations of those policies and procedures are
                                                                 with the practical application or utility of the security
promptly investigated and reported to the appropriate
                                                                 arrangement; and
authority when it has been determined that a violation
has occurred.
                                                                         (3) Whether security controls, practices, or
                                                                 procedures warrant adjustment.
    c. The GSC shall also take the necessary steps to
ensure that the contractor complies with U.S. export
                                                                      b. Annual Certification. For contractors
control laws and regulations and does not take action
                                                                 operating under a Voting Trust Agreement, Proxy
deemed adverse to performance on classified
                                                                 Agreement, SSA or SCA, the Chairman of the GSC
contracts. This shall include the appointment of a
                                                                 shall submit to the CSA one year from the effective
Technology Control Officer (TCO) and the
                                                                 date of the agreement and annually thereafter an
establishment of Technology Control Plan (TCP).
                                                                 implementation and compliance report. Such reports
                                                                 shall include the following:
    d. The contractor’s FSO shall be the principal
advisor to the GSC and attend GSC meetings. The
                                                                          (1) A detailed description of the manner in
Chairman of the GSC must concur with the
                                                                 which the contractor is carrying out its obligations
appointment and replacement of FSOs selected by
                                                                 under the agreement;




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         (2)   Changes to security procedures,                    any such case, the GCA shall provide a compelling
implemented or proposed, and the reasons for those                need statement to the CSA to justify the FCL and
changes;                                                          verify that access to classified information is essential
                                                                  for contract performance.            The CSA shall
         (3) A detailed description of any acts of                acknowledge the existence of a Limited FCL only to
noncompliance, whether inadvertent or intentional,                that GCA.
with a discussion of steps that were taken to prevent
such acts from recurring;                                         2-310.   Foreign Mergers, Acquisitions and
                                                                  Takeovers, and the Committee on Foreign
         (4) Any changes, or impending changes, of                Investment in the United States (CFIUS)
key management personnel or key board members,
including the reasons therefore;                                       a.   The CFIUS, an interagency committee
                                                                  chaired by the Treasury Department, conducts
        (5) Any changes or impending changes in                   reviews of proposed mergers, acquisition or
the organizational structure or ownership, including              takeovers of U.S. persons by foreign interests under
any acquisitions, mergers or divestitures; and                    section 721 (Exon-Florio amendment) of the Defense
                                                                  Production Act (reference (m)). CFIUS review is a
        (6) Any other issues that could have a                    voluntary process and affords an opportunity to
bearing on the effectiveness of the applicable                    foreign persons and U.S. persons entering into a
agreement.                                                        covered transaction to submit the transaction for
                                                                  review by CFIUS to assess the impact of the
2-309. Limited FCL. The United States has entered                 transaction on U.S. national security.
into Industrial Security Agreements with certain
foreign governments. Some of these agreements                          b. The CFIUS review and the CSA industrial
establish arrangements whereby a foreign-owned                    security FOCI review are carried out in two parallel
U.S. company may be considered eligible for an FCL                but separate processes with different time constraints
without any additional FOCI negation or mitigation                and considerations.
instrument. Access limitations are inherent with the
granting of Limited FCLs and are imposed upon all                      c. If a transaction under CFIUS review would
of the company’s employees regardless of                          require FOCI negation or mitigation measures if
citizenship.                                                      consummated, the CSA shall promptly advise the
                                                                  parties to the transaction and request that they submit
     a. A Limited FCL may be granted upon                         to the CSA a plan to negate or mitigate FOCI. If it
satisfaction of the following criteria:                           appears that an agreement cannot be reached on
                                                                  material terms of a FOCI action plan, or if the U.S.
         (1)   There is an Industrial Security
                                                                  party to the proposed transaction fails to comply with
Agreement with the foreign government of the
                                                                  the FOCI reporting requirements of this Manual, the
country from which the foreign ownership is derived.
                                                                  CSA may recommend a full investigation of the
         (2) Release of classified information is in              transaction by CFIUS to determine the effects on
conformity with the U.S. National Disclosure Policy.              national security.
Key management personnel may be citizens of the
country of ownership for whom the United States has                    d. If the CSA becomes aware of a proposed
obtained security assurances at the appropriate level.            transaction that should be reviewed by CFIUS, and
                                                                  the parties thereto do not file a joint voluntary notice
    b. In extraordinary circumstances, a Limited                  with CFIUS to initiate review within a reasonable
FCL may also be granted even if the above criteria                time, the CSA shall initiate action to have CFIUS
cannot be satisfied if there is a compelling need to do           notified.
so consistent with U.S. national security interests. In




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                                                CHAPTER 3
                                       Security Training and Briefings

                                   Section 1. Security Training and Briefings


3-100. General. Contractors shall provide all cleared              to classified information, and annually thereafter.
employees with security training and briefings                     Training will address current and potential threats in
commensurate with their involvement with classified                the work and personal environment and will include at
information.                                                       a minimum:

3-101. Training Materials. Contractors may obtain                           (1) The importance of detecting potential
defensive security, threat awareness, and other                    insider threats by cleared employees and reporting
education and training information and material from               suspected activity to the insider threat program
their CSA or other sources.                                        designee.

3-102.     FSO Training.      Contractors shall be                          (2) Methodologies of adversaries to recruit
responsible for ensuring that the FSO, and others                  trusted insiders and collect classified information, in
performing security duties, complete training                      particular within ISs.
considered appropriate by the CSA.         Training
requirements shall be based on the facility's                              (3) Indicators of insider threat behavior, and
involvement with classified information and may                    procedures to report such behavior.
include an FSO orientation course and for FSOs at
facilities with safeguarding capability, an FSO                             (4) Counterintelligence       and       security
Program Management Course. Training, if required,                  reporting requirements, as applicable.
should be completed within 1 year of appointment to
the position of FSO.                                                    c. The contractor will establish and maintain a
                                                                   record of all cleared employees who have completed
3-103. Insider Threat Training. The designated                     the initial and annual insider threat training.
Insider Threat Program Senior Official will ensure that            Depending on CSA-specific guidance, a CSA may,
contractor program personnel assigned insider threat               instead, conduct such training and retain the records.
program responsibilities and all other cleared
employees complete training that the CSA considers                 3-104. Government-Provided Briefings. The CSA
appropriate.                                                       is responsible for providing initial security briefings to
                                                                   the FSO and for ensuring that other briefings required
     a. Contractor insider threat program personnel,               for special categories of information are provided.
including the contractor designated Insider Threat
Program Senior Official, must be trained in:                       3-105. Temporary Help Suppliers. A temporary help
                                                                   supplier, or other contractor who employs cleared
       (1)      Counterintelligence    and      security           individuals solely for dispatch elsewhere, shall be
fundamentals, including applicable legal issues.                   responsible for ensuring that required briefings are
                                                                   provided to their cleared personnel. The temporary
        (2) Procedures for conducting insider threat               help supplier or the using contractor may conduct these
response actions.                                                  briefings.

         (3) Applicable laws and regulations regarding             3-106.     Classified Information        Nondisclosure
the gathering, integration, retention, safeguarding, and           Agreement (SF 312). The SF 312 is an agreement
use of records and data, including the consequences of             between the United States and an individual who is
misuse of such information.                                        cleared for access to classified information. An
                                                                   employee issued an initial PCL must execute an SF
         (4) Applicable legal, civil liberties, and                312 prior to being granted access to classified
privacy policies.                                                  information. The contractor shall forward the executed
                                                                   SF 312 to the CSA for retention. If the employee
     b. All cleared employees must be provided insider             refuses to execute the SF 312, the contractor shall deny
threat awareness training before being granted access              the employee access to classified information and



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submit a report to the CSA. The SF 312 shall be
signed and dated by the employee and witnessed. The
employee's and witness' signatures must bear the same
date.

 3-107. Initial Security Briefings. Prior to being
granted access to classified information, an employee
shall receive an initial security briefing that includes
the following:

     a. A threat awareness security briefing, including
insider threat awareness in accordance with paragraph
3-103b of this Manual.

    b. A counterintelligence awareness briefing.

     c. An overview of the security classification
system.

    d.   Employee      reporting     obligations     and
requirements, including insider threat.

    e. Initial and annual refresher cybersecurity
awareness training for all authorized IS users (see
chapter 8, paragraph 8-101c, of this Manual).

   f. Security procedures and duties applicable to the
employee's job.

 3-108. Refresher Training. The contractor shall
provide all cleared employees with some form of
security education and training at least annually.
Refresher training shall reinforce the information
provided during the initial security briefing and shall
keep cleared employees informed of appropriate
changes in security regulations. See paragraph 8-103c
of chapter 8 of this Manual for the requirement for IS
security refresher training. Training methods may
include     group      briefings,   interactive   videos,
dissemination of instructional materials, or other media
and methods. Contractors shall maintain records about
the programs offered and employee participation in
them. This requirement may be satisfied by use of
distribution lists, facility/department-wide newsletters,
or other means acceptable to the FSO.

 3-109. Debriefings. Contractors shall debrief cleared
employees at the time of termination of employment
(discharge, resignation, or retirement); when an
employee's PCL is terminated, suspended, or revoked;
and upon termination of the FCL.




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                                                CHAPTER 4
                                         Classification and Marking

                                             Section 1. Classification


4-100. General. Information is classified under                        b. Derivative classification includes the
reference (b) by an original classification authority             classification of information based on guidance,
and is designated and marked as TOP SECRET,                       which may be either a source document or
SECRET, or CONFIDENTIAL. The designation                          classification guide. The duplication or reproduction
UNCLASSIFIED is used to identify information that                 of existing classified information is not derivative
does not require a security classification. Except as             classification.
provided by statute, no other terms may be used to
identify classified information.                                       c. Classified information in e-mail messages is
                                                                  subject to all requirements of reference (b) and Part
4-101.      Original Classification.      An original             2001 of reference (z). If an e-mail is transmitted on
classification decision at any level can be made only             a classified system, includes a classified attachment
by a U.S. Government official who has been                        and contains no classified information within the
designated or delegated the authority in writing. A               body of the e-mail itself, then the e-mail is not a
determination to originally classify information may              derivative classification decision. The e-mail overall
be made only when (a) an original classification                  classification must reflect the highest level present in
authority is classifying the information; (b) the                 the attachment.
information falls into one or more of the categories
set forth in reference (b); (c) the unauthorized                      d. The contractor shall ensure that all employees
disclosure of the information, either by itself or in             authorized to make derivative classification
context with other information, reasonably could be               decisions:
expected to cause damage to the national security,
which includes defense against transnational                               (1) Are identified by name and position, or
terrorism, that can be identified or described by the             by personal identifier, on documents they
original classifier; and (d) the information is owned             derivatively classify.
by, produced by or for, or is under the control of the
U. S. Government. The original classifier must state                        (2)    Observe     and    respect     original
the concise "Reason" for classification on the front of           classification decisions.
the document. The original classifier must also
indicate either a date or event for the duration of                        (3) Carry forward the pertinent classification
classification for up to 10 years from the date of the            markings to any newly created documents. For
original classification decision unless the date is               information derivatively classified based on multiple
further extended due to information sensitivities for             sources, the derivative classifier shall carry forward:
up to 25 years. An original classification authority’s
agency must obtain the approval of the Interagency                               (a)   The     date    or    event    for
Security Classification Appeals Panel in order to                 declassification that corresponds to the longest period
continue the classification of information beyond 25              of classification among the sources; and
years.
                                                                                (b) A listing of the source materials.
4-102. Derivative Classification Responsibilities
                                                                            (4) Are trained, in accordance with CSA
     a. Contractor personnel make derivative                      direction, in the proper application of the derivative
classification decisions when they incorporate,                   classification principles, with an emphasis on
paraphrase, restate, or generate in new form,                     avoiding over-classification, at least once every 2
information that is already classified; then mark the             years. Training will cover classification levels,
newly developed material consistently with the                    duration of classification, identification and
classification markings that apply to the source                  markings, classification prohibitions and limitations,
information.                                                      sanctions,     classification   challenges,    security
                                                                  classification guides, and information sharing.



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          (5) Are not authorized to conduct derivative              not advise to the contrary, the contractor may retain
classification until they receive such training.                    classified material for a period of 2 years following
                                                                    completion of the contract. The Contract Security
           (6) Are given ready access to the pertinent              Classification Specification will continue in effect for
classification guides and/or guidance necessary to                  this 2-year period. If the GCA determines the
fulfill these important actions.                                    contractor has a continuing need for the material, the
                                                                    GCA must issue a final Contract Security
     e. Whenever practicable, derivative classifiers                Classification Specification for the classified
shall use a classified addendum if classified                       contract. A final specification is provided to show the
information constitutes a small portion of an                       retention period and to provide final disposition
otherwise unclassified document.                                    instructions for the classified material under the
                                                                    contract.
4-103. Security Classification Guidance. The
GCA is responsible for incorporating appropriate                    4-104. Challenges to Classification. Should a
security requirements clauses in a classified contract,             contractor believe (a) that information is classified
Invitation for Bid (IFB), Request for Proposal (RFP),               improperly or unnecessarily; or (b) that current
Request for Quotation (RFQ), or other solicitation,                 security considerations justify downgrading to a
and for providing the contractor with the security                  lower classification or upgrading to a higher
classification    guidance     needed      during  the              classification; or (c) that the security classification
performance of the contract. This guidance is                       guidance is improper or inadequate, the contractor
provided to the contractor by the Contract Security                 shall discuss such issues with the pertinent GCA for
Classification Specification. The Contract Security                 remedy. If a solution is not forthcoming, and the
Classification Specification must identify the specific             contractor believes that corrective action is still
elements of classified information involved in the                  required, a formal written challenge shall be made to
contract that require security protection.                          the GCA. Such challenges shall include a description
                                                                    sufficient to identify the issue, the reasons why the
     a. Contractors shall, to the extent practicable,               contractor believes that corrective action is required,
advise and assist in the development of the original                and any recommendations for appropriate corrective
Contract Security Classification Specification. It is               action. In any case, the information in question shall
the contractor’s responsibility to understand and                   be safeguarded as required by this Manual for its
apply all aspects of the classification guidance. Users             assigned or proposed level of classification,
of classification guides are also encouraged to notify              whichever is higher, until action is completed. If no
the originator of the guide when they acquire                       written answer is received within 60 days, the CSA
information that suggests the need for change in the                should be requested to provide assistance in obtaining
instructions contained in the guide. Classification                 a response. If no response is received from the GCA
guidance is, notwithstanding the contractor’s input,                within 120 days, the contractor may also forward the
the exclusive responsibility of the GCA, and the final              challenge to the Interagency Security Classification
determination of the appropriate classification for the             Appeals Panel (ISCAP) through the ISOO. The fact
information rests with that activity. The Contract                  that a contractor has initiated such a challenge will
Security Classification Specification is a contractual              not, in any way, serve as a basis for adverse action by
specification necessary for performance on a                        the Government. If a contractor believes that adverse
classified contract. If a classified contract is received           action did result from a classification challenge, full
without a Contract Security Classification                          details should be furnished promptly to the ISOO for
Specification, the contractor shall advise the GCA.                 resolution.

    b. The GCA is required to review the existing                   4-105.       Contractor Developed Information.
guidance periodically during the performance stages                 Whenever a contractor develops an unsolicited
of the contract and to issue a revised Contract                     proposal or originates information not in the
Security Classification Specification when a change                 performance of a classified contract, the following
occurs to the existing guidance or when additional                  rules shall apply:
security classification guidance is needed by the
contractor.                                                              a. If the information was previously identified as
                                                                    classified, it shall be classified according to an
    c. Upon completion of a classified contract, the                appropriate      Contract   Security    Classification
contractor must dispose of the classified information               Specification, classification guide, or source
according to Chapter 5, Section 7. If the GCA does                  document, and marked as required by this Chapter.


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     b.    If the information was not previously                  4-106. Classified Information Appearing in Public
classified, but the contractor believes the information           Media. The fact that classified information has been
may or should be classified, the contractor should                made public does not mean that it is automatically
protect the information as though classified at the               declassified.      Contractors shall continue the
appropriate level and submit it to the agency that has            classification until formally advised to the contrary.
an interest in the subject matter for a classification            Questions about the propriety of continued
determination. In such a case, the following marking,             classification in these cases should be brought to the
or one that clearly conveys the same meaning, may                 immediate attention of the GCA.
be used:
                                                                  4-107. Downgrading or Declassifying Classified
 CLASSIFICATION DETERMINATION PENDING                             Information.       Information is downgraded or
    Protect as though classified (TOP SECRET,                     declassified based on the loss of sensitivity of the
         SECRET, or CONFIDENTIAL).                                information due to the passage of time or on
                                                                  occurrence of a specific event.           Contractors
This marking shall appear conspicuously at least once             downgrade or declassify information based on the
on the material but no further markings are necessary             guidance provided in a Contract Security
until a classification determination is received. In              Classification Specification or upon formal
addition, contractors are not precluded from marking              notification. If material is marked for automatic
such material as company-private or proprietary                   declassification, the contractor shall seek guidance
information.       Pending a final classification                 from the GCA prior to taking any action.
determination, the contractor should protect the                  Downgrading or declassifying actions constitute
information. It should be noted however, that                     implementation of a directed action rather than an
reference (b) prohibits classification of information             exercise of the authority for deciding the change or
over which the Government has no jurisdiction. To                 cancellation of the classification. At the time the
be eligible for classification, the information must:             material is actually downgraded or declassified, the
(1) incorporate classified information to which the               action to update records and change the classification
contractor was given prior access, or (2) the                     markings shall be initiated and performed.
Government must first acquire a proprietary interest              Declassification is not automatically an approval for
in the information.                                               public disclosure.




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                                     Section 2. Marking Requirements

4-200. General. Physically marking classified                         practical, written notification of the markings shall be
information with appropriate classification markings                  furnished to recipients.
serves to warn and inform holders of the information
of the degree of protection required. Other notations                 4-204. Page Markings. Interior pages of classified
facilitate downgrading, declassification, and aid in                  documents shall be conspicuously marked or stamped
derivative classification actions. Therefore, it is                   at the top and bottom with the highest classification
essential that all classified information and material                of the information appearing thereon, or the
be marked to clearly convey to the holder the level of                designation UNCLASSIFIED, if all the information
classification assigned, the portions that contain or                 on the particular page is UNCLASSIFIED.
reveal classified information, the period of time                     Alternatively, the overall classification of the
protection is required, the identity (by name and                     document may be conspicuously marked or stamped
position or personal identifier) of the classifier, the               at the top and bottom of each interior page, when
source(s) for derivative classification, and any other                necessary to achieve production efficiency, and the
notations required for protection of the information.                 particular information to which classification is
                                                                      assigned is adequately identified by portion markings
4-201. Marking Requirements for Information                           according to paragraph 4-206.
and Material. As a general rule, the markings
specified in paragraphs 4-202 through 4-208 are                       4-205.     Component Markings.            The major
required for all classified information regardless of                 components of complex documents are likely to be
the form in which it appears. Some material, such as                  used separately. In such cases, each major component
documents, letters, and reports, can be easily marked                 shall be marked as a separate document. Examples
with the required markings. Marking other material,                   include: (a) each annex, appendix, or similar
such as equipment, IS media, and slides may be more                   component of a plan, program, or project description;
difficult due to size or other physical characteristics.              (b) attachments and appendices to a letter; and (c)
Since the primary purpose of the markings is to alert                 each major part of a report. If an entire major
the holder that the information requires special                      component is UNCLASSIFIED, the first page of the
protection, it is essential that all classified material be           component may be marked at the top and bottom
marked to the fullest extent possible to ensure the                   with the designation UNCLASSIFIED and a
necessary safeguarding.                                               statement included, such as: "All portions of this
                                                                      (annex, appendix, etc.) are UNCLASSIFIED." When
4-202. Identification Markings. All classified                        this method of marking is used, no further markings
material shall be marked to show the name and                         are required on the unclassified major component.
address of the contractor responsible for its
preparation, the identity of the person (by name and                  4-206. Portion Markings.
position or personal identifier) responsible for each
derivative classification action, and the date of                          a. Each section, part, paragraph, or similar
preparation. These markings are required on the face                  portion of a document containing classified
of all classified documents.                                          information shall be marked to show the highest level
                                                                      of its classification and any applicable control
4-203. Overall Markings. The highest level of                         markings, or the portion is unclassified. Portions of
classified information contained in a document is its                 documents shall be marked in a manner that
overall marking. The overall marking shall be                         eliminates doubt as to which of its portions contain or
conspicuously marked or stamped at the top and                        reveal classified information. Classification levels of
bottom on the outside of the front cover, on the title                portions of a document shall be shown by the
page, on the first page, and on the outside of the                    appropriate classification symbol placed immediately
back. All copies of classified documents shall also                   before the portion to which it applies. For paragraphs
bear the required markings. Overall markings shall                    or subparagraphs beginning with numbers, letters or
be stamped, printed, etched, written, engraved,                       symbols such as bullets, place the portion marking
painted, or affixed by means of a tag, sticker, decal,                after the number, letter or bullet and before the text.
or similar device on classified material other than                   In marking portions, the parenthetical symbols (TS)
documents, and on containers of such material, if                     for TOP SECRET, (S) for SECRET, (C) for
possible. If marking the material or container is not                 CONFIDENTIAL, and (U) for UNCLASSIFIED



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shall be used as well as the authorized abbreviation(s)            contractor may use the phrase "multiple sources."
for any applicable control markings.                               When the phrase "multiple sources" is used, the
                                                                   contractor shall include a listing of the source
     b. Illustrations, photographs, figures, graphs,               materials in, or attached to, each derivatively
drawings, charts, or similar portions contained in                 classified document. This listing may take the form
classified documents shall be marked clearly to show               of a bibliography identifying the applicable
their classified or unclassified status.       These               classification sources.
classification markings shall be prominent and placed
within or contiguous to such a portion. Captions of                     c. "DECLASSIFY ON" Line. The purpose of
such portions shall be marked on the basis of their                the "Declassify On" line is to provide declassification
content.                                                           instructions appropriate for the material. When
                                                                   completing this line, the contractor shall use the
4-207. Subject and Title Markings. Unclassified                    information specified in the Contract Security
subjects and titles shall be selected for classified               Classification Specification or classification guide
documents, if possible. A subject or title shall be                furnished with a classified contract.           Or, the
marked with the appropriate symbol placed                          contractor shall carry forward the duration instruction
immediately before the item, which shall reflect the               from the source document or classification guide
classification of the title, not the content of the                (e.g., date or event). When the source is marked
document.                                                          "Original Agency’s Determination Required"
                                                                   (OADR), “X1 through X8”, Manual Review (MR),
4-208.     Markings for Derivatively Classified                    “DNI Only,” "DCI Only," or contains any other no
Documents. All classified information shall be                     longer valid declassification instruction, the
marked to reflect the source of the classification and             "Declassify On" line shall be marked with a date that
declassification instructions. Documents shall show                is 25 years from the date of the source document,
the required information either on the cover, first                unless other guidance has been provided by the OCA.
page, title page, or in another prominent position.                When a document is classified derivatively on the
Other material shall show the required information on              basis of more than one source document or more than
the material itself or, if not practical, in related or            one element of a classification guide, the "Declassify
accompanying documentation.                                        On" line shall reflect the longest duration of any of its
                                                                   sources. Material containing RD or FRD shall not
     a. “CLASSIFIED BY” Line. The purpose of                       have a "Declassify On" line unless co-mingled with
the “Classified By” line is to identify the person who             national security information subject to reference (b).
applies derivative classification markings for the
document. If not otherwise evident, the line will                       d.     "DOWNGRADE TO" Line.           When
include the contractor and, where available, the office            downgrading instructions are contained in the
of origin will be identified and follow the name and               Contract Security Classification Specification,
position or personal identifier of the derivative                  classification guide or source document a
classifier.                                                        "Downgrade To" line will be included. When
                                                                   completing this line, the contractor shall insert
     b. "DERIVED FROM" Line. The purpose of                        SECRET or CONFIDENTIAL and an effective date
the "Derived From" line is to link the derivative                  or event.     The markings used to show this
classification applied to the material by the contractor           information are:
and the source document(s) or classification guide(s)
under which it was classified. In completing the                       DERIVED FROM
"Derived From" line, the contractor shall identify the
applicable guidance that authorizes the classification                 DOWNGRADE TO                ON
of the material. Normally this will be a security
classification guide listed on the Contract Security                   DECLASSIFY ON
Classification Specification or a source document.
When identifying a classification guide on the                     4-209. Documents Generated Under Previous
"Derived From" line, the guide’s title or number,                  E.O.s. Documents classified under previous E.O.s
issuing agency, and date shall be included. Many                   need not be re-marked to comply with the marking
Contract Security Classification Specifications cite               requirements of reference (b).
more than one classification guide and/or the
contractor is extracting information from more than                    a. Classified material originated under recent
one classified source document. In these cases, the                E.O.s contains overall, portion, paragraph, and


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appropriate downgrading and declassification                         classification markings reflect the overall
markings that will provide sufficient guidance for the               classification and declassification instructions for
classification of extracted information. However,                    the entire string of e-mails and attachments. This
classified material originated under previous E.O.s                  includes any newly drafted material, material
may not have these markings.            If the source                received from previous senders, and any
document does not contain portion markings, the                      attachments.
overall classification of the source document shall be
used for the extracted information in the new                             (3) When messages are printed by an
document.                                                            automated system, all markings may be applied
                                                                     by that system, provided the classification
    b. The classification markings for a source                      markings are clearly distinguished from the
document are the responsibility of the originator and                printed text.       The markings required by
not the contractor extracting the information.                       paragraph 4-208 shall be included after the
Contractors are encouraged to contact the originator                 signature block, but before the overall
to avoid improper or unnecessary classification of                   classification marking at the end of the e-mail.
material.                                                            The last line of the message shall be the overall
                                                                     classification of the e-mail.
4-210. Marking Special Types of Material. The
following procedures are for marking special types of                 c. Microforms. Microforms contain images or
material, but are not all inclusive. The intent of the           text in sizes too small to be read by the unaided eye.
markings is to ensure that the classification of the             The applicable markings shall be conspicuously
item, regardless of its form, is clear to the holder.            marked on the microform medium or its container to
                                                                 be readable by the unaided eye. These markings
     a. Files, Folders, or Groups of Documents.                  shall also be included on the image so that when the
Files, folders, binders, envelopes, and other items              image is enlarged and displayed or printed, the
containing classified documents, when not in secure              markings will be conspicuous and readable. Further
storage, shall be conspicuously marked with the                  markings and handling shall be as appropriate for the
highest classification of any classified item included           particular microform involved.
in the group. Cover sheets may be used for this
purpose.                                                              d. Translations. Translations of U.S. classified
                                                                 information into a language other than English shall
     b. E-mail and other Electronic Messages.                    be marked to show the United States as the country
Electronically transmitted messages shall be marked              of origin, with the appropriate U.S. markings and the
in the same manner required for other documents                  foreign language equivalent.
except as noted. The overall classification of the
message shall be the first item of information in the            4-211. Marking Transmittal Documents. A
text and shall be displayed at the top and bottom of             transmittal document shall be marked with the
each message. A “Classified By” line, a "Derived                 highest level of classified information and applicable
From" line, a “Declassify On” line, and portion                  control markings, if any, contained in the document
markings are required on messages. E-mail                        and with an appropriate notation to indicate its
transmitted on or prepared for transmission on                   classification when the enclosures are removed. An
classified systems or networks shall be configured to            unclassified document that transmits a classified
display:                                                         document as an attachment shall bear a notation
                                                                 substantially as follows:        “Unclassified when
         (1) The overall classification at the top and           Separated from Classified Enclosures.” A classified
    bottom of the body of each message; the overall              transmittal that transmits higher classified
    classification marking string for the e-mail will            information shall be marked with a notation
    reflect the classification of the header and body            substantially as follows: “CONFIDENTIAL (or
    of the message, including the subject line, the              SECRET) when Separated from Enclosures.” In
    text of the e-mail, a classified signature block,            addition, a classified transmittal itself must bear all
    attachments, included messages, and any other                the classification markings required for a classified
    information conveyed in the body of the e-mail;              document.
    classified e-mail will be portion marked.
                                                                 4-212. Marking Wholly Unclassified Material.
        (2) When forwarding or replying to an e-                 Normally, wholly UNCLASSIFIED material will not
    mail, contractors shall ensure that the                      be marked or stamped UNCLASSIFIED unless it is


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essential to convey to a recipient of such material that           clearly   marked to   indicate   the   actual
(a) the material has been examined specifically with a             UNCLASSIFIED status of the information. For
view to impose a security classification and has been              example: SECRET FOR TRAINING PURPOSES
determined not to require classification; or (b) the               ONLY,     OTHERWISE     UNCLASSIFIED       or
material has been reviewed and has been determined                 UNCLASSIFIED SAMPLE, or a similar marking
to no longer require classification and it is                      may be used.
declassified.
                                                                   4-217. Downgrading or Declassification Actions.
4-213. Marking Compilations. In some instances,                    When documents or material that have been
certain information that would otherwise be                        downgraded or declassified are removed from storage
unclassified when standing alone may require                       for use or for transmittal outside the facility, they
classification when combined or associated with                    shall be re-marked according to paragraph a or b
other unclassified information. The determination                  below. If the volume of material is such that prompt
that information requires classification by                        re-marking of each classified item cannot be
compilation will be based on specific guidance                     accomplished without unduly interfering with
regarding compilation provided in a Contract                       operations, a downgrading and declassification notice
Security Classification Specification or a security                may be attached to the inside of the file drawers or
classification guide. If specific guidance is absent,              other storage container instead of the re-marking
the contractor will obtain written guidance from the               otherwise required. Each notice shall specify the
applicable GCA. When classification is required to                 authority for the downgrading or declassification
protect a compilation of such information, the overall             action, the date of the action, and the storage
classification assigned to the compilation shall be                container to which it applies. When documents or
conspicuously affixed. The reason for classifying the              other material subject to downgrading or
compilation shall be stated at an appropriate location             declassification are withdrawn from the container
at or near the beginning of the compilation. Any                   solely for transfer to another, or when the container is
unclassified portions will be portion marked (U),                  transferred from one place to another, the transfer
while the overall markings will reflect the                        may be made without re-marking if the notice is
classification of the compiled information, even if all            attached to the new container or remains with each
the portions are marked (U).                                       shipment.

4-214.       Working Papers.          Working papers                    a. Prior to taking any action to downgrade or
containing classified information shall be dated when              declassify information, the contractor shall seek
created; marked with the highest classification of any             guidance from the GCA. If such action is approved,
information contained in them; protected at that level;            all old classification markings shall be canceled and
and if otherwise appropriate, destroyed when no                    the new markings substituted, whenever practical. In
longer needed. Working papers shall be controlled                  the case of documents, as a minimum the outside of
and marked in the same manner prescribed for a                     the front cover, the title page, the first page, and the
finished document at the same classification level if              outside of the back shall reflect the new classification
released outside of the facility, filed permanently, or            markings, or the designation UNCLASSIFIED.
retained for more than 180 days from the date of the               Other material shall be re-marked by the most
origin, filed permanently, e-mailed within or released             practical method for the type of material involved to
outside the originating activity.                                  ensure that it is clear to the holder what level of
.                                                                  classification is assigned to the material.
4-215. Marking Miscellaneous Material. Material
developed in connection with the handling,                              b. When contractors are notified of downgrading
processing, production, storage and utilization of                 or declassification actions that are contrary to the
classified information shall be handled in a manner                markings shown on the material, the material shall be
that ensures adequate protection of the classified                 re-marked to indicate the change. In addition, the
information involved and shall be destroyed at the                 material shall be marked to indicate the authority for
earliest practical time, unless a requirement exists to            the action, the date of the action, and the identity of
retain such material. There is no requirement to mark              the person or contractor taking the action. Other
such material.                                                     holders shall be notified if further dissemination has
                                                                   been made by the contractor.
4-216. Marking Training Material. Unclassified
documents or materials that are created to simulate or             4-218. Upgrading Action
demonstrate classified documents or material shall be


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     a. When a notice is received to upgrade material                   a. Determine whether all holders of the material
to a higher level, for example from CONFIDENTIAL                   are cleared and authorized access to it.
to SECRET, the new markings shall be immediately
entered on the material according to the notice to                     b. Determine whether control of the material has
upgrade, and all the superseded markings shall be                  been lost.
obliterated. The authority for and the date of the
upgrading action shall be entered on the material.                     c. If recipients are cleared for access to the
Other holders shall be notified as appropriate if                  material, promptly provide written notice to all
further dissemination of the material has been made                holders of the proper classification to be assigned. If
by the contractor.                                                 control of the material has been lost, if all copies
                                                                   cannot be accounted for, or if unauthorized personnel
     b. The contractor’s notice shall not be classified            have had access to it, report the compromise to the
unless the notice contains additional information                  CSA.
warranting classification. In the case of material
which       was      inadvertently     released      as            4-220. Marking requirements for transfers of
UNCLASSIFIED, the contractor’s notice shall be                     defense articles to AUS or the United Kingdom
classified CONFIDENTIAL, unless it contains                        (UK). Marking requirements for transfers of defense
additional information warranting a higher                         articles to AUS or UK without a license or other
classification. The notice shall cite the applicable               written authorization are located in Chapter 10,
Contract Security Classification Specification or                  Section 8 of this Manual.
other classification guide on the "Derived From" line
and be marked with an appropriate declassification                 4-221.      Comingling of Restricted Data and
instruction.                                                       Formerly Restricted Data. To the greatest degree
                                                                   possible, do not comingle RD and FRD in the same
4-219. Inadvertent Release. If classified material is              document with information classified pursuant to
inadvertently distributed outside the facility without             reference (b). When mixing can’t be avoided, the
the proper classification assigned to it, or without any           requirements of references (b) and (z) must be met.
markings to identify the material as classified, the
contractor shall, as appropriate:




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                                               CHAPTER 5
                                    Safeguarding Classified Information

                               Section 1. General Safeguarding Requirements


5-100. General. Contractors shall be responsible for               encouraged, no further controls are necessary.
safeguarding classified information in their custody               Personnel who have a legitimate need to remove or
or under their control. Individuals are responsible for            transport classified material should be provided
safeguarding classified information entrusted to                   appropriate authorization for passing through
them. The extent of protection afforded classified                 designated entry/exit points. The fact that persons
information shall be sufficient to reasonably                      who enter or depart the facility are subject to an
foreclose the possibility of its loss or compromise.               inspection of their personal effects shall be
                                                                   conspicuously posted at all pertinent entries and
5-101. Safeguarding Oral Discussions. Contractors                  exits.
shall ensure that all cleared personnel are aware of
the prohibition against discussing classified                           a. All persons who enter or exit the facility shall
information over unsecured telephones, in public                   be subject to an inspection of their personal effects,
conveyances or places, or in any other manner that                 except under circumstances where the possibility of
permits interception by unauthorized persons.                      access to classified material is remote. Inspections
                                                                   shall be limited to buildings or areas where classified
5-102. End of Day Security Checks                                  work is being performed. Inspections are not
                                                                   required of wallets, change purses, clothing,
    a. Contractors that store classified material shall            cosmetics cases, or other objects of an unusually
establish a system of security checks at the close of              personal nature.
each working day to ensure that all classified material
and security repositories have been appropriately                      b. The extent, frequency, and location of
secured.                                                           inspections shall be accomplished in a manner
                                                                   consistent with contractual obligations and
     b. Contractors that operate multiple work shifts              operational efficiency. Inspections may be done
shall perform the security checks at the end of the last           using any appropriate random sampling technique.
working shift in which classified material was                     Contractors are encouraged to seek legal advice
removed from storage for use. The checks are not                   during the formulation of implementing procedures
required during continuous 24-hour operations.                     and to surface significant problems to the CSA.

5-103. Perimeter Controls. Contractors authorized                  5-104. Emergency Procedures. Contractors shall
to store classified material shall establish and                   develop procedures for safeguarding classified
maintain a system to deter and detect unauthorized                 material in emergency situations. The procedures
introduction or removal of classified material from                shall be as simple and practical as possible and
their facility. The objective is to discourage the                 should be adaptable to any type of emergency that
introduction or removal of classified material without             may reasonably arise. Contractors shall promptly
proper authority. If the unauthorized introduction or              report to the CSA any emergency situation that
removal of classified material can be reasonably                   renders the facility incapable of safeguarding
foreclosed through technical means, which are                      classified material.




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                                      Section 2. Control and Accountability


5-200.     Policy.     Contractors shall establish an               regardless of delivery method, is received directly by
information management system to protect and control                authorized personnel. The material shall be examined
the classified information in their possession.                     for evidence of tampering and the classified contents
Contractors shall ensure that classified information in             shall be checked against the receipt. Discrepancies in
their custody is used or retained only for a lawful and             the contents of a package or absence of a receipt for
authorized U.S. Government purpose. The U.S.                        TOP SECRET and SECRET material shall be reported
Government reserves the right to retrieve its classified            promptly to the sender. If the shipment is in order, the
material or to cause appropriate disposition of the                 receipt shall be signed and returned to the sender. If a
material by the contractor.            The information              receipt is included with CONFIDENTIAL material, it
management system employed by the contractor shall                  shall be signed and returned to the sender.
be capable of facilitating such retrieval and disposition
in a reasonable period of time.                                     5-203. Generation of Classified Material

5-201. Accountability for TOP SECRET                                     a. A record of TOP SECRET material produced
                                                                    by the contractor shall be made when the material is:
     a. TOP SECRET control officials shall be                       (1) completed as a finished document, (2) retained for
designated to receive, transmit, and maintain access                more than 180 days after creation, regardless of the
and accountability records for TOP SECRET                           stage of development, or (3) transmitted outside the
information. An inventory shall be conducted annually               facility.
unless written relief is granted by the GCA.
                                                                         b. Classified working papers generated by the
     b. The transmittal of TOP SECRET information                   contractor in the preparation of a finished document
shall be covered by a continuous receipt system both                shall be: (1) dated when created, (2) marked with its
within and outside the facility.                                    overall classification and with the annotation
                                                                    “WORKING PAPERS”, and (3) destroyed when no
     c. Each item of TOP SECRET material shall be                   longer needed. Working papers shall be marked in the
numbered in series. The copy number shall be placed                 same manner prescribed for a finished document at the
on TOP SECRET documents and on all associated                       same classification level if released outside the
transaction documents.                                              facility, or retained for more than 180 days from the
                                                                    date                      of                    origin.
5-202. Receiving Classified Material. Procedures
shall be established to ensure that classified material,




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                                    Section 3. Storage and Storage Equipment


5-300. General. This section describes the uniform               5-306. Closed Areas. Due to the size and nature of
requirements for the physical protection of classified           the classified material, or for operational necessity, it
material in the custody of contractors. Where these              may be necessary to construct closed areas for storage
requirements are not appropriate for protecting specific         because GSA-approved containers or vaults are
types or forms of classified material, compensatory              unsuitable or impractical. Closed areas must be
provisions shall be developed and approved by the                constructed in accordance with section 8 of this
CSA. Nothing in this Manual shall be construed to                chapter. Access to closed areas must be controlled to
contradict or inhibit compliance with the law or
                                                                 preclude unauthorized access.           This may be
building codes. Cognizant security officials shall work
                                                                 accomplished through the use of a cleared person or by
to meet appropriate security needs according to the
intent of this Manual and at acceptable cost.                    a supplanting access control device or system. Access
                                                                 shall be limited to authorized persons who have an
5-301. GSA Storage Equipment. GSA establishes                    appropriate security clearance and a need-to-know for
and publishes uniform standards, specifications, and             the classified material/information within the area.
supply schedules for units and key-operated and                  Persons without the appropriate level of clearance
combination padlocks suitable for the storage and                and/or need to know shall be escorted at all times by an
protection of classified information. Manufacturers              authorized person where inadvertent or unauthorized
and prices of storage equipment approved by the GSA              exposure to classified information cannot otherwise be
are listed in the Federal Supply Schedule (P55) catalog          effectively prevented. Closed areas storing TOP
(FSC GROUP 71-Pan II). Copies of specifications and              SECRET and SECRET material shall be accorded
schedules may be obtained from any regional office of            supplemental protection during non-working hours.
the GSA.                                                         During non-working hours and during working hours
                                                                 when the area is unattended, admittance to the area
5-302. TOP SECRET Storage. TOP SECRET                            shall be controlled by locked entrances and exits
material shall be stored in a GSA-approved security              secured by either an approved built-in combination
container, an approved vault, or an approved closed              lock or an approved combination or key-operated
area with supplemental controls.
                                                                 padlock.      It is not necessary to activate the
                                                                 supplemental controls during working hours. Doors
5-303. SECRET Storage. SECRET material shall be
stored in a GSA-approved security container, an                  secured from the inside with a panic bolt (for example,
approved vault, or closed area. Supplemental controls            actuated by a panic bar, a dead bolt, a rigid wood or
are required for storage in closed areas.                        metal bar) or other means approved by the CSA, will
                                                                 not require additional locking devices.
5-304. CONFIDENTIAL                          Storage.
CONFIDENTIAL material shall be stored in the same                    a. Contractors shall develop and implement
manner as TOP SECRET or SECRET material except                   procedures to ensure the structural integrity of closed
that no supplemental protection is required.                     areas above false ceilings and below raised floors.

5-305. Restricted Areas. When it is necessary to                      b. Open shelf or bin storage of SECRET and
control access to classified material in an open area            CONFIDENTIAL documents in closed areas requires
during working hours, a restricted area may be                   CSA approval. For SECRET material only areas
established. A restricted area will normally become              protected by an approved Intrusion Detection System
necessary when it is impractical or impossible to                (IDS) will qualify for such approval. Open shelf or bin
protect classified material because of its size, quantity        storage of TOP SECRET documents is not permitted.
or other unusual characteristic. The restricted area
shall have a clearly defined perimeter, but physical                  c. The CSA and the contractor shall agree on the
barriers are not required. Personnel within the area             need to establish, and the extent of, closed areas prior
shall be responsible for challenging all persons who             to the award of the contract, when possible, or when
may lack appropriate access authority. All classified
                                                                 the need for such areas becomes apparent during
material will be secured during non-working hours in
                                                                 contract performance.
approved repositories or secured using other methods
approved by the CSA.
                                                                     d. The CSA may grant self-approval authority to



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the FSO for closed area approvals provided the FSO                      a. The initial use of an approved container or
meets specified qualification criteria as determined by           lock for the protection of classified material.
the CSA.
                                                                        b. The termination of employment of any person
5-307. Supplemental Protection
                                                                  having knowledge of the combination, or when the
                                                                  clearance granted to any such person has been with-
      a. IDS as described in section 9 of this Chapter            drawn, suspended, or revoked.
shall be used as supplemental protection.
                                                                       c. The compromise or suspected compromise of
                                                                  a container or its combination, or discovery of a
      b. Security guards approved as supplemental
                                                                  container left unlocked and unattended.
protection prior to January 1, 1995, may continue to be
utilized. When guards are authorized, the schedule of
patrol is 2 hours for TOP SECRET material and 4                        d. At other times when considered necessary by
hours for SECRET material.                                        the FSO or CSA.

      c.    GSA-approved security containers and                  5-310. Supervision of Keys and Padlocks. Use of
approved vaults secured with a locking mechanism                  key-operated padlocks are subject to the following
meeting Federal Specification FF-L-2740 do not                    requirements: (i) a key and lock custodian shall be
                                                                  appointed to ensure proper custody and handling of
require supplemental protection when the CSA has
                                                                  keys and locks used for protection of classified
determined that the GSA-approved security container
                                                                  material; (ii) a key and lock control register shall be
or approved vault is located in an area of the facility
                                                                  maintained to identify keys for each lock and their
with security-in-depth.                                           current location and custody; (iii) keys and locks shall
                                                                  be audited each month; (iv) keys shall be inventoried
5-308. Protection of Combinations to Security                     with each change of custody; (v) keys shall not be
Containers, Cabinets, Vaults and Closed Areas.                    removed from the premises; (vi) keys and spare locks
Only a minimum number of authorized persons shall                 shall be protected equivalent to the level of classified
have knowledge of combinations to authorized storage              material involved; (vii) locks shall be changed or
containers. Containers shall bear no external markings            rotated at least annually and shall be replaced after loss
indicating the level of classified material authorized for        or compromise of their operable keys; and (viii)
storage.                                                          making master keys is prohibited.

    a. A record of the names of persons having                    5-311. Repair of Approved Containers. Repairs,
knowledge of the combination shall be maintained.                 maintenance, or other actions that affect the physical
                                                                  integrity of a security container approved for storage of
                                                                  classified information shall be accomplished only by
     b. Security containers, vaults, cabinets, and other          appropriately cleared or continuously escorted person-
authorized storage containers shall be kept locked                nel specifically trained in approved methods of
when not under the direct supervision of an authorized            maintenance and repair of containers.             Repair
person entrusted with the contents.                               procedures may be obtained from the CSA.

     c. The combination shall be safeguarded in                         a. An approved security container is considered
accordance with the highest classification of the                 to have been restored to its original state of security
material authorized for storage in the container.                 integrity if all damaged or altered parts are replaced
                                                                  with manufacturer’s replacement or identical
     d. If a record is made of a combination, the                 cannibalized parts.
record shall be marked with the highest classification
of material authorized for storage in the container.                     b. The repairer will provide a signed and dated
                                                                  certification for each repaired container that describes
5-309. Changing Combinations. Combinations shall                  the method of repair used; certifications will be kept
be changed by a person authorized access to the                   on file by the contractor.
contents of the container, or by the FSO or his or her
designee. Combinations shall be changed as follows:



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5-312. Supplanting Access Control Systems or                             d.    Authentication     of    the   individual’s
Devices. Automated access control systems and                      authorization to enter the area must be accomplished
electronic, mechanical, or electromechanical devices               within the system by comparing the inputs from the ID
which meet the criteria stated in paragraphs 5-313 and             badge or card or the personal identity verification
5-314, below, may be used to supplant contractor-                  device and the keypad with an electronic database of
authorized personnel or guards to control admittance to            individuals authorized into the area. A procedure must
closed areas during working hours. Approval of the                 be established for removal of the individual’s
FSO is required before effecting the installation of a             authorization to enter the area upon reassignment,
supplanting access control device to meet a                        transfer or termination, or when the individual’s PCL
requirement of this Manual.                                        is suspended or revoked.

5-313. Automated Access Control Systems. The                             e. Locations where access transactions are, or
automated access control system must be capable of                 can be displayed, and where authorization data, card
identifying the individual entering the area and                   encoded data and personal identification or verification
authenticating that person’s authority to enter the area.          data is input, stored, displayed, or recorded must be
                                                                   protected.
     a. Manufacturers of automated access control
equipment or devices must assure in writing that their                   f. Control panels, card readers, keypads,
system will meet the following standards before FSOs               communication or interface devices located outside the
may favorably consider such systems for protection of              entrance to a closed area shall have tamper-resistant
classified information:                                            enclosures, be securely fastened to a wall or other
                                                                   structure, be protected by a tamper alarm, or secured
          (1) Chances of an unauthorized individual                with an approved combination padlock. Control
gaining access through normal operation of the                     panels located within a closed area shall require only a
equipment are no more than one in ten thousand.                    minimal degree of physical security protection
                                                                   sufficient to preclude unauthorized access to the
           (2) Chances of an authorized individual                 mechanism. Where areas containing TOP SECRET
being rejected for access through normal operation of              information are involved, tamper alarm protection is
the equipment are no more than one in one thousand.                mandatory.

      b. Identification of individuals entering the area                 g. Systems that utilize transmission lines to carry
can be obtained by an identification (ID) badge or                 access authorization, personal identification, or
card, or by personal identity.                                     verification data between devices/equipment located
                                                                   outside the closed area shall receive circuit protection
            (1) The ID badge or card must use                      equal to or greater than that specified as Grade A by
embedded sensors, integrated circuits, magnetic stripes            Underwriters Laboratories (UL).
or other means of encoding data that identifies the
facility and the individual to whom the card is issued.                  h. Access to records and information concerning
                                                                   encoded ID data and PINs shall be restricted to
           (2) Personal identity verification identifies           individuals cleared at the same level as the highest
the individual requesting access by some unique                    classified information contained within the specific
personal characteristic, such as, (a) fingerprint, (b)             area or areas in which ID data or PINs are utilized.
hand geometry, (c) handwriting. (d) retina, or (e) voice           Access to identification or authorization data,
recognition.                                                       operating system software or any identifying data
                                                                   associated with the access control system shall be
      c. In conjunction with an ID badge or card or                limited to the least number of personnel possible.
personal identity verification, a personal identification          Such data or software shall be kept secured when
number (PIN) is required. The PIN must be separately               unattended.
entered into the system by each individual using a
keypad device. The PIN shall consist of four or more                     i. Records reflecting active assignments of ID
digits, randomly selected with no known or logical                 badges/cards, PINs, levels of access, and similar
association with the individual. The PIN must be                   system-related records shall be maintained. Records
changed when it is believed to have been subjected to              concerning personnel removed from the system shall
compromise.                                                        be retained for 90 days.



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      j. Personnel entering or leaving an area shall be           unauthorized access to the mechanism.
required to immediately secure the entrance or exit
point. Authorized personnel who permit another                          b. The control panel shall be installed in a
individual entrance into the area are responsible for             manner that precludes an unauthorized person in the
confirming the individual’s PCL and need-to-know.                 immediate vicinity from observing the selection of the
During shift changes and emergency situations, if the             correct combination of the push buttons, or have a
door remains open, admittance shall be controlled by a            shielding device mounted.
contractor-authorized person or guard stationed to
supervise the entrance to the area.                                    c. The selection and setting of the combination
                                                                  shall be accomplished by an employee of the
5-314. Electronic, Mechanical, or Electro-                        contractor who is authorized to enter the area. The
mechanical Devices. Provided the classified material              combination shall be changed as specified in paragraph
within the closed area is no higher than SECRET,                  5-309. The combination shall be classified and
electronic, mechanical, or electro-mechanical devices             safeguarded in accordance with the classification of the
that meet the criteria below may be used to supplant              highest classified material within the closed area.
contractor authorized personnel or guards to control
admittance to closed areas during working hours.                       d. Electrical gear, wiring included, or
Devices may be used that operate by either a push-                mechanical links (cables, rods, etc.) shall be accessible
button combination that activates the locking device or           only from inside the area, or shall be secured within a
by a control card used in conjunction with a push-                protective covering to preclude surreptitious
button combination, thereby excluding any system that             manipulation of components.
operates solely by the use of a control card.
                                                                        e. Personnel entering or leaving the area shall be
      a. The electronic control panel containing the              required to secure the entrance or exit point
mechanism by which the combination is set may be                  immediately.       Authorized personnel who permit
located inside or outside the closed area. When                   another individual entrance into the area are
located outside the closed area, the control panel shall          responsible for confirming the individual’s PCL and
be securely fastened or attached to the perimeter                 need-to-know. During shift changes and emergency
barrier of the area and secured by an approved                    situations, if the door remains open, admittance shall
combination padlock. If the control panel is located              be controlled by a contractor-authorized person or
within the closed area, it shall require only a minimal           guard stationed to supervise the entrance to the area.
degree of physical security designed to preclude




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                                               Section 4. Transmission


5-400.     General.      Classified material shall be               following methods within and directly between the
transmitted outside the contractor's facility in a manner           United States and its territorial areas:
that prevents loss or unauthorized access.
                                                                        a. By the methods established for TOP SECRET.
5-401. Preparation and Receipting
                                                                         b. U.S. Postal Service Express Mail and U.S.
     a. Classified information to be transmitted outside            Postal Service Registered Mail. NOTE: The "Waiver
of a facility shall be enclosed in opaque inner and outer           of Signature and Indemnity" block on the U.S. Postal
covers. The inner cover shall be a sealed wrapper or                Service Express Mail Label 11-B may not be executed
envelope plainly marked with the assigned                           and the use of external (street side) express mail
classification and addresses of both sender and                     collection boxes is prohibited.
addressee. The outer cover shall be sealed and
addressed with no identification of the classification of               c. A cleared commercial carrier.
its contents. A receipt shall be attached to or enclosed
in the inner cover, except that CONFIDENTIAL                             d. A cleared commercial messenger service
information shall require a receipt only if the sender              engaged in the intercity/local area delivery (same day
deems it necessary. The receipt shall identify the                  delivery only) of classified material.
sender, the addressee and the document, but shall
contain no classified information. It shall be signed by                e. A commercial delivery company, approved by
the recipient and returned to the sender.                           the CSA, that provides nation-wide, overnight service
                                                                    with computer tracking and reporting features. Such
     b. A suspense system will be established to track              companies need not be security cleared.
transmitted documents until a signed copy of the
receipt is returned.                                                   f. Other methods as directed in writing by the
                                                                    GCA.
     c. When the material is of a size, weight, or nature
that precludes the use of envelopes, the materials used             5-404. CONFIDENTIAL Transmission Outside a
for packaging shall be of such strength and durability              Facility. CONFIDENTIAL material shall be
to ensure the necessary protection while the material is            transmitted by the methods established for SECRET
in transit.                                                         material, except that a commercial carrier does not
                                                                    have to be cleared, or by U.S. Postal Service Certified
5-402. TOP SECRET Transmission Outside a                            Mail.
Facility. Written authorization of the GCA is required
to transmit TOP SECRET information outside of the                   5-405. Transmission Outside the United States and
facility. TOP SECRET material may be transmitted by                 Its Territorial Areas. Classified material may be
the following methods within and directly between the               transmitted to a U.S. Government activity outside the
United States and its territorial areas.                            United States or a U.S. territory only under the
                                                                    provisions of a classified contract or with the written
    a. The Defense Courier Service, if authorized by                authorization of the GCA.
the GCA.
                                                                        a. TOP SECRET material may be transmitted by
    b. A designated courier or escort cleared for                   the Defense Courier Service, Department of State
access to TOP SECRET information.                                   Courier System, or a courier service authorized by the
                                                                    GCA.
     c. By electrical means over CSA-approved
secured communications security circuits, provided                      b. SECRET and CONFIDENTIAL material may
such transmission conforms with this Manual, the                    be transmitted by: (1) registered mail through U.S.
telecommunications security provisions of the contract,             Army, Navy, or Air Force postal facilities; (2) by an
or as otherwise authorized by the GCA.                              appropriately cleared contractor employee; (3) by a
                                                                    U.S. civil service employee or military person, who
5-403. SECRET Transmission Outside a Facility.                      has been designated by the GCA; (4) by U.S. and
SECRET material may be transmitted by one of the                    Canadian registered mail with registered mail receipt



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to and from Canada and via a U.S. or a Canadian                                 (2) Carrier equipment shall be sealed by the
government activity; or (5) as authorized by the GCA.                 contractor or a representative of the carrier when there
                                                                      is a full carload, a full truckload, exclusive use of the
5-406. Addressing Classified Material. Mail or                        vehicle, or when a closed and locked compartment of
shipments containing classified material shall be                     the carrier's equipment is used. The seals shall be
addressed to the Commander or approved classified                     numbered and the numbers indicated on all copies of
mailing address of a Federal activity or to a cleared                 the bill of lading (BL). When seals are used, the BL
contractor using the name and classified mailing                      shall be annotated substantially as follows: DO NOT
address of the facility. An individual's name shall not               BREAK SEALS EXCEPT IN CASE OF
appear on the outer cover. This does not prevent the                  EMERGENCY OR UPON PRIOR AUTHORITY OF
use of office code letters, numbers, or phrases in an                 THE CONSIGNOR OR CONSIGNEE. IF FOUND
attention line to aid in internal routing.                            BROKEN OR IF BROKEN FOR EMERGENCY
                                                                      REASONS, APPLY CARRIER'S SEALS AS SOON
     a. When it is necessary to direct SECRET or                      AS POSSIBLE AND IMMEDIATELY NOTIFY
CONFIDENTIAL material to the attention of a                           BOTH THE CONSIGNOR AND THE CONSIGNEE.
particular individual, other than as prescribed below,
the identity of the intended recipient shall be indicated                      (3)    For DoD contractors the notation
on an attention line placed in the letter of transmittal or           "Protective Security Service Required" shall be
on the inner container or wrapper.                                    reflected on all copies of the BL. The BL will be
                                                                      maintained in a suspense file to follow-up on overdue
    b. When        addressing     SECRET         or                   or delayed shipments.
CONFIDENTIAL material to an individual operating
as an independent consultant, or to any facility at                        b. The contractor shall utilize a qualified carrier
which only one employee is assigned, the outer                        selected by the U.S. Government that will provide a
container shall specify: "TO BE OPENED BY                             single-line service from point of origin to destination,
ADDRESSEE       ONLY"       and    be   annotated:                    when such service is available, or by such
"POSTMASTER-DO          NOT     FORWARD.         IF                   transshipping procedures as may be specified by the
UNDELIVERABLE TO ADDRESSEE, RETURN TO                                 U.S. Government.
SENDER."
                                                                           c. The contractor shall request routing
5-407. Transmission Within a Facility. Classified                     instructions, including designation of a qualified
material may be transmitted within a facility without                 carrier, from the GCA or designated representative
single or double-wrapping provided adequate measures                  (normally the government transportation officer). The
are taken to protect the material against unauthorized                request shall specify that the routing instructions are
disclosure.                                                           required for the shipment of SECRET material and
                                                                      include the point of origin and point of destination.
5-408. SECRET Transmission by Commercial
Carrier. SECRET material may be shipped by a                               d. The contractor shall notify the consignee
cleared commercial carrier that has been approved by                  (including U.S. Government transshipping activity) of
the CSA to transport SECRET shipments.                                the nature of the shipment, the means of the shipment,
Commercial carriers may be used only within and                       numbers of the seals, if used, and the anticipated time
between the 48 contiguous States and the District of                  and date of arrival by separate communication at least
Columbia or wholly within Alaska, Hawaii, or a U.S.                   24 hours in advance (or immediately on dispatch if
territory. When the services of a commercial carrier                  transit time is less than 24 hours) of the arrival of the
are required, the contractor, as consignor, shall be                  shipment. This notification shall be addressed to the
responsible for the following:                                        appropriate organizational entity and not to an
                                                                      individual.     Request that the consignee activity
     a. The material shall be prepared for transmission               (including a military transshipping activity) notify the
to afford additional protection against pilferage, theft,             consignor of any shipment not received within 48
and compromise as follows.                                            hours after the estimated time of arrival indicated by
                                                                      the consignor.
         (1) The material shall be shipped in hardened
containers unless specifically authorized otherwise by                   e. In addition, the contractor shall annotate the
the contracting agency.                                               BL: "CARRIER TO NOTIFY THE CONSIGNOR
                                                                      AND     CONSIGNEE         (Telephone      Numbers)
                                                                      IMMEDIATELY IF SHIPMENT IS DELAYED


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BECAUSE OF AN ACCIDENT OR INCIDENT. IF                            cleared contractor's facility that has appropriate storage
NEITHER CAN BE REACHED, CONTACT (Enter                            capability, if needed.
appropriate HOTLINE Number). USE HOTLINE
NUMBER TO OBTAIN SAFE HAVEN OR REFUGE                                  d. If the classified material is being hand carried
INSTRUCTIONS IN THE EVENT OF A CIVIL                              to a classified meeting or on a visit, an inventory of the
DISORDER, NATURAL DISASTER, CARRIER                               material shall be made prior to departure. A copy of
STRIKE OR OTHER EMERGENCY."                                       the inventory shall be carried by the employee. On the
                                                                  employee's return to the facility, an inventory shall be
5-409.       CONFIDENTIAL Transmission by                         made of the material for which the employee was
Commercial Carrier. CONFIDENTIAL material                         charged.
may be shipped by a CSA or GCA-approved
commercial carrier.         For DoD contractors a                 5-411. Use of Commercial Passenger Aircraft for
commercial carrier authorized by law, regulatory body,            Transmitting Classified Material.       Classified
or regulation to provide the required transportation              material may be hand carried aboard commercial
service shall be used when a determination has been               passenger aircraft by cleared employees with the
made by the Surface Deployment and Distribution                   approval of the FSO.
Command (SDDC) (formerly known as the Military
Traffic Management Command) that the carrier has a                     a. Routine Processing. Employees hand carrying
tariff, government tender, agreement, or contract that            classified material will be subject to routine processing
provides Constant Surveillance Service. Commercial                by airline security agents. Hand-held packages will
carriers may be used only within and between the 48               normally be screened by x-ray examination. If security
contiguous states and the District of Columbia or                 personnel are not satisfied with the results of the
wholly within Alaska, Hawaii, or a U.S. territory. An             inspection, and the prospective passenger is requested
FCL is not required for the commercial carrier. The               to open a classified package for visual examination the
contractor, as consignor, shall:                                  traveler shall inform the screener that the carry-on
                                                                  items contain U.S. Government classified information
     a. Utilize containers of such strength and                   and cannot be opened. Under no circumstances may
durability as to provide security protection to prevent           the classified material be opened by the traveler or
items from breaking out of the container and to                   security personnel.
facilitate the detection of any tampering with the
container while in transit;                                            b. Special Processing. When routine processing
                                                                  would subject the classified material to compromise or
    b. For DoD contractors indicate on the BL,                    damage; when visual examination is or may be
"Constant Surveillance Service Required." In addition,            required to successfully screen a classified package; or
annotate the BL as indicated in 5-408e.                           when classified material is in specialized containers
                                                                  which due to its size, weight, or other physical
     c. Instruct the carrier to ship packages weighing            characteristics cannot be routinely processed, the
less than 200 pounds gross in a closed vehicle or a               contractor shall contact the appropriate air carrier in
closed portion of the carrier's equipment.                        advance to explain the particular circumstances and
                                                                  obtain instructions on the special screening procedures
5-410.   Use of Couriers, Hand Carriers, and                      to be followed.
Escorts.     Contractors who designate cleared
employees as couriers, hand carriers, and escorts shall                c. Authorization Letter. Contractors shall
ensure:                                                           provide employees with written authorization to hand
                                                                  carry classified material on commercial aircraft. The
    a. They are briefed on their responsibility to                written authorization shall:
safeguard classified information.
                                                                            (1) Provide the full name, date of birth,
    b. They possess an identification card or badge               height, weight, and signature of the traveler and state
which contains the contractor's name and the name and             that he or she is authorized to transmit classified
a photograph of the employee.                                     material;

     c. The employee retains classified material in his                    (2) Describe the type of identification the
or her personal possession at all times. Arrangements             traveler will present on request;
shall be made in advance of departure for overnight
storage at a U.S. Government installation or at a


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        (3) Describe the material being hand carried                 b. When accompanying a classified shipment in
and request that it be exempt from opening;                      an express or freight car, provide continuous
                                                                 observation of the containers and observe adjacent
         (4) Identify the points of         departure,           areas during stops or layovers.
destination, and known transfer points;
                                                                      c. When traveling in an escort car accompanying
         (5) Include the name, telephone number, and             a classified shipment via rail, keep the shipment cars
signature of the FSO, and the location and telephone             under observation and detrain at stops, when practical
number of the CSA.                                               and time permits, in order to guard the shipment cars
                                                                 and check the cars or containers locks and seals. The
5-412. Use of Escorts for Classified Shipments. If               escort car (after arrangements with the railroad) should
an escort is necessary to ensure the protection of the           be pre-positioned immediately behind the car used for
classified information being transported, a sufficient           the classified shipment to enable the escort to keep the
number of escorts shall be assigned to each classified           shipment car under observation.
shipment to ensure continuous surveillance and control
over the shipment while in transit. Specific written                 d. Maintain liaison with train crews, other railroad
instructions and operating procedures shall be                   personnel, special police, and law enforcement
furnished escorts prior to shipping and shall include            agencies, as necessary.
the following:
                                                                      e. When escorting classified shipments via motor
     a. Name and address of persons, including                   vehicles, maintain continuous vigilance for the
alternates, to whom the classified material is to be             presence of conditions or situations that might threaten
delivered;                                                       the security of the cargo, take such action as
                                                                 circumstances might require to avoid interference with
    b. Receipting procedures;                                    continuous safe passage of the vehicle, check seals and
                                                                 locks at each stop where time permits, and observe
    c. Means of transportation and the route to be               vehicles and adjacent areas during stops or layovers.
used;
                                                                      f. When escorting shipments via aircraft, provide
    d. Duties of each escort during movement, during             continuous observation of plane and cargo during
stops en route, and during loading and unloading                 ground stops and of cargo during loading and
operations; and                                                  unloading operations. The escort shall not board the
                                                                 plane until after the cargo area is secured.
    e. Emergency and communication procedures.                   Furthermore, the escort should preferably be the first
                                                                 person to depart the plane to observe the opening of
5-413. Functions of an Escort.       Escorts shall be            the cargo area. Advance arrangements with the airline
responsible for the following.                                   are required.

    a. Accept custody for the shipment by signing a                   g. Notify the consignor by the fastest means
receipt and release custody of the shipment to the               available if there is an unforeseen delay en route, an
consignee after obtaining a signed receipt.                      alternate route is used, or an emergency occurs. If
                                                                 appropriate and the security of the shipment is
                                                                 involved, notify the nearest law enforcement official.




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                                                Section 5. Disclosure


5-500.     General.    Contractors shall ensure that            5-508. Disclosure of Export Controlled Information
classified information is disclosed only to authorized          to Foreign Persons. Contractors shall not disclose
persons.                                                        export-controlled     information      and     technology
                                                                (classified or unclassified) to a foreign person, whether
5-501. Disclosure to Employees. Contractors are                 an employee or not, or whether disclosure occurs in the
authorized to disclose classified information to their          United States or abroad, unless such disclosure is in
cleared employees as necessary for the performance of           compliance with applicable U.S. laws and regulations.
tasks or services essential to the fulfillment of a
classified contract or subcontract.                             5-509. Disclosure        to    Other       Contractors.
                                                                Contractors shall not disclose classified information to
5-502. Disclosure to Subcontractors. Contractors                another contractor except in furtherance of a contract,
are authorized to disclose classified information to a          subcontract, or other GCA purpose.
cleared subcontractor when access is necessary for the
performance of tasks or services essential to the               5-510. Disclosure of Classified Information in
fulfillment of a prime contract or a subcontract.               Connection with Litigation. Contractors shall not
                                                                disclose classified information to attorneys hired solely
5-503. Disclosure between Parent and Subsidiaries.              to represent the contractor in any civil or criminal case
Disclosure of classified information between a parent           in Federal or state courts unless the disclosure is
and its subsidiaries, or between subsidiaries, shall be         specifically authorized by the agency that has
accomplished in the same manner as prescribed in 5-             jurisdiction over the information. Contractors shall not
502 for subcontractors.                                         disclose classified information to any Federal or state
                                                                court except on specific instructions of the agency
5-504. Disclosure in an MFO. Disclosure of                      which has jurisdiction over the information or the
classified information between cleared facilities of the        attorney representing the United States in the case.
MFO shall be accomplished in the same manner as                 (For criminal cases in Federal courts, see paragraph 1-
prescribed in 5-501 for employees.                              208.)

5-505. Disclosure to DoD Activities. Contractors are            5-511. Disclosure to the Public. Contractors shall
authorized to disclose classified information received          not disclose classified or unclassified information
or generated under a DoD classified contract to another         pertaining to a classified contract to the public without
DoD activity unless specifically prohibited by the DoD          prior review and clearance as specified in the Contract
activity that has classification jurisdiction over the          Security Classification Specification for the contract or
information.                                                    as otherwise specified by the GCA.

5-506. Disclosure to Federal Agencies. Contractors                   a. Requests for approval shall be submitted
shall not disclose classified information received or           through the activity specified in the GCA-provided
generated under a contract from one agency to any               classification guidance for the contract involved. Each
other Federal agency unless specifically authorized by          request shall indicate the approximate date the
the agency that has classification jurisdiction over the        contractor intends to release the information for public
information.                                                    disclosure and identify the media to be used for the
                                                                initial release. A copy of each approved request for
5-507. Disclosure of Classified Information to                  release shall be retained for a period of one inspection
Foreign Persons. Contractors shall not disclose                 cycle for review by the CSA. All information
classified information to foreign persons unless release        developed subsequent to the initial approval shall also
of the information is authorized in writing by the              be cleared by the appropriate office prior to public
Government Agency having classification jurisdiction            disclosure.
over the information involved, e.g. the DOE for RD
and FRD, the NSA for COMSEC, the DNI for SCI,                        b. The following information need not be
and all other Executive Branch departments and                  submitted for approval unless specifically prohibited
agencies for classified information under their                 by the GCA:
jurisdiction. The disclosure must also be consistent
with applicable U.S. laws and regulations.                               (1) The fact that a contract has been received,
                                                                including the subject matter of the contract and/or type


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of item in general terms provided the name or
description of the subject matter is not classified.

         (2) The method or type of contract; such as,
bid, negotiated, or letter.

         (3) Total dollar amount of the contract unless
that information equates to (a) a level of effort in a
sensitive research area, or (b) quantities of stocks of
certain weapons and equipment that are classified.

          (4) Whether the contract will require the
hiring or termination of employees.

        (5) Other information that from time-to-time
may be authorized on a case-by-case basis in a specific
agreement with the contractor.

        (6)      Information previously        officially
approved for public disclosure.

     c. The procedures of this paragraph also apply to
information pertaining to classified contracts intended
for use in unclassified brochures, promotional sales
literature, reports to stockholders, or similar material.

    d. Information that has been declassified is not
automatically authorized for public disclosure.
Contractors shall request approval for public disclosure
of "declassified" information in accordance with the
procedures of this paragraph.




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                                                  Section 6. Reproduction


5-600. General. Contractors shall establish a control
system to ensure that reproduction of classified                         (2) Preparation of a solicited or unsolicited
material is held to the minimum consistent with                 bid, quotation, or proposal to a Federal agency or
contractual and operational requirements. Classified            prospective subcontractor.
reproduction shall be accomplished by authorized
personnel knowledgeable of the procedures. The use                        (3) Preparation of patent applications to be
of technology that prevents, discourages, or detects the        filed in the U.S. Patent Office.
unauthorized reproduction of classified documents is
encouraged.                                                          c. Reproduced copies of classified documents
                                                                shall be subject to the same protection as the original
5-601. Limitations                                              documents.

     a. TOP SECRET documents may be reproduced                  5-602. Marking Reproductions. All reproductions
as necessary in the preparation of a contract                   of classified material shall be conspicuously marked
deliverable. Reproduction for any other purpose                 with the same classification markings as the material
requires the consent of the GCA.                                being reproduced. Copies of classified material shall
                                                                be reviewed after the reproduction process to ensure
     b. Unless restricted by the GCA, SECRET and                that these markings are visible.
CONFIDENTIAL documents may be reproduced as
follows:                                                        5-603. Records. Contractors shall maintain a record
                                                                of the reproduction of all TOP SECRET material for 2
        (1) Performance of a prime contract or a                years.
subcontract in furtherance of a prime contract.




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                                        Section 7. Disposition and Retention


5-700. General                                                             (4) The material will benefit the U.S.
                                                                  Government in the performance of other prospective or
     a. Classified information no longer needed shall             existing agency contracts.
be processed for appropriate disposition. Classified
information approved for destruction shall be                              (5) The material will benefit the U.S.
destroyed in accordance with this section. The method             Government in the performance of another active
of destruction must preclude recognition or                       contract and will be transferred to that contract
reconstruction of the classified information or material.         (specify contract).

     b. Contractors shall establish procedures for                         c. If retention beyond 2 years is not
review of their classified holdings on a recurring basis          authorized, all classified material received or generated
to reduce these classified inventories to the minimum             in the performance of a classified contract shall be
necessary for effective and efficient operations.                 destroyed unless it has been declassified or the GCA
Multiple copies, obsolete material, and classified waste          has requested that the material be returned.
shall be destroyed as soon as practical after it has
served its purpose. Any appropriate downgrading and               5-702. Termination of Security Agreement.
declassification actions shall be taken on a timely basis         Notwithstanding the provisions for retention outlined
to reduce the volume and to lower the level of                    above, in the event that the FCL is to be terminated,
classified material being retained by the contractor.             the contractor shall return all classified material in its
                                                                  possession to the GCA concerned, or dispose of such
5-701. Retention of Classified Material. Contractors              material in accordance with instructions from the CSA.
are authorized to retain classified material received or
generated under a contract for a period of 2 years after          5-703.   Disposition of Classified Material Not
completion of the contract, provided the GCA does not             Received Under a Specific Contract.
advise to the contrary. If retention is required beyond
the 2-year period, the contractor must request and                    a. Contractors shall return or destroy classified
receive written retention authority from the GCA.                 material received with a bid, proposal, or quote in
                                                                  accordance with the following schedule:
     a. Contractors shall identify classified material for
retention beyond 2 years as follows:                                      (1) If a bid, proposal, or quote is not
                                                                  submitted or is withdrawn within 180 days after the
         (1) TOP SECRET material shall be identified              opening date of bids, proposals, or quotes.
in a list of specific documents unless the GCA
authorizes identification by subject matter and                            (2) If a bid, proposal, or quote is not accepted
approximate number of documents.                                  within 180 days after notification that a bid, proposal,
                                                                  or quote has not been accepted.
        (2) SECRET and CONFIDENTIAL material
may be identified by general subject matter and the                    b. If the classified material was not received
approximate number of documents.                                  under a specific contract, such as material obtained at
                                                                  classified meetings or from a secondary distribution
     b. Contractors shall include a statement of                  center, within 1 year after receipt.
justification for retention based on the following:
                                                                  5-704. Destruction.        Contractors shall destroy
        (1) The material is necessary for the                     classified material in their possession as soon as
maintenance of the contractor's essential records.                possible after it has served the purpose for which it
                                                                  was released by the government, developed or
         (2) The material is patentable or proprietary            prepared by the contractor, or retained after completion
data to which the contractor has title.                           or termination of the contract.

        (3) The material will assist the contractor in            5-705. Methods of Destruction. Classified material
independent research and development efforts.                     may be destroyed by burning, shredding, pulping,
                                                                  melting, mutilation, chemical decomposition, or
                                                                  pulverizing (for example, hammer mills, choppers, and


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hybridized disintegration equipment).           Pulpers,        5-706. Witness to Destruction. Classified material
pulverizers, or shredders may be used only for the              shall be destroyed by authorized personnel who have a
destruction of paper products. High wet strength                full understanding of their responsibilities.     For
paper, paper mylar, durable-medium paper substitute,            destruction of TOP SECRET material, two persons are
or similar water repellent papers are not sufficiently          required.      For destruction of SECRET and
destroyed by pulping; other methods such as                     CONFIDENTIAL material, one person is required.
disintegration, shredding, or burning shall be used to
destroy these types of papers. Residue shall be                 5-707. Destruction Records. Destruction records are
inspected during each destruction to ensure that                required for TOP SECRET material. The records shall
classified information cannot be reconstructed.                 indicate the date of destruction, identify the material
Crosscut shredders currently in use capable of                  destroyed, and be signed by the individuals designated
maintaining a shred size not exceeding 1/32 inch in             to destroy and witness the destruction. Destruction
width (with a 1/64 inch tolerance by 1/2 inch in length)        officials shall be required to know, through their
may continue to be used. However, any crosscut                  personal knowledge, that such material was destroyed.
shredders requiring replacement of the unit and/or              At the contractor's discretion, the destruction
rebuilding of the shredder blades assembly must be              information required may be combined with other
replaced by a crosscut shredder on the latest NSA               required control records. Destruction records shall be
Evaluated Products List of High Security Crosscut               maintained by the contractor for 2 years.
Shredders. The list may be obtained from the CSA.
Classified material in microform; that is, microfilm,           5-708. Classified Waste. Classified waste shall be
microfiche, or similar high data density material; may          destroyed as soon as practical. This applies to all
be destroyed by burning or chemical decomposition, or           waste material containing classified information.
other methods as approved by the CSA.                           Pending destruction, classified waste shall be
                                                                safeguarded as required for the level of classified
     a. Public destruction facilities may be used only          material involved. Receptacles utilized to accumulate
with the approval of, and under conditions prescribed           classified waste shall be clearly identified as
by, the CSA.                                                    containing classified material.

     b. Classified material removed from a cleared
facility for destruction shall be destroyed on the same
day it is removed.




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                                      Section 8. Construction Requirements


5-800.     General.     This section describes the               pairs, an astragal (overlapping molding) shall be
construction requirements for closed areas and vaults.           installed where the doors meet.
Construction shall conform to the requirements of this
section or, with CSA approval, to the standards of                    e. Door Locking Devices. Entrance doors shall
Intelligence Community (IC) Directive 705, “Sensitive            be secured with either an approved built-in
Compartmented Information Facilities (SCIFs)                     combination lock, an approved combination padlock,
(reference (n)).                                                 or with an approved key-operated padlock. Other
                                                                 doors shall be secured from the inside with a panic bolt
5-801. Construction Requirements for Closed                      (for example, actuated by a panic bar); a dead bolt; a
Areas.      This paragraph specifies the minimum                 rigid wood or metal bar (which shall preclude
safeguards and standards required for the construction           "springing") which extends across the width of the
of closed areas that are approved for use for                    door and is held in position by solid clamps, preferably
safeguarding classified material. These criteria and             on the door casing; or by other means approved by the
standards apply to all new construction and                      CSA consistent with relevant fire and safety codes.
reconstruction, alterations, modifications, and repairs
of existing areas. They will also be used for evaluating             f. Ceilings. Ceilings shall be constructed of
the adequacy of existing areas.                                  material offering resistance to and detection of
                                                                 unauthorized entry. Wire mesh or other non-opaque
     a. Hardware. Only heavy-gauge hardware shall                material offering similar resistance to, and evidence of,
be used in construction. Hardware accessible from                unauthorized entry into the area may be used if visual
outside the area shall be peened, pinned, brazed, or             access to classified material is not a factor.
spot welded to preclude removal.
                                                                      g. Ceilings (Unusual Cases). When wall barriers
     b. Walls. Construction may be of material                   do not extend to the true ceiling and a false ceiling is
offering resistance to, and evidence of, unauthorized            created, the false ceiling must be reinforced with wire
entry into the area. If insert-type panels are used, a           mesh or 18-gauge expanded metal to serve as the true
method shall be devised to prevent the removal of such           ceiling. When wire mesh or expanded metal is used, it
panels without leaving visual evidence of tampering. If          must overlap the adjoining walls and be secured in a
visual access is a factor, area barrier walls up to a            manner that precludes removal without leaving
height of 8 feet shall be of opaque or translucent               evidence of tampering. When wall barriers of an area
construction.                                                    do extend to the true ceiling and a false ceiling is
                                                                 added, there is no necessity for reinforcing the false
     c. Windows. Windows that can be opened and                  ceiling. When there is a valid justification for not
that are less than 18 feet from an access point (for             erecting a solid ceiling as part of the area, such as the
example, another window outside the area, roof, ledge,           use of overhead cranes for the movement of bulky
or door) shall be fitted with 1/2-inch bars (separated by        equipment within the area, the contractor shall ensure
no more than 6 inches), plus crossbars to prevent                that surreptitious entry cannot be obtained by entering
spreading, 18-gauge expanded metal or wire mesh                  the area over the top of the barrier walls.
securely fastened on the inside. When visual access of
classified information is a factor, the windows shall be              h. Miscellaneous Openings. All vents, ducts and
covered by any practical method, such as drapes,                 similar openings into closed areas that measure in
blinds, or paint covering the inside of the glass.               excess of 96 square inches and over 6 inches in their
During nonworking hours, the windows shall be closed             smallest dimension must be protected with either ½-
and securely fastened to preclude surreptitious entry.           inch diameter steel bars with a maximum space of 6
                                                                 inches between the bars; grills consisting of 18-gauge
     d. Doors. Doors shall be constructed of material            expanded metal, wire mesh; or an equivalent gauge
offering resistance to and detection of unauthorized             commercial metal duct barrier. The barriers must be
entry. When windows, louvers, baffle plates, or                  secured to preclude removal from outside the area, and
similar openings are used, they shall be secured with            the method of installation must ensure that classified
18-gauge expanded metal or with wire mesh securely               material cannot be removed through the openings with
fastened on the inside. If visual access is a factor, the        the aid of any type of instrument. A barrier will not be
windows shall be covered. When doors are used in                 required if an approved IDS provides protection of the
                                                                 opening.


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5-802. Construction Required for Vaults. This                          d. Vault Door and Frame Unit. A GSA-
paragraph specifies the minimum standards required                 approved vault door and frame unit shall be used.
for the construction of vaults approved for use as
storage facilities for classified material.      These                  e. Miscellaneous Openings. Omission of all
standards apply to all new construction and                        miscellaneous openings is desirable, but not
reconstruction, alterations, modifications, and repairs            mandatory. Openings of such size and shape as to
of existing vaults. They will also be used for                     permit unauthorized entry, (normally in excess of 96
evaluating the adequacy of existing vaults. In addition            square inches in area and over 6 inches in its smallest
to the requirements given below, the wall, floor, and              dimension) and openings for ducts, pipes, registers,
roof construction shall be in accordance with                      sewers and tunnels shall be equipped with man-safe
nationally recognized standards of structural practice.            barriers such as wire mesh, 18-gauge expanded metal,
For the vaults described below, the concrete shall be              or rigid metal bars of at least 1/2 inch in diameter
poured in place and will have a compressive strength               extending across their width with a maximum space of
of 2,500 pounds per square inch.                                   6 inches between the bars. The rigid metal bars shall
                                                                   be securely fastened at both ends to preclude removal
    a. Floor. The floor must be a monolithic concrete              and, if the bars exceed 18 inches in length, shall have
construction of the thickness of adjacent concrete floor           crossbars to prevent spreading. Where wire mesh,
construction, but not less than 4 inches thick.                    expanded metal, or rigid metal bars are used, care shall
                                                                   be exercised to ensure that classified material within
     b. Walls. Walls must be not less than 8-inch-                 the vault cannot be removed with the aid of any type of
thick hollow clay tile (vertical cell double shells) or            instrument. Pipes and conduits entering the vault shall
concrete blocks (thick shells). Monolithic steel-                  enter through walls that are not common to the vault
reinforced concrete walls at least 4 inches thick may              and the structure housing the vault. Preferably such
also be used. Where hollow clay tiles are used and                 pipes and conduits should be installed when the vault
such masonry units are flush, or in contact with,                  is constructed. If this is not practical, they shall be
facility exterior walls, they shall be filled with concrete        carried through snug-fitting pipe sleeves cast in the
and steel-reinforced bars. Walls are to extend to the              concrete. After installation, the annular space between
underside of the roof or ceiling above.                            the sleeve and the pipe or conduit shall be caulked
                                                                   solid with lead, wood, waterproof (silicone) caulking,
    c. Roof/Ceiling. The roof or ceiling must be a                 or similar material, which will give evidence of
monolithic reinforced concrete slab of a thickness to be           surreptitious removal.
determined by structural requirements.




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                                       Section 9. Intrusion Detection Systems


5-900. General. This section specifies the minimum                   IDS. Each failure to activate or deactivate shall be
standards for an approved IDS when supplemental                      reported to the FSO. Such records shall be maintained
protection is required for TOP SECRET and SECRET                     for 30 days.
material.     The IDS shall be connected to, and
monitored by, a central monitoring station. Alarm                         e. Records shall be maintained for 90 days
system installation shall conform to the requirements                indicating time of receipt of alarm, name(s) of security
of this section or to the standards set forth in reference           force personnel responding, time dispatched to
(n). The CSA will approve contingency protection                     facility/area, time security force personnel arrived,
procedures in the event of IDS malfunction.                          nature of alarm, and what follow-up actions were
                                                                     accomplished.
5-901. CSA Approval
                                                                     5-903. Investigative Response to Alarms. The
     a. CSA approval is required before installing an                primary purpose of any alarm response team is to
IDS. Approval of a new IDS shall be based on the                     ascertain if intrusion has occurred and if possible assist
criteria of reference (n) or UL Standard 2050,                       in the apprehension of the individuals involved. If an
reference (o), as determined by the CSA.                             alarm activation resets in a reasonable amount of time
                                                                     and no damage to the area or container is visible, then
    b. The UL listed Alarm Service Company (ASC)                     entrance into the area or container is not required.
is responsible for completing the Alarm System                       Therefore, the initial response team may consist of
Description Form.                                                    uncleared personnel. If the alarm activation does not
                                                                     reset and damage is observed, then a cleared response
5-902. Central Monitoring Station                                    team must be dispatched. The initial uncleared
                                                                     response team must stay on station until relieved by the
     a. The central monitoring station may be located                cleared response team. If a cleared response team does
at a UL-listed: (1) Government Contractor Monitoring                 not arrive within one hour, then a report to the CSA
Station (GCMS), formerly called a proprietary central                must be made by the close of the next business day.
station; (2) cleared commercial central station; (3)
cleared protective signal service station (e.g., fire                    a. The following resources may be used to
alarm monitor); or (4) cleared residential monitoring                investigate alarms: proprietary security force
station. For the purpose of monitoring alarms, all                   personnel, central station guards, or a subcontracted
provide an equivalent level of monitoring service.                   guard service.

     b. SECRET-cleared central station employees                              (1) For a GCMS, trained proprietary or
shall be in attendance at the alarm monitoring station               subcontractor security force personnel, cleared to the
in sufficient number to monitor each alarmed area                    SECRET level and sufficient in number to be
within the cleared contractor facility.                              dispatched immediately to investigate each alarm, shall
                                                                     be available at all times when the IDS is in operation.
      c. The central monitoring station shall be required
to indicate whether or not the system is in working                           (2) For a commercial central station,
order and to indicate tampering with any element of                  protective signaling service station, or residential
the system. Necessary repairs shall be made as soon as               monitoring station, there shall be a sufficient number
practical. Until repairs are completed, periodic patrols             of trained guards available to respond to alarms.
shall be conducted during non-working hours, unless a                Guards shall be cleared only if they have the ability
SECRET cleared employee is stationed at the alarmed                  and responsibility to access the area or container(s)
site.                                                                housing classified material; i.e., keys to the facility
                                                                     have been provided or the personnel are authorized to
     d. When an IDS is used, it shall be activated                   enter the building or check the container or area that
immediately at the close of business at the alarmed                  contains classified material.
area or container. This may require that the last person
who departs the controlled area or checks the security                         (3) Uncleared guards dispatched by a
container notify the central monitoring station to set               commercial central station, protective signaling service
the alarm. A record shall be maintained to identify the              station, or residential monitoring station in response to
person responsible for setting and deactivating the                  an alarm shall remain on the premises until a


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designated, cleared representative of the facility                  assurance from the police department regarding the
arrives, or for a period of not less than 1 hour,                   ability to respond to alarms.
whichever comes first. If a cleared representative of
the facility does not arrive within 1 hour following the                d. Alarm signal transmission is over computer
arrival of the guard, the central control station must              controlled data-networks (internet, intranet, etc.). The
provide the CSA with a report of the incident that                  CSA will provide specific acceptance criteria (e.g.,
includes the name of the subscriber facility, the date              encryption requirements, etc.) for alarms monitored
and time of the alarm, and the name of the subscriber's             over data networks.
representative who was contacted to respond. A report
shall be submitted to the CSA within 24 hours of the                    e. Alarm investigator response time exceeds 15
next working day.                                                   minutes.

          (4) Subcontracted guards must be under a                  5-905. Certification of Compliance. Evidence of
classified contract with either the installing alarm                compliance with the requirements of this section will
company or the cleared facility.                                    consist of a valid (current) UL Certificate for the
                                                                    appropriate category of service. This certificate will
     b. The response time shall not exceed 15 minutes.              have been issued to the protected facility by UL,
When environmental factors (e.g., traffic, distance)                through the alarm installing company. The certificate
legitimately prevent a 15-minute response time, the                 serves as evidence that the alarm installing company:
CSA may authorize up to a 30-minute response time.                  (a) is listed as furnishing security systems of the
The CSA approval shall be documented on the UL                      category indicated; (b) is authorized to issue the
Alarm System Description Form and the specified                     certificate of installation as representation that the
response time shall be noted on the alarm certificate.              equipment is in compliance with requirements
The UL standard for response within the time limits is              established by UL for the class; and (c) is subject to the
80%. That is the minimum allowable on-time response                 UL field countercheck program whereby periodic
rate and anything less than 80% is unacceptable.                    inspections are made of representative alarm
However, in all cases, a guard or cleared employee                  installations by UL personnel to verify the correctness
must arrive at the alarmed premises.                                of certification practices.

5-904. Installation. The IDS at the facility, area or               5-906. Exceptional Cases
container shall be installed by a UL listed ASC or by a
company approved by the CSA. When connected to a                        a. If the requirements set forth above cannot be
commercial central station, GCMS protective signaling               met, the contractor may request CSA approval for an
service or residential monitoring station, the service              alarm system meeting one of the conditions listed
provided shall include line security (i.e., the                     below. CSA approval will be documented on the
connecting lines are electronically supervised to detect            Alarm System Description Form.
evidence of tampering or malfunction), the extent of
protection for a container shall be “Complete,” and for                     (1) Monitored by a central control station but
an alarmed area shall be “Extent 3” as described in the             responded to by a local (municipal, county, state) law
reference (o) installation guide. CSA authorization on              enforcement organization.
the Alarm System Description Form is required in the
following circumstances:                                                     (2) Connected by direct wire to alarm
                                                                    receiving equipment located in a local (municipal,
     a. Line security is not available. Installation will           county, state) police station or public emergency
require two independent means of transmission of the                service dispatch center. This alarm system is activated
alarm signal from the alarmed area to the monitoring                and deactivated by employees of the contractor, but the
station.                                                            alarm is monitored and responded to by personnel of
                                                                    the monitoring police or emergency service dispatch
    b. Alarm installation provides Extent 5                         organization. Personnel monitoring alarm signals at
Protection. Reference (o) allows for Extent 5 based on              police stations or dispatch centers do not require PCLs.
patrolling guards and CSA approval of security-in-                  Police department response systems may be requested
depth.                                                              only when: (a) the contractor facility is located in an
                                                                    area where central control station services are not
    c. Law enforcement personnel are the primary                    available with line security and/or proprietary security
alarm response. The contractor must obtain written                  force personnel, or a contractually-dispatched response
                                                                    to an alarm signal cannot be achieved within the time


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limits required by the CSA, and, (b) it is impractical            system and provide the required response. The name
for the contractor to establish a GCMS or proprietary             and address of the UL listed company that will install
guard force at that location. Nonetheless, installation           the system, and inspect, maintain, and repair the
of these systems must use UL-listed equipment and be              equipment, shall also be furnished.
accomplished by an ASC Service Center listed by UL
for any of the following categories:                                   c. The contractor shall require a 15-minute
                                                                  response time from the police department.
          1. Defense (National) Industrial Security               Arrangements shall be made with the police to
Systems                                                           immediately notify a contractor representative on
                                                                  receipt of the alarm. The contractor representative is
          2. Proprietary Alarm Systems                            required to go immediately to the facility to investigate
                                                                  the alarm and to take appropriate measures to secure
          3. Central Station Burglar Alarm Systems                the classified material.

       4. Police - Station - Connected Burglar                        d. In exceptional cases where central station
Alarm Systems                                                     monitoring service is available, but no proprietary
                                                                  security force, central station, or subcontracted guard
     b. An installation proposal, explaining how the              response is available, and where the police department
system would operate, shall be submitted to the CSA.              does not agree to respond to alarms, and no other
The proposal must include sufficient justification for            manner of investigative response is available, the CSA
the granting of an exception and the full name and                may approve cleared employees as the sole means of
address of the police department that will monitor the            response.




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                                                   CHAPTER 6
                                                Visits and Meetings

                                                   Section 1. Visits


 6-100. General. This section applies when, for a                        b. If a CSA-designated database is not available
 lawful and authorized U.S. Government purpose, it is               and a VAL is required, contractors shall include the
 anticipated that classified information will be                    following information in all VALs.
 disclosed during a visit to a cleared contractor or to a
 Federal facility.                                                            (1). Contractor's name, address, and
                                                                    telephone number, assigned Commercial and
 6-101. Classified Visits. The number of classified                 Government Entity (CAGE) code, if applicable, and
 visits shall be held to a minimum. The contractor                  certification of the level of the facility security
 must determine that the visit is necessary and that the            clearance;
 purpose of the visit cannot be achieved without
 access to, or disclosure of, classified information.                        (2). Name, date and place of birth, and
 Contractors shall establish procedures to ensure                   citizenship of the employee intending to visit;
 positive identification of visitors, appropriate PCL,
 and need-to-know prior to the disclosure of any                              (3). Certification of the proposed visitor's
 classified information. Contractors shall establish                PCL and any special access authorizations required
 procedures to ensure that visitors are only afforded               for the visit;
 access to classified information consistent with the
 purpose of the visit.                                                       (4). Name of person(s) to be visited;

  6-102. Need-to-Know Determination.               The                        (5). Purpose and sufficient justification for
 responsibility for determining need-to-know in                     the visit to allow for a determination of the necessity
 connection with a classified visit rests with the                  of the visit; and
 individual who will disclose classified information
 during the visit. Need-to-know is generally based on                         (6). Date or period during which the VAL is
 a contractual relationship between the contractors. In             to be valid.
 other circumstances, disclosure of the information
 will be based on an assessment that the receiving                  6-105. Long-Term Visitors
 contractor has a bona fide need to access the
 information in furtherance of a GCA purpose.                            a. When government employees or employees
                                                                    of one contractor are temporarily stationed at another
 6-103. Visits by Government Representatives.                       contractor's facility, the security procedures of the
 Representatives of the Federal Government, when                    host contractor will govern.
 acting in their official capacities as inspectors,
 investigators, or auditors, may visit a contractor's                    b. Government personnel assigned to or
 facility, provided these representatives present                   visiting a contractor facility and engaged in oversight
 appropriate government credentials upon arrival.                   of an acquisition program shall retain control of their
                                                                    work product.         Classified work products of
 6-104. Visit Authorization                                         government employees shall be handled in
                                                                    accordance with this Manual. Contractor procedures
      a. If a visit requires access to classified                   shall not require government employees to relinquish
 information, the host contractor shall verify the                  control of their work products, whether classified or
 visitor’s PCL level. Verification of a visitor’s PCL               not, to a contractor.
 may be accomplished by a review of a CSA-
 designated database that contains the information or                    c. Contractor employees at government
 by a visit authorization letter (VAL) provided by the              installations shall follow the security requirements of
 visitor’s employer.                                                the host.      However, this does not relieve the
                                                                    contractor from security oversight of their employees
                                                                    who are long-term visitors at government
                                                                    installations.


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                                                  Section 2. Meetings


6-200. General.        This section applies to a                               (6) A list of any foreign representatives
conference, seminar, symposium, exhibit, convention,                 (including their nationality, name, organizational
training course, or other such gathering during which                affiliation) whose attendance at the meeting is
classified information is disclosed, hereafter called a              proposed.
"meeting."
                                                                              (7) A     description   of    the   security
6-201. Government Sponsorship of Meetings.                           arrangements necessary for the meeting to comply with
Disclosure of classified information to large diverse                the requirements of this Manual.
audiences such as conferences increases security risks.
However, classified disclosure at such meetings which                     b. Location of Meetings. Classified sessions
serve a government purpose and at which adequate                     shall be held only at a Federal Government installation
security measures have been provided in advance may                  or a cleared contractor facility where adequate physical
be conducted by a cleared contractor provided the                    security and procedural controls have been approved.
meeting is authorized by a government agency that has                The authorizing government agency is responsible for
agreed to assume security jurisdiction.              The             evaluating and approving the location proposed for the
government      agency     must      approve     security            meeting.
arrangements, announcements, attendees, and the
location of the meeting. The government agency may                       c. Security Arrangements for Meetings. The
delegate certain responsibilities to a cleared contractor            contractor shall develop the security measures and
for the security arrangements and other actions                      procedures to be used and obtain the authorizing
necessary for the meeting under the general                          agency's approval. The security arrangements must
supervision of the government agency.                                provide for the following:

     a. Requests for Authorization. Contractors                               (1) Announcements.           Approval of the
desiring to conduct meetings requiring sponsorship                   authorizing agency shall be obtained for all
shall submit their requests to the Government Agency                 announcements of the meeting. Announcements shall
having principal interest in the subject matter of each              be unclassified and shall be limited to a general
meeting. The request for authorization shall include                 description of topics expected to be presented, names
the following information:                                           of speakers, and administrative instructions for
                                                                     requesting invitations or participation. Classified
          (1) An explanation of the government                       presentations shall not be solicited in the
purpose to be served by disclosing classified                        announcement. When the meeting has been approved,
information at the meeting and why the use of                        announcements may only state that the government
conventional channels for release of the information                 agency has authorized the conduct of classified
will not advance those interests.                                    sessions and will provide necessary security assistance.
                                                                     The announcement shall further specify that security
          (2) The subject of the meeting and scope of                clearances and justification to attend classified sessions
classified topics, to include the classification level, to           are to be forwarded to the authorizing agency or its
be disclosed at the meeting.                                         designee. Invitations to foreign persons shall be sent by
                                                                     the authorizing government agency.
           (3) The expected dates and location of the
meeting.                                                                      (2) Clearance and Need-to-know.            All
                                                                     persons in attendance at classified sessions shall
         (4) The general content of the proposed                     possess the requisite clearance and need-to-know for
announcement and/or invitation to be sent to                         the information to be disclosed. Need-to-know shall
prospective attendees or participants.                               be determined by the authorizing agency or its
                                                                     designee based on the justification provided.
         (5) The identity of any other non-government                Attendance shall be authorized only to those persons
organization involved and a full description of the type             whose security clearance and justification for
of support it will provide.                                          attendance have been verified by the security officer of
                                                                     the organization represented. The names of all
                                                                     authorized attendees or participants must appear on an



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access list with entry permitted to the classified session                a. Obtain prior written authorization for each
only after verification of the attendee's identity based             proposed disclosure of classified information from the
on presentation of official photographic identification              government agency having jurisdiction over the
such as a passport, contractor or U.S. Government                    information involved.
identification card.
                                                                          b. Furnish a copy of the disclosure authorization
          (3) Presentations. Classified information                  to the government agency sponsoring the meeting.
must be authorized for disclosure in advance by the
government agency having jurisdiction over the                            c. Associations are not responsible for ensuring
information to be presented. Individuals making                      that classified presentations and papers of other
presentations at meetings shall provide sufficient                   organizations have been approved for disclosure.
classification guidance to enable attendees to identify              Authority to disclose classified information at
what information is classified and the level of                      meetings, whether disclosure is by officials of industry
classification.    Classified presentations shall be                 or government, must be granted by the government
delivered orally and/or visually. Copies of classified               agency or activity that has classification jurisdiction
presentations or slides, etc., shall not be distributed at           over the information to be disclosed. Each contractor
the classified meeting, and any classified notes or                  that desires to disclose classified information at a
electronic recordings of classified presentations shall              meeting is responsible for requesting and obtaining
be classified, safeguarded, and transmitted as required              disclosure approvals.
by this Manual.
                                                                     6-203. Requests to Attend Classified Meetings.
          (4) Physical Security. The physical security               Before a contractor employee can attend a classified
measures for the classified sessions shall provide for               meeting, the contractor shall provide justification why
control of, access to, and dissemination of, the                     the employee requires access to the classified
classified information to be presented and shall provide             information, cite the classified contract or GCA
for secure storage capability, if necessary.                         program/project involved, and forward the information
                                                                     to the authorizing government agency.
6-202. Disclosure Authority at Meetings.               A
contractor desiring to disclose classified information at
a meeting shall:




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                                                   CHAPTER 7
                                                  Subcontracting

                                 Section 1. Prime Contractor Responsibilities


 7-100. General. This Chapter outlines the                         made if there is an existing contractual relationship
 requirements and responsibilities of a prime                      between the parties involving classified information
 contractor when disclosing classified information to a            of the same or higher category, by accessing the
 subcontractor.                                                    CSA-designated database, or by contacting the CSA.

 7-101. Responsibilities. Before a prime contractor                         (2) If a prospective subcontractor does not
 may release or disclose classified information to a               have the appropriate FCL or safeguarding capability,
 subcontractor, or cause classified information to be              the prime contractor shall request the CSA of the
 generated by a subcontractor, the following actions               subcontractor to initiate the necessary action.
 are required:                                                     Requests shall include, as a minimum, the full name,
                                                                   address and contact information for the requester; the
     a. Determine the security requirements of the                 full name, address, and contact information for a
 subcontract.                                                      contact at the facility to be processed for an FCL; the
                                                                   level of clearance and/or safeguarding capability
          (1) Access to classified information will be             required; and full justification for the request.
 required. This is a "classified contract" within the              Requests for safeguarding capability shall include a
 meaning of this Manual. A "security requirements                  description, quantity, end-item, and classification of
 clause" and a Contract Security Classification                    the information related to the proposed subcontract.
 Specification shall be incorporated in the solicitation           Other factors necessary to help the CSA determine if
 and in the subcontract (see the "security requirements            the prospective subcontractor meets the requirements
 clause" in the prime contract). The subcontractor                 of this Manual shall be identified, such as any special
 must possess an appropriate FCL and safeguarding                  access requirements.
 capability if possession of classified information will
 be required.                                                          c. Requesting contractors shall allow sufficient
                                                                   lead time in connection with the award of a classified
               (a) If access will not be required in the           subcontract to enable an uncleared bidder to be
 pre-award phase, prospective subcontractors are not               processed for the necessary FCL. When the FCL
 required to possess an FCL to receive or bid on the               cannot be granted in sufficient time to qualify the
 solicitation.                                                     prospective subcontractor for participation in the
                                                                   current procurement action, the CSA will continue
              (b) If access will be required during the            the FCL processing action to qualify the prospective
 pre-award phase, all prospective subcontractors must              subcontractor for future contract consideration
 possess the appropriate FCL and have safeguarding                 provided:
 capability.
                                                                            (1) The delay in processing the FCL was
          (2) Access to classified information will not            not caused by a lack of cooperation on the part of the
 be required. This is not a classified contract within             prospective subcontractor;
 the meaning of this Manual. If the prime contract
 contains requirements for release or disclosure of                        (2) Future classified      negotiations   may
 certain information even though not classified, such              occur within 12 months; and
 as sensitive but unclassified information, the
 requirements shall be incorporated in the solicitation                    (3) There is reasonable likelihood the
 and the subcontract.                                              subcontractor may be awarded a classified
                                                                   subcontract.
     b. Determine clearance status of prospective
 subcontractors.                                                   7-102. Security Classification Guidance. Prime
                                                                   contractors shall ensure that a Contract Security
         (1) All prospective subcontractors have                   Classification Specification is incorporated in each
 appropriate clearance. This determination can be                  classified subcontract. When preparing classification


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 guidance for a subcontract, the prime contractor may                   c. Requests for public release by a subcontractor
 extract pertinent information from the Contract                   shall be forwarded through the prime contractor to
 Security Classification Specification issued with the             the GCA.
 prime contract; from security classification guides
 issued with the prime contract; or from any security              7-103. Responsibilities (Completion of the
 guides that provide guidance for the classified                   Subcontract). Upon completion of the subcontract,
 information furnished to, or that will be generated by,           the subcontractor may retain classified material
 the subcontractor.          The Contract Security                 received or generated under the subcontract for a 2-
 Classification Specification prepared by the prime                year period, provided the prime contractor or GCA
 contractor shall be certified by a designated official            does not advise to the contrary. If retention is
 of the contractor. In the absence of exceptional                  required beyond the 2-year period, the subcontractor
 circumstances, the classification specification shall             must request written retention authority through the
 not contain any classified information. If classified             prime contractor to the GCA. If retention authority is
 supplements are required as part of the Contract                  approved by the GCA, the prime contractor will issue
 Security Classification Specification, they shall be              a final Contract Security Classification Specification,
 identified and forwarded to the subcontractor by                  annotated to provide the retention period and final
 separate correspondence.                                          disposition instructions.

      a. An original Contract Security Classification              7-104. Notification of Unsatisfactory Conditions.
 Specification shall be included with each RFQ, RFP,               The prime contractor shall be notified if the CSA
 IFB, or other solicitation to ensure that the                     discovers unsatisfactory security conditions in a
 prospective subcontractor is aware of the security                subcontractor's facility. When so notified, the prime
 requirements of the subcontract and can plan                      contractor shall follow the instructions received
 accordingly.      An original Contract Security                   relative to what action, if any, should be taken in
 Classification Specification shall also be included in            order to safeguard classified material relating to the
 the subcontract awarded to the successful bidder.                 subcontract.

       b. A revised Contract Security Classification
 Specification shall be issued as necessary during the
 lifetime of the subcontract when the security
 requirements change.




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                                                  CHAPTER 8
                                                      IS Security

                                     Section 1. Responsibilities and Duties


 8-100. General                                                     information. Additional requirements for high-risk
                                                                    systems and data are covered in Appendix D of this
      a. Contractor ISs that are used to capture, create,           Manual.
 store, process or distribute classified information
 must be properly managed to protect against
 unauthorized disclosure of classified information.                 8-101. ISs Security Program. The contractor will
 Protection concerning loss of availability or integrity            maintain an ISs security program that incorporates a
 of the information on the system must be established               risk-based set of management, operational and
 separately by contract. ISs security will use a risk-              technical controls, consistent with guidelines
 based approach, including a baseline set of                        established by the CSA. The ISs security program
 management, operational, and technical controls.                   must include, at a minimum, the following elements:

      b. Protection requires a balanced approach                         a. Policies and procedures that reduce
 including ISs security features to include but not                 information security risks to an acceptable level and
 limited to, administrative, operational, physical,                 address information security throughout the IS life
 computer, communications, and personnel controls.                  cycle.
 Protective measures commensurate with the
 classification of the information, the threat, and the
                                                                         b. Plans for providing adequate information
 operational requirements associated with the
                                                                    security for data resident in the IS or on the networks,
 environment of the ISs are required.
                                                                    facilities, or groups of ISs, as appropriate.
     c. Banners will be included on all classified ISs
                                                                         c. In addition to the training requirements
 to notify users they are subject to monitoring and that
                                                                    outlined in paragraphs 3-107 and 3-108 of chapter 3
 such monitoring could be used against them in a
                                                                    of this Manual, all IS authorized users will receive
 criminal, security, or administrative proceeding.
                                                                    training on the security risks associated with their
                                                                    user activities and responsibilities under the NISP.
      d. The contractor will implement protection
                                                                    The contractor will determine the appropriate content
 measures in accordance with guidance issued by the
                                                                    of the security training taking into consideration,
 CSA, including tools or capabilities required by the
                                                                    assigned roles and responsibilities, specific security
 CSA to monitor user activity on classified ISs in
                                                                    requirements, and the ISs to which personnel are
 order to detect activity indicative of insider threat
                                                                    authorized access.
 behavior. The guidance the CSA issues will be based
 on requirements for Federal systems, as established
                                                                         d. Testing and evaluation of information security
 by section 3541, et seq. of title 44, U.S.C., also
                                                                    policies, procedures, practices, and security control
 known as the “Federal Information Security
                                                                    implementation no less than annually to reflect a
 Management Act” (reference (ai)) and defined in
                                                                    continuous monitoring approach of IS related risk
 National Institute of Standards and Technology
                                                                    assumptions and security control effectiveness.
 Special Publication (NIST) 800-37 (reference (aj)),
 Committee on National Security Systems (CNSS)
                                                                         e. A process for planning, implementing,
 Directive 504 (reference (ak)), and other applicable
                                                                    evaluating, and documenting remedial actions to
 CNSS publications (e.g., NIST Special Publication
                                                                    address any deficiencies in the information security
 800-53 (reference (al)) and CNNSI No. 1253
                                                                    policies, procedures, and practices.
 (reference (am)). The CSA may provide profiles
 containing security controls appropriate for specific
                                                                        f. Procedures for detecting, reporting, and
 types of systems, configurations, and environments.
                                                                    responding to security incidents and events.
   e. The requirements outlined in the following
                                                                        g. Plans and procedures for ISs continuity of
 sections apply to all ISs processing classified
                                                                    operations when required by contract.


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                                                                             (5) Certify to the CSA, in writing, each SSP
     h. A self-inspection program in accordance with               has been implemented; the specified security controls
 paragraph 1-207b of chapter 1 of this Manual.                     are in place and properly tested; and the IS continues
                                                                   to function as described in the SSP.
 8-102. System Security Plan (SSP). The contractor
 will document ISs protections in the SSP. The SSP                          (6) Brief users on their responsibilities with
 provides a summary of the security requirements for               regard to ISs security and verify contractor personnel
 the ISs and describes the security controls in place.             are trained on the ISs prescribed security restrictions
 The SSP may reference other key security-related                  and safeguards before they are allowed to access a
 documents for the ISs, e.g., a risk assessment, plan of           system.
 action and milestones, authorization decision letter,
 contingency plan, configuration management plan,                      b. The ISSM may assign an IS Security Officer
 security configuration checklist, and system                      (ISSO). If assigned, the ISSO will:
 interconnection agreement, as appropriate.
                                                                            (1) Verify the implementation of delegated
 8-103. Contractor Responsibilities. The contractor                aspects of the contractor’s ISs Security Program from
 will certify to the CSA that the ISs to be used for               the ISSM and security measures, in accordance with
 processing classified information includes an ISs                 CSA and contractor procedures.
 security program that addresses the management,
 operational, and technical controls in accordance with                     (2) Conduct self-inspections and provide
 CSA-provided guidelines. Contractors that are, or                 corrective actions to the ISSM.
 will be, processing classified information on an IS
 must appoint an employee to serve as the ISs Security                 c. All IS users will:
 Manager (ISSM). It is the responsibility of the
 contractor to assure that the ISSM is adequately                           (1) Comply with the ISs security program
 trained and possesses technical competence                        requirements as part of their responsibilities for the
 commensurate with the complexity of the                           protection of ISs and classified information.
 contractor’s ISs.
                                                                            (2) Be accountable for their actions on an IS.
     a. The ISSM will:
                                                                            (3)     Not     share    any authentication
           (1) Oversee the development,                            mechanisms (including passwords) issued for the
 implementation, and evaluation of the contractor’s                control of their access to an IS.
 ISs program, including insider threat awareness, for
 facility management, ISs personnel, users, and others,                      (4) Protect authentication mechanisms at the
 as appropriate. The ISSM must coordinate with the                 highest classification level and most restrictive
 contractor’s FSO and the contractor’s Insider Threat              classification category of information to which the
 Program Senior Official to ensure insider threat                  mechanisms permit access.
 awareness is addressed within the contractor’s ISs
 program.                                                                    (5) Be subject to monitoring of their activity
                                                                   on any classified network and the results of such
          (2) Possess sufficient experience, command               monitoring could be used against them in a criminal,
 adequate resources, and be organizationally aligned               security, or administrative proceeding.
 to ensure prompt support and successful execution of
 a robust ISs security program.

           (3) Develop, document, and monitor
 compliance with and reporting of the contractor
 facility’s ISs security program in accordance with
 CSA-provided       guidelines     for management,
 operational, and technical controls.

          (4) Verify self-inspections are conducted
 on the contractor’s ISs and corrective actions are
 taken for all identified findings and vulnerabilities.




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                                           Section 2. Assessment and Authorization


 8-200. Overview. Assessment and authorization of                  hardware, or interfaces and interconnections to
 classified networks and ISs is integral to managing               networks) must be approved in accordance with
 information security-related risks. Execution of these            CSA-provided guidelines before implementation.
 tasks helps to ensure security capabilities provided by           The CSA will review all security-relevant changes
 the selected security controls are implemented,                   based on provisions of the system configuration
 tested, validated, and approved by the authorizing                management program and CSA guidelines. The
 official (AO), designated by the applicable CSA, with             contractor will notify the CSA of all changes that
 a degree of assurance appropriate for their                       deviate from the requirements of the approved SSP.
 information protection needs.                                     The CSA will then notify the contractor if system
                                                                   reauthorization is required.           During the
 8-201. Assessment. Security control assessment is a               reauthorization process, the CSA may grant an IATO.
 combined effort by the contractor and the CSA. The
 contractor will review, certify, and attest to the CSA                     (1) Examples of security-relevant changes to
 that all systems have the appropriate protection                  an IS that should be reviewed for possible
 measures in place. The CSA must receive the most                  reauthorization include, but are not limited to:
 complete, accurate, and trustworthy information to
 make timely, credible, and risk assessment based                               (a) Installation of a new or upgraded
 decisions on whether to authorize ISs operation.                  operating system, middleware component, or
                                                                   application;
 8-202. Authorization. The AO, on behalf of the U.S.
 Government, will render an operational authorization                            (b) Modifications to networks, nodes,
 decision based on the results of security assessment              system ports, protocols, or services;
 activities and the implementation of the CSA-
 provided set of security controls. All ISs must be                             (c) Installation of a new or upgraded
 authorized before processing classified information.              hardware platform or firmware component; or
 The AO may choose to eliminate the authorization
 termination date (ATD) if the contractor’s continuous                          (d)    Modifications to cryptographic
 monitoring program is sufficiently robust to provide              modules or services.
 the AO with needed information with regard to the
 security state of the ISs and the ongoing effectiveness                    (2) Changes in laws, directives, policies, or
 of security controls in accordance with reference (al)            regulations, while not always directly related to the
 and the Office of Management and Budget                           IS, can potentially affect the security of the system
 Memorandum M-14-03 (reference (an)) or their                      and trigger a reauthorization action.
 successors.
                                                                             (3) Applying security patches and
     a. Interim Authorization to Operate (IATO).                   performing other maintenance actions that do not
 The AO may grant interim authorization (temporary                 affect the protection features of the IS, as previously
 authority) for an initial period up to 180 days with an           validated by the CSA, are not considered security
 option for the AO to extend the interim approval for              relevant changes and therefore do not require the
 an additional 180 days. The contractor will have the              reauthorization of an IS.
 CSA-approved protection measures in place and
                                                                        d. Re-evaluation of an Authorization. Each IS
 functioning during the period of the IATO.
                                                                   will be reevaluated for authorization every 3 years, or
                                                                   at shorter intervals if required by the CSA. The
     b. ATO. The AO may grant an authorization to
                                                                   reevaluation of an authorization by a CSA involves
 operate (ATO) following validation of the CSA-
                                                                   input from the ISSM that the conditions under which
 approved protection measures conducted during the
                                                                   the original authorization was granted still apply.
 IATO period, or may grant an ATO without an IATO
                                                                   CSA-provided guidance will include procedures and
 period.
                                                                   record-keeping requirements for reevaluation of an
                                                                   authorization as follows:
     c.     Security-Relevant      Changes.     All
                                                                            (1) The IS has no ATD or no security
 modifications to security-relevant resources of an
                                                                   relevant changes.
 authorized IS (including software, firmware,


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          (2) The IS has an ATD, or has security
 relevant changes.

      e. Withdrawal of Authorization. The CSA will
 evaluate the risks and consider withdrawal of
 authorization if the management, operational or
 technical protection measures approved for the
 system do not remain effective, or if classified
 information is placed at risk. The CSA may
 withdraw authorization at any time based on those
 considerations.     The contractor will sanitize or
 destroy classified media via approved government
 procedures when the IS is no longer required to
 process classified information unless retention has
 been authorized in accordance with a final contract
 security classification specification. The method of
 sanitization or destruction of classified media must be
 accomplished using CSA guidance before action is
 taken. Audit logs will be retained for 12 months or
 until the next inspection.

      f. Invalidation of an Authorization. The
 contractor will notify the applicable CSA personnel
 (e.g., the AO), whenever detrimental, security-
 relevant changes occur to any of the following: the
 required protection level, the operational
 environment, the interconnections, or as specified in
 CSA guidelines. If the CSA determines classified
 information is at risk, the CSA will notify the
 contractor and the authorization of the IS will
 become invalid immediately. If the contractor
 determines classified information on the IS is at risk,
 the contractor will cease processing classified
 information on the affected IS and notify the CSA
 immediately.




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                                            Section 3. Security Controls


 8-300. Security Controls. This section describes the                      (1) Categorize the potential impact level for
 minimum parameters for management, operational,                   confidentiality based on the classification level of the
 and technical controls that contractors are required to           system (CONFIDENTIAL = Low; SECRET =
 implement. Additional security controls may be                    Moderate; TOP SECRET = High).
 provided by the CSA to establish the baseline
 security control set required for each IS processing                        (2) When required by contract, protect
 classified information.                                           against the loss of availability or integrity, add the
                                                                   confidentiality impact level with the appropriate
 8-301. Management Controls. Contractors will                      impact levels for integrity and availability to
 apply the following control measures:                             determine the security control baseline (e.g.,
                                                                   Moderate, Low, Low). Otherwise, when the loss of
     a. System and Services Acquisition.                           availability and integrity is not required by contract,
                                                                   the security control baseline will be Low, Low.
         (1)     Allocate    sufficient   resources   to
 adequately protect ISs.                                                     (3) Document the security categorization
                                                                   results (including supporting rationale) in the systems
         (2) Employ system development cycle                       security plan.
 processes that address information security
 considerations.                                                             (4) Monitor changes to the ISs that may
           (3) Employ software usage and installation              impact the security posture and the risk to the IS and
 restrictions.                                                     its environment of operation (including the
                                                                   identification of new threats and vulnerabilities or
      b. Planning. Contractors will develop,                       other conditions that may impact the security state of
 document, maintain, and implement security plans                  the system). If changes occur, update the potential
 for ISs that describe the security controls in place or           impact levels and inform the AO to determine if
 planned for the ISs and the rules of behavior for                 reauthorization is necessary.
 individuals accessing the ISs.
                                                                   8-302. Operational Controls. Operational controls
     c. Security Control Assessments. As part of                   are methods primarily implemented and executed by
 the assessment and self-inspection processes, the                 people (as opposed to systems) to improve system
 contractor will:                                                  security.   Contractors will apply the following
                                                                   Operational Control measures:
         (1) Assess the ISs security controls to
 determine if they are effective.                                      a. Personnel Security.
          (2) Develop and implement plans of action                          (1) Individuals occupying positions of
 designed to correct deficiencies and reduce or                    responsibility for classified ISs meet the security
 eliminate vulnerabilities.                                        criteria established for those positions;
         (3) Monitor ISs security controls on an                            (2) Classified Information and ISs are
 ongoing basis to ensure continued effectiveness.                  protected during and after personnel actions, such as
                                                                   resignations, retirements, terminations, transfers, or
      d. Program Management. The contractor will                   loss of access to the system for cause, or the
 develop and implement an organization-wide                        individual no longer has a reason to access the IS; in
 information security program that supports the                    such circumstances, the individual’s user ID and its
 protection of classified information and ISs that                 authentication will be disabled or removed from the
 process classified information that support the                   system and the account.
 operations and assets of the contractor.
                                                                             (3) The contractor is required to review
     e. Risk Assessment. The contractor will:                      audit   logs in accordance with CSA-provided


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 guidance, as a component of its continuous                                   (1) Provide protection from malicious code
 monitoring to determine if there are any personnel                  at appropriate locations within classified ISs.
 failing to comply with security policies and
 procedures and taking appropriate administrative                             (2) Monitor IS security alerts and
 actions. In addition, when circumstances warrant, the               advisories that are accessible to contractors and take
 contractor will review audit logs, more immediately,                appropriate corrective action.
 if necessary, for inappropriate activity and employ
 appropriate administrative actions for personnel                            (3) Implement corrective measures           to
 failing to comply with security policies and                        vulnerabilities identified by the GCA or CSA.
 procedures.
                                                                         g. Media Protection
     b. Physical and Environmental Protection.
                                                                               (1) Mark, label, and protect ISs media to the
          (1) Limit physical access into ISs operating               level of authorization until an appropriate
 environments to authorized individuals in accordance                classification review is conducted and resultant
 with reference (b).                                                 classification determination is made.

           (2) Protect the physical plant and support                        (2) Limit access to information on classified
 infrastructure for ISs.                                             ISs media to authorized users.

            (3) Provide supporting utilities for ISs,                         (3) Sanitize or destroy ISs media before
 protect ISs against environmental hazards, and                      disposal or release for reuse in accordance with
 provide appropriate environmental controls in                       procedures established by the CSA.
 facilities containing ISs, when required by contract.
                                                                         h. Trusted Downloading. When contractor
      c. Contingency Planning. When contractually                    program management determines that there is a valid
 required, contractors will establish, maintain, and                 requirement to perform trusted downloading
 effectively implement plans for emergency response,                 procedures for moving media from a high to lower
 backup operations, and post-disaster recovery                       security domain (e.g., TOP SECRET to SECRET;
 operations for ISs to ensure the availability of critical           SECRET to Unclassified), the contractor must follow
 information and continuity of operations.                           established procedures approved by the CSA. If
                                                                     conditions exist that prevent the use of CSA
      d. Configuration Management. Contractors                       established trusted download procedures, alternate
 will:                                                               technical and administrative procedures must be
                                                                     documented, reviewed, tested, and certified to work
         (1) Establish and maintain baseline                         by the ISSM. The AO may require the ISSM to
 configurations and IS inventories (including                        submit the alternate procedures to the GCA for
 hardware, software, firmware, and documentation)                    endorsement before the AO makes a decision
 throughout the life cycles of these classified systems.             whether to approve the use of the alternate
                                                                     procedures. Performing the alternative approved
          (2) Establish   and      enforce     security              procedures is considered an alternate trusted
 configuration settings for information technology                   download.
 products employed in classified ISs, as prescribed by
 CSA guidelines.                                                         i. Incident Response

     e. Maintenance                                                           (1) Implement CSA-provided auditing
                                                                     processes and procedures in order to detect security
           (1) Perform necessary maintenance on                      incidents involving ISs.
 classified ISs, including patch management.
                                                                              (2) Report immediately any such incidents
         (2) Provide effective controls on the tools,                to the CSA.
 techniques, mechanisms, and personnel used to
 conduct classified ISs maintenance.                                         (3) Respond to and mitigate incidents in
                                                                     accordance with CSA guidance.
     f. Classified ISs and Information Integrity




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      j. Awareness and Training. The contractor                     8-304. Special Categories. Several categories of
 will ensure personnel are adequately trained to carry              ISs (e.g., tactical, embedded ISs, or special purpose
 out their assigned information security-related duties             systems) can be adequately secured with
 and responsibilities. When the results of the CSA’s                compensating security controls. Compensating
 oversight indicate deficiencies in training or technical           security controls cover the management, operational,
 competence on the part of the ISSM or ISSO, the                    or technical controls of the ISs. Compensating
 contractor will take appropriate corrective action.                security controls, which provide equivalent or
                                                                    comparable ISs protection, may be employed in lieu
 8-303. Technical Controls. Technical controls                      of prescribed security control baselines when
 focus on security controls that the computer system                approved by the CSA.
 executes.     The controls can provide automated
 protection for unauthorized access or misuse;                          a. The contractor will select the compensating
 facilitate detection of security violations; and support           controls from those described in the CSA-provided
 security requirements for applications and data.                   guideline set of security controls, and provide to the
 Contractors will apply the following technical control             AO a complete rationale and justification for how the
 measures:                                                          compensating controls provide an equivalent security
                                                                    capability or level of protection for the ISs.
     a.       Identification and Authentication.
 Contractors will identify ISs users, processes acting                   b. The AO assesses the risk of operating the
 on behalf of users, or devices and then will                       special categories ISs with the contractor’s
 authenticate (or verify) the identities of those users,            recommended set of compensating security controls.
 processes, or devices, as a prerequisite to allowing               If the AO determines the risk is too high, the AO may
 access to ISs. The CSA will provide direction on the               require     the    contractor    to    request    GCA
 length and content of passwords.                                   acknowledgement that the GCA understands the risk
                                                                    associated with implementation of the contractor’s
      b. Access Control. Contractors will limit ISs                 proposed set of compensating security controls.
 access to authorized users, processes acting on behalf             Should the GCA also determine the risk is too high, it
 of authorized users, or authorized devices (including              may recommend alternate or additional compensating
 other ISs). Access must be limited to the types of                 security controls to the contractor and the AO, or
 transactions and functions that authorized users are               recommend that the AO not authorize the system in
 permitted to exercise.                                             its present security configuration.

     c. Audit and Accountability                                        c. The contractor may also obtain additional
                                                                    compensating controls from the GCA,                 if
          (1) Create, protect, and retain ISs audit                 recommended by the GCA.
 records to the extent needed to enable the monitoring,
 review and analysis, investigation, and reporting of                    d. The contractor then resubmits to the AO for a
 unlawful, unauthorized, or inappropriate ISs activity.             final authorization decision, including the GCA’s
                                                                    acknowledgement decision in accordance with
                                                                    paragraph 8-304b of this chapter with              the
          (2) Uniquely trace the actions of individual
                                                                    contractor’s initial set of compensating security
 ISs users so they can be held accountable for their
                                                                    controls. The contractor must also include the
 actions.
                                                                    GCA’s additional recommended compensating
                                                                    controls, if any were provided, in accordance with
                                                                    paragraph 8-304c of this chapter.
     d. System and Communications Protection
                                                                         e. Tactical, Embedded, Data-acquisition,
          (1)     Monitor, control, and protect
                                                                    Legacy, and Special-purpose Systems. Tactical,
 organizational communications (i.e., information
                                                                    embedded, data-acquisition, legacy, and special-
 transmitted or received by the IS) at the external
                                                                    purpose systems are special categories of systems
 boundaries and key internal boundaries of the IS.
                                                                    requiring alternative set of controls not readily
                                                                    available in typical systems. Some ISs are incapable
           (2) Employ architectural designs, software
                                                                    of alteration by users and are designed and
 development techniques, and systems engineering
                                                                    implemented to provide a very limited set of
 principles that promote effective information
                                                                    predetermined functions.       These systems are
 security.
                                                                    considered members of a special category, as are


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 data-acquisition systems and other special-purpose              a complete system or components of a larger more
 test type systems. If an IS meets the criteria of a             complex system. Special procedures are required to
 legacy IS (i.e., incapable of meeting the baseline              document applicability, control and account for the
 security control requirements), authorization for               movement, operations, and security of systems that
 continued use of a legacy IS may be granted when                are relocated to alternative locations. When a mobile
 the benefits of upgrading the IS to meet baseline               system requires relocation, the contractor must
 security controls do not outweigh the benefits of the           provide the CSA with sufficient notice before the
 additional controls and continued technological                 date of relocation. The contractor must submit to the
 enhancements.                                                   CSA a mobile processing plan that addresses all
                                                                 aspects of security and includes secure movement,
      f. Mobile Systems. Mobile systems may be                   physical security, and operations at the new location
 periodically relocated to another cleared contractor            before relocation.
 facility or government site. A mobile system may be




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                                       CHAPTER 9
                                   Special Requirements

          Section 1. RD, FRD, and Transclassified Foreign Nuclear Information (TFNI)

 9-100. General. See Appendix D, “NISPOM
 Supplement” of this Manual.




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                  Section 2. DOD Critical Nuclear Weapon Design Information (CNWDI)


9-200. General. This section contains the special                  classification of the portion; for example, TS(RD)(N)
requirements for protection of CNWDI.                              or TS(RD)(CNWDI).

9-201. Background. CNWDI is a DoD category of                      9-204. Subcontractors. Contractors shall not disclose
TOP SECRET RD or SECRET RD that reveals the                        CNWDI to subcontractors without the prior written
theory of operation or design of the components of a               approval of the GCA. This approval may be included
thermonuclear or fission bomb, warhead, demolition                 in a Contract Security Classification Specification,
munition, or test device. Specifically excluded is                 other contract-related document, or by separate
information concerning arming, fuzing, and firing                  correspondence.
systems; limited life components; and total contained
quantities of fissionable, fusionable, and high                    9-205. Transmission         Outside       the    Facility.
explosive materials by type. Among these excluded                  Transmission outside the contractor's facility is
items are the components that DoD personnel set,                   authorized only to the GCA, or to a subcontractor as
maintain, operate, test or replace. The sensitivity of             described in paragraph 9-204 above. Any other
DoD CNWDI is such that access shall be granted to                  transmission must be approved by the GCA. Prior to
the absolute minimum number of employees who                       transmission to another cleared facility, the contractor
require it for the accomplishment of assigned                      shall verify from the CSA that the facility has been
responsibilities on a classified contract. Because of the          authorized access to CNWDI. When CNWDI is
importance of such information, special requirements               transmitted to another facility, the inner wrapping shall
have been established for its control. DoD Instruction             be addressed to the personal attention of the FSO or his
5210.2 (reference (q)) establishes these controls in               or her alternate, and in addition to any other prescribed
DoD.                                                               markings, the inner wrapping shall be marked:
                                                                   "Critical Nuclear Weapon Design Information-DoD
9-202. Briefings. Prior to having access to DoD                    Instruction 5210.2 Applies." Similarly, transmissions
CNWDI, employees shall be briefed on its sensitivity               addressed to the GCA or other U.S. Government
by the FSO or his or her alternate. (The FSO will be               agency shall bear on the inner wrapper the marking
initially briefed by a Government representative.) The             "Critical Nuclear Weapon Design Information-DoD
briefing shall include the definition of DoD CNWDI, a              Instruction 5210.2 Applies."
reminder of the extreme sensitivity of the information,
and an explanation of the individual's continuing                  9-206. Records. Contractors shall annotate CNWDI
responsibility for properly safeguarding DoD CNWDI,                access in the CSA-designated database for all
and for ensuring that dissemination is strictly limited to         employees who have been authorized access to
other personnel who have been authorized for access                CNWDI.
and have a need-to-know for the particular
information. The briefing shall also be tailored to                9-207. Weapon Data. That portion of RD or FRD
cover any special local requirements.               Upon           that concerns the design, manufacture, or utilization
termination of access to DoD CNWDI, the employee                   (including       theory,     development,     storage,
shall be given an oral debriefing.                                 characteristics, performance, and effects) of atomic
                                                                   weapons or atomic weapon components and nuclear
9-203. Markings. In addition to any other required                 explosive devices is called Weapon Data and it has
markings, CNWDI material shall be clearly marked,                  special protection provisions. Weapon Data is divided
"Critical Nuclear Weapon Design Information-DoD                    into Sigma categories the protection of which is
Instruction 5210.2 Applies." As a minimum, CNWDI                   prescribed by DOE Order 452.8 (reference (r)).
documents shall show such markings on the cover or                 However, certain Weapon Data has been re-
first page. Portions of documents that contain CNWDI               categorized as CNWDI and is protected as described in
shall be marked with an (N) or (CNWDI) following the               this section.




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                                       Section 3. Intelligence Information


 9-300. General. National intelligence is under the                protection of classified national intelligence and SCI.
 jurisdiction and control of the DNI, who establishes              Contractors are not authorized to further disclose or
 security policy for the protection of national                    release classified national intelligence and SCI
 intelligence and intelligence sources, methods, and               (including to a subcontractor) without prior written
 activities. In addition to the guidance in this Manual,           authorization of the originating IC element.
 contractors shall follow IC directives, policy
 guidance, standards, and specifications for the




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                                Section 4. Communications Security (COMSEC)


9-400. General. This section was prepared by NSA.                        d. If a COMSEC account will be required, the
The procedures in this section pertaining to COMSEC                  Contract Security Classification Specification shall
information shall apply to contractors when the                      contain a statement regarding the establishment of a
contractor requires the use of COMSEC systems in the                 COMSEC account as appropriate.
performance of a contract; the contractor is required to
install, maintain, or operate COMSEC equipment for the               9-403. Establishing a COMSEC Account
U.S. Government; or the contractor is required to
accomplish research, development, or production of                        a. When COMSEC material which is accountable
COMSEC systems, COMSEC equipment, or related                         to a COR is to be provided, acquired or produced under a
COMSEC material.                                                     contract, the contracting officer shall inform the
                                                                     contractor that a COMSEC account must be established.
9-401. Instructions. Specific requirements for the                   The contractor shall forward the names of U.S. citizen
management and safeguarding of COMSEC material in                    employees who will serve as the COMSEC Account
industry are established in the COMSEC material control              Manager and Alternate COMSEC Account Manager to
and operating procedures provided to the custodian of                the CSA. The CSA shall forward the names of the FSO,
each industrial COMSEC account by the agency Central                 COMSEC Account Manager, and Alternate COMSEC
Office of Record (COR) responsible for establishing the              Account Manager, along with a contractual requirement
account. Such procedures that are above the baseline                 for the establishment of a COMSEC Account (using DD
requirements detailed in the other sections of this manual           Form 254, “Contract Security Classification
shall be contractually mandated.                                     Specification ”) to the appropriate COR, with a copy to
                                                                     the GCA, indicating that the persons have been cleared
9-402. Clearance and Access Requirements                             and COMSEC has been briefed.

     a. Before a COMSEC account can be established                       b. The COR will then establish the COMSEC
and a contractor may receive or possess COMSEC                       account and will notify the CSA that the account has
material accountable to a COR, individuals occupying                 been established.
the positions of FSO, COMSEC Account Manager, and
Alternate COMSEC Account Manager must have a final                       c. An individual may be appointed as the COMSEC
PCL appropriate for the material to be held in the                   Account Manager or Alternate COMSEC Account
account. COMSEC Account Managers and Alternate                       Manager for more than one account only when approved
COMSEC Account Managers having access to                             by each COR concerned.
operational TOP SECRET keying material marked as
CRYPTOGRAPHIC (CRYPTO) must have a final                             9-404. COMSEC            Briefing     and       Debriefing
security clearance based upon an SSBI current within                 Requirements
five years.     This requirement does not apply to
contractors using only data transfer devices and seed key.                a. All contractor employees who require access to
                                                                     classified COMSEC information in the performance of
     b. Before disclosure of COMSEC information to a                 their duties shall be briefed before access is granted.
contractor, GCAs must first verify with the CSA that                 Depending on the nature of COMSEC access required,
appropriate COMSEC procedures are in place at the                    either a COMSEC briefing or a Cryptographic Access
contractor facility. If procedures are not in place, the             Briefing will be given. The FSO, the COMSEC Account
GCA shall provide a written request and justification to             Manager, and the Alternate COMSEC Account Manager
the CSA to establish COMSEC procedures and a                         shall be briefed by a government representative or their
COMSEC account, if appropriate, at the facility and to               designee. Other contractor employees shall be briefed by
conduct the initial COMSEC or Cryptographic Access                   the FSO, the COMSEC Account personnel, or other
briefings for the FSO and COMSEC account personnel.                  individual designated by the FSO. The purpose of the
                                                                     briefing is to ensure that the contractor understands:
     c. Access to COMSEC information by a contractor
requires a final FCL and a government-issued final PCL                        (1) The unique nature             of   COMSEC
at the appropriate level; however, an Interim TOP                    information and its unusual sensitivity,
SECRET FCL or PCL is valid for access to COMSEC at
the SECRET and CONFIDENTIAL levels.



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         (2) The special security requirements for the                         (5) Acknowledges the granting of access by
handling and protection of COMSEC information, and                    executing Section I of Secretary of Defense Form (SD)
                                                                      572, Cryptographic Access Certification and
         (3) The penalties prescribed in Title 18, U.S.C.,            Termination; and
§§ 793, 794, and 798 (reference (s)) for willful disclosure
of COMSEC information.                                                          (6) Where so directed by a U.S. Government
                                                                      Department or Agency head, acknowledges the
      b. COMSEC debriefings are not required.                         possibility of being subject to a non-lifestyle, CI-scope
                                                                      polygraph examination that shall be administered in
   c. The contractor shall maintain a record of all                   accordance with department or agency directives and
COMSEC briefings as specified by the appropriate COR.                 applicable law.

9-405. CRYPTO Access Briefing and Debriefing                               d. An employee granted access to CRYPTO
Requirements                                                          information shall be debriefed and execute Section II of
                                                                      the SD 572 not later than 90 days from the date access is
      a. U.S. classified CRYPTO information is defined                no longer required.
as:
                                                                          e. The contractor shall maintain the SD 572 for a
         (1) TOP SECRET and SECRET, CRYPTO,                           minimum of three years following the debriefing.
key and authenticators that are designated CRYPTO, and
                                                                          f. CRYPTO access briefings fully meet the
        (2) CRYPTO media that embody, describe, or                    requirements of paragraph 9-405 of this Manual for
implement classified CRYPTO logic; this includes full                 COMSEC briefings.
maintenance manuals, CRYPTO descriptions, drawings
of a CRYPTO logic, specifications describing a                        9-406. Destruction and Disposition of COMSEC
CRYPTO logic, CRYPTO computer software, or any                        Material. The appropriate COR shall provide directions
other media which may be specifically identified.                     to the contractor when accountable COMSEC material is
                                                                      to be destroyed. These directions may be provided in
     b. U.S. classified CRYPTO information does not                   superseding editions of publications or by specific
include seed key or CCI.                                              instructions.

    c. A contractor’s employee may be granted access                  9-407. Subcontracting        COMSEC         Work.
to U.S. classified CRYPTO information only if the                     Subcontracts requiring the disclosure of classified
employee:                                                             COMSEC information shall be awarded only upon the
                                                                      written approval of the GCA.
          (1) Is a U.S. citizen;
                                                                      9-408. Unsolicited Proposals.         Any unsolicited
         (2) Has a final government-issued security                   proposal for a COMSEC system, equipment,
clearance appropriate to the classification of the U.S.               development, or study that may be submitted by a
CRYPTO information to be accessed;                                    contractor to a government agency shall be forwarded to
                                                                      the Director, Information Assurance, NSA, Fort George
          (3) Has a valid need-to-know to perform                     G. Meade, MD 20755-6000, for review and appropriate
duties for, or on behalf of, the U.S. Government;                     follow-up                                        action.

          (4) Receives a security briefing appropriate to
the U.S. classified CRYPTO information to be accessed;




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                                              CHAPTER 10
                                   International Security Requirements

                              Section 1. General and Background Information


 10-100. General. This Chapter provides policy and              the use of each government's information, including
 procedures governing the control of classified                 restrictions on third party transfers and proprietary
 information in international programs.                         rights. It does not commit governments to share
                                                                classified information, nor does it constitute authority
 10-101. Applicable Federal Laws. The transfer of               to release classified material to that government. It
 articles and services and related technical data to a          satisfies, in part, the eligibility requirements of
 foreign person, within or outside the U.S., or the             reference (t) concerning the agreement of the
 movement of such material or information to any                recipient foreign government to protect U.S.
 destination outside the legal jurisdiction of the U.S.         classified defense articles and technical data. (The
 constitutes an export. Depending on the nature of the          General Security Agreement also is known as a
 articles or data, most exports are governed by the             General Security of Information Agreement and
 Arms Export Control Act (AECA) (reference (t)), the            General Security of Military Information Agreement.
 Export Administration Act (EAA) (reference (u)),               The title and scope are different, depending on the
 and reference (c).                                             year the particular agreement was signed.)

 10-102. Bilateral Security Agreements. Bilateral                   b. Industrial security agreements have been
 security agreements are negotiated with various                negotiated with certain foreign governments that
 foreign governments. Confidentiality requested by              identify the procedures to be used when foreign
 some foreign governments prevents a listing of the             government information is provided to industry. The
 countries that have executed these agreements.                 Office of the Under Secretary of Defense (Policy)
                                                                negotiates Industrial Security Agreements as an
     a. The General Security Agreement, negotiated              Annex to the General Security Agreement and the
 through diplomatic channels, requires that each                Director, DSS, has been delegated authority to
 government provide to the classified information               implement the provisions of the Industrial Security
 provided by the other substantially the same degree            Agreements.     The Director of Security, NRC,
 of protection as the releasing government. The                 negotiates and implements these agreements for the
 Agreement contains provisions concerning limits on             NRC.




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                        Section 2. Disclosure of U.S. Information to Foreign Interests


10-200. Authorization for Disclosure. Disclosure                 proposed disclosure is in support of a foreign
guidance will be provided by the GCA. Disclosure                 government requirement, the contractor should consult
authorization may be in the form of an export license, a         with U.S. in-country officials (normally the U.S.
technical assistance agreement, a manufacturing                  Security Assistance/Armaments Cooperation Office or
license agreement, a letter of authorization from the            Commercial Counselor). An export authorization is
U.S. Government licensing authority, or an exemption             required before a contractor makes a proposal to a
to the export authorization requirements. Disclosure             foreign interest that involves the eventual disclosure of
guidance provided for a previous contract or program             U.S. classified information. The contractor should
shall not be used unless the contractor is so instructed         obtain the concurrence of the GCA before submitting
in writing by the GCA or the licensing authority.                an export authorization request.
Classified information normally will be authorized for
disclosure and export as listed below:                           10-202. Contract Security Provisions.

     a. Government-to-Government International                        a. When a U.S. contractor is authorized to award
Agreements. Classified information shall not be                  a subcontract or enter into a Manufacturing License
disclosed until agreements are signed by the                     Agreement, Technical Assistance Agreement, or other
participating governments and disclosure guidance and            direct commercial arrangement with a foreign
security arrangements are established. The export of             contractor that will involve classified information,
technical data pursuant to such agreements may be                security provisions will be incorporated in the
exempt from licensing requirements of the                        subcontract document or agreement and security
International Traffic in Arms Regulation (ITAR)                  classification guidance via a Contract Security
(reference (v).                                                  Classification Specification will be provided. A copy
                                                                 of the signed contract with the provisions and the
    b.     Symposia, Seminars, Exhibitions, and                  classification guidance shall be provided to the CSA.
Conferences. Appropriately cleared foreign nationals             If the export authorization specifies that additional
may participate in classified gatherings if authorized           security arrangements are necessary for performance
by the Head of the U.S. Government Agency that                   on the contract, contractor developed arrangements
authorizes the conduct of the conference.                        shall be incorporated in appropriate provisions in the
                                                                 contract or in a separate security document.
     c. Foreign Visits. Disclosure of classified
information shall be limited to that specific                         b. The contractor shall prepare and maintain a
information authorized in connection with an approved            written record that identifies the originator or source of
visit request or export authorization.                           classified information that will be used in providing
                                                                 defense articles or services to foreign customers. The
     d. Temporary Exports. Classified articles                   contractor shall maintain this listing with the
(including articles that require the use of classified           contractor's record copy of the pertinent export
information for operation) exported for demonstration            authorization.
purposes shall remain under U.S. control. The request
for export authorization shall include a description of              c. Security provisions, substantially as shown
the arrangements that have been made in-country for              below, shall be included in all contracts and
U.S. control of the demonstrations and secure storage            subcontracts involving classified information that are
under U.S. Government control.                                   awarded to foreign contractors.

10-201. Direct Commercial Arrangements. The                               (1) All classified information and material
disclosure of classified information may be authorized           furnished or generated under this contract shall be
pursuant to a direct commercial sale only if the                 protected as follows:
proposed disclosure supports a U.S. or foreign
government procurement requirement, a government                              (a) The recipient will not release the
contract, or an international agreement. A direct                information or material to a third-country government,
commercial arrangement includes sales, loans, leases,            person, or firm without the prior approval of the
or grants of classified items, including sales under a           releasing government.
government agency sales financing program. If a



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            (b)   The recipient will afford the                   furnished or generated under this contract has been lost
information and material a degree of protection                   or disclosed to unauthorized persons shall be reported
equivalent to that afforded it by the releasing                   promptly and fully by the contractor to its
government; and                                                   government's security authorities.

              (c)    The recipient will not use the                        (6) Classified information and material
information and material for other than the purpose for           furnished or generated pursuant to this contract shall
which it was furnished without the prior written                  not be further provided to another potential contractor
consent of the releasing government.                              or subcontractor unless:

         (2) Classified information and material                                (a) A       potential     contractor    or
furnished or generated under this contract shall be               subcontractor which is located in the United States or
transferred through government channels or other                  (insert applicable country) has been approved for
channels specified in writing by the Governments of               access to classified information and material by U.S. or
the United States and (insert applicable country) and             (insert applicable country) security authorities; or,
only to persons who have an appropriate security
clearance and an official need for access to the                              (b) If located in a third country, prior
information in order to perform on the contract.                  written consent is obtained from the United States
                                                                  Government.
          (3) Classified information and material
furnished under this contract will be remarked by the                       (7) Upon completion of the contract, all
recipient with its government's equivalent security               classified material furnished or generated pursuant to
classification markings.                                          the contract will be returned to the U.S. contractor or
                                                                  be destroyed.
          (4) Classified information and material
generated under this contract must be assigned a                           (8) The recipient contractor shall insert terms
security classification as specified by the contract              that substantially conform to the language of these
security classification specifications provided with this         provisions, including this one, in all subcontracts under
contract.                                                         this contract that involve access to classified
                                                                  information furnished or generated under this contract.
         (5) All cases in which it is known or there is
reason to believe that classified information or material




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                               Section 3. Foreign Government Information (FGI)


10-300. General. The contractor shall notify the CSA                  bilateral agreement to be protected as classified
when awarded contracts by a foreign interest that will                information.     The contractor shall not disclose
involve access to classified information. The CSA                     information protected by this statutory provision to
shall administer oversight and ensure implementation                  anyone except personnel who require access to the
of the security requirements of the contract on behalf                information in connection with the contract.
of the foreign government, including the establishment
of channels for the transfer of classified material.                       c. It is the responsibility of the foreign entity that
                                                                      awards the contract to incorporate requirements for the
10-301. Contract Security Requirements.             The               protection and marking of RESTRICTED or “In
foreign entity that awards a classified contract is                   Confidence” information in the contract.               The
responsible for providing appropriate security                        contractor shall advise the CSA if requirements were
classification guidance and any security requirements                 not provided by the foreign entity.
clauses. The failure of a foreign entity to provide
classification guidance shall be reported to the CSA.                 10-304. Marking U.S. Documents Containing FGI

10-302. Marking Foreign Government Classified                              a. U.S. documents containing foreign government
Material.                                                             information shall be marked on the front, "THIS
                                                                      DOCUMENT CONTAINS (indicate country of origin)
     a. Foreign government classified information                     INFORMATION." In addition, the portions shall be
shall retain its original classification markings or shall            marked to identify both the country and classification
be assigned a U.S. classification that provides a degree              level, e.g., (UK-C); (GE-C). The "Derived From" line
of protection at least equivalent to that required by the             shall identify U.S. as well as foreign classification
government entity that furnished the information. The                 sources.
equivalent U.S. classification and the country of origin
shall be marked on the front and back in English.                          b. If the identity of the foreign government must
                                                                      be concealed, the front of the document shall be
10-303. Foreign    Government     RESTRICTED                          marked "THIS DOCUMENT CONTAINS FOREIGN
Information and “In Confidence” Information.                          GOVERNMENT INFORMATION;" paragraphs shall
                                                                      be marked FGI, together with the classification level,
     a. Some foreign governments have a fourth level                  e.g., (FGI-C); and the "Derived From" line shall
of classification that does not correspond to an                      indicate FGI in addition to any U.S. source. The
equivalent U.S. classification that is identified as                  identity of the foreign government shall be maintained
RESTRICTED Information. In many cases, bilateral                      with the record copy of the document.
security     agreements     require   RESTRICTED
information to be protected as U.S. CONFIDENTIAL                           c. A U.S. document, marked as described herein,
information.                                                          shall not be downgraded below the highest level of
                                                                      foreign government information contained in the
     b. Some foreign governments may have a                           document or be declassified without the written
category of unclassified information that is protected                approval of the foreign government that originated the
by law. This latter category is normally provided to                  information.         Recommendations       concerning
other governments on the condition that the                           downgrading or declassification shall be submitted to
information is treated “In Confidence.” The foreign                   the GCA or foreign government contracting authority,
government or international organization must state                   as applicable.
that the information is provided in confidence and that
it must be protected from release. A provision of Title               10-305. Marking Documents Prepared For Foreign
10 of the U.S. Code (reference (w)) protects                          Governments.      Documents prepared for foreign
information provided “In Confidence” by foreign                       governments that contain U.S. and foreign government
governments or international organizations to the                     information shall be marked as prescribed by the
Department of Defense which is not classified but                     foreign government. In addition, they shall be marked
meets special requirements stated in section 130c                     on the front, "THIS DOCUMENT CONTAINS
reference (w).      This provision also applies to                    UNITED STATES CLASSIFIED INFORMATION."
RESTRICTED information which is not required by a



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Portions shall be marked to identify the U.S. classified              10-310. Disposition. Foreign government information
information.                                                          shall be destroyed on completion of the contract unless
                                                                      the contract specifically authorizes retention or return
10-306. Storage and Control. Foreign government                       of the information to the GCA or foreign government
material shall be stored and access shall be controlled               that provided the information.           TOP SECRET
generally in the same manner as U.S. classified                       destruction must be witnessed and a destruction
material of an equivalent classification. Foreign                     certificate executed and retained for 2 years.
government material shall be stored in a manner that
will avoid commingling with other material which may                  10-311. Reporting of Improper Receipt of Foreign
be accomplished by establishing separate files in a                   Government Material. The contractor shall report to
storage container.                                                    the CSA the receipt of classified material from foreign
                                                                      interests that is not received through government
10-307. Disclosure and Use Limitations. Foreign                       channels.
government information is provided by the foreign
government to the United States. It shall not be                      10-312. Subcontracting
disclosed to nationals of a third country, or to any other
third party, or be used for other than the purpose for                     a. A U.S. contractor may award a subcontract
which it was provided without the prior written                       that involves access to FGI to another U.S. contractor,
consent of the originating foreign government.                        except as described in subparagraph b, on verifying
Requests for other uses or further disclosure shall be                with the CSA that the prospective subcontractor has
submitted to the GCA for U.S. contracts, and through                  the appropriate FCL and storage capability. The
the CSA for direct commercial contracts. Approval of                  contractor awarding a subcontract shall provide
the request by the foreign government does not                        appropriate security classification guidance and
eliminate the requirement for the contractor to obtain                incorporate the pertinent security provisions in the
an export authorization.                                              subcontract.

10-308. Transfer. Foreign government information                           b. Subcontracts involving FGI shall not be
shall be transferred within the U.S. and its territories              awarded to a contractor in a third country or to a U.S.
using the same channels as specified by this Manual                   company with a limited FCL based on third-country
for U.S. classified information of an equivalent                      ownership, control, or influence without the express
classification, except that non-cleared express                       written consent of the originating foreign government.
overnight carriers shall not be used.                                 The CSA will coordinate with the appropriate foreign
                                                                      government authorities.
10-309. Reproduction. The reproduction of foreign
government TOP SECRET information requires the
written approval of the originating government.




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                                         Section 4. International Transfers


10-400.    General.      This section contains the                 identified in the TP as well as any requirement for an
procedures for international transfers of classified               escort. The TP shall provide for security arrangements
material. The requirements in this section do not apply            in the event the transfer cannot be made promptly.
to the transmission of classified material to U.S.                 When there are to be repetitive shipments, a Notice of
Government activities outside the United States.                   Classified Consignment will be used.

10-401.     International Transfers of Classified                       b. Government        Agency        Arrangements.
Material                                                           Classified material to be furnished to a foreign
                                                                   government under such transactions normally will be
     a. All international transfers of classified material         shipped      via     government        agency-arranged
shall take place through channels approved by both                 transportation and be transferred to the foreign
governments. Control of classified material must be                government's DGR within the recipient government's
maintained until the material is officially transferred to         territory. The government agency that executes the
the intended recipient government through its                      arrangement is responsible, in coordination with the
designated government representative (DGR).                        recipient foreign government, for preparing a TP.
                                                                   When the point of origin is a U.S. contractor facility,
     b. To ensure government control, written                      the GCA shall provide the contractor a copy of the TP
transmission instructions shall be prepared for all                and the applicable Letter of Offer and Acceptance
international transfers of classified material.                    (LOA). If a freight forwarder is to be used in
Preparation of the instructions shall be the                       processing the shipment, the freight forwarder shall be
responsibility of the contractor for direct commercial             provided a copy of the TP by the GCA.
arrangements, and the GCA for government
arrangements.                                                           c. Commercial Arrangements. The contractor
                                                                   shall prepare a TP in coordination with the receiving
     c. The CSA shall be contacted at the earliest                 government. This requirement applies whether the
possible stage in deliberations that will lead to the              material is to be moved by land, sea, or air, and applies
international transfer of classified material. The CSA             to U.S. and foreign classified contracts. After the CSA
shall advise the contractor on the transfer                        approves the TP, it shall be forwarded to the recipient
arrangements, identify the recipient government's                  foreign government security authorities for final
DGR, appoint a U.S. DGR, and ensure that the                       coordination and approval.
transportation plan prepared by the contractor or
foreign government is adequate.                                         d. International Carriers. The international
                                                                   transfer of classified material shall be made using only
     d. Requests for export authorizations that will               ships, aircraft, or other carriers that:
involve the transfer of classified material shall be
accompanied by a Department of State Form DSP-83,                         (1) Are owned or chartered by the U.S
Non-Transfer and Use Certificate. The form shall be                Government or under U.S. registry,
signed by an official of the responsible foreign
government who has the authority to certify that the                         (2) Are owned or chartered by or under the
transfer is for government purposes and that the                   registry of the recipient government, or
classified material will be protected in compliance with
a government-approved security agreement.                                    (3) Are carriers other than those described
                                                                   that are expressly authorized to perform this function
10-402. Transfers of Freight                                       in writing by the Designated Security Authority of the
                                                                   GCA and the security authorities of the foreign
     a. Transportation Plan (TP). A requirement to                 government involved. This authority shall not be
prepare a TP shall be included in each arrangement                 delegated and this exception may be authorized only
that involves the international transfer of classified             when a carrier described in (1) or (2) above is not
material as freight.       The TP shall describe                   available and/or an urgent operational requirement
arrangements for the secure shipment of the material               dictates use of the exception.
from the point of origin to the ultimate destination.
The U.S. and recipient government DGRs shall be



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10-403.       Return of Material for Repair,                             a. The courier shall be a full-time, appropriately
Modification, or Maintenance.              A foreign                cleared employee of the dispatching contractor.
government or contractor may return classified
material to a U.S. contractor for repair, modification,                  b. The courier shall be provided with a Courier
or maintenance. The approved methods of return shall                Certificate that shall be consecutively numbered and be
be specified in either the GCA sales arrangement, the               valid for one journey only. The journey may include
security requirements section of a direct commercial                more than one stop if approved by the CSA and secure
sales arrangement, or, in the case of material                      Government storage has been arranged at each stop.
transferred as freight, in the original TP.        The              The Courier Certificate shall be returned to the
contractor, on receipt of notification that classified              dispatching security officer immediately on completion
material is to be received, shall notify the applicable             of the journey.
CSA.
                                                                         c. Before commencement of each journey, the
10-404. Use of Freight Forwarders.                                  courier shall read and initial the Notes to the Courier
                                                                    attached to the Courier Certificate and sign the Courier
     a. A commercial freight forwarder may be used to               Declaration. The Declaration shall be maintained by
arrange for the international transfer of classified                the FSO until completion of the next security
material as freight. The freight forwarder must be                  inspection by the CSA.
under contract to a government agency, U.S.
contractor, or the recipient foreign government. The                     d. The material shall be inventoried, and shall be
contract shall describe the specific functions to be                wrapped and sealed in the presence of the U.S. DGR.
performed by the freight forwarder. The responsibility              The address of the receiving security office and the
for security and control of the classified material that is         return address of the dispatching company security
processed by freight forwarders remains with the U.S.               office shall be shown on the inner envelope or
Government until the freight is transferred to a DGR of             wrapping. The address of the receiving government's
the recipient government.                                           DGR shall be shown on the outer envelope or
                                                                    wrapping along with the return address of the
     b. Only freight forwarders that have a valid FCL               dispatching office.
and storage capability at the appropriate level are
eligible to take custody or possession of classified                     e. The dispatching company security office shall
material for delivery as freight to foreign recipients.             prepare three copies of a receipt based on the inventory
Freight forwarders that only process unclassified                   and list the classified material involved. One copy of
paperwork and make arrangements for the delivery of                 the receipt shall be retained by the dispatching
classified material to foreign recipients do not require            company security office. The other two copies shall be
an FCL.                                                             packed with the classified material. The security office
                                                                    shall obtain a receipt for the sealed package from the
10-405. Hand Carrying Classified Material. To                       courier.
meet contractual requirements, the CSA may authorize
contractor employees to hand carry classified material                   f. The dispatching company security office shall
outside the United States. SECRET is the highest level              provide the receiving security office with 24 work
of classified material to be carried and it shall be of             hours advance notification of the anticipated date and
such size and weight that the courier can retain it in his          time of the courier's arrival and the identity of the
or her possession at all times. The CSA shall ensure                courier. The receiving security office shall notify the
that the contractor has made necessary arrangements                 dispatching company security office if the courier does
with U.S. airport security and customs officials and                not arrive within 8 hours of the expected time of
that security authorities of the receiving government               arrival. The dispatching security office shall notify its
approve the plan. If the transfer is under a contract or            DGR of any delay, unless officially notified otherwise
a bilateral or multinational government program, the                of a change in the courier's itinerary.
request shall be approved in writing by the GCA. The
CSA shall be notified by the contractor of a                             g. The receiving DGR shall verify the contents of
requirement under this section at least 5 work days in              the consignment and shall sign the receipts enclosed in
advance of the transfer. In addition:                               the consignment. One copy shall be returned to the
                                                                    courier. On return, the courier shall provide the
                                                                    executed receipt to the dispatching security office.




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     h. Throughout the journey, the consignment shall                 b. Notify the appropriate U.S. DGR when the
remain under the direct personal control of the courier.          material is ready.
It shall not be left unattended at any time during the
journey, in the transport being used, in hotel rooms, in               c. Provide documentation or written certification
cloakrooms, or other such location, and it may not be             by an empowered official (as defined in the ITAR) to
deposited in hotel safes, luggage lockers, or in luggage          the U.S. DGR to verify that the classified shipment is
offices.     In addition, envelopes and packages                  within the limitations of the pertinent export
containing the classified material shall not be opened            authorization or an authorized exemption to the export
en route, unless required by customs or other                     authorization requirements, or is within the limitations
government officials.                                             of the pertinent GCA contract.

     i. When inspection by government officials is                     d. Have the classified shipment ready for visual
unavoidable, the courier shall request that the officials         review and verification by the DGR. As a minimum
provide written verification that they have opened the            this will include:
package. The courier shall notify the FSO as soon as
possible. The FSO shall notify the U.S. DGR. If the                             (1) Preparing the packaging materials,
inspecting officials are not of the same country as the           address labels, and receipts for review.
dispatching security office, the designated security
authority in the country whose officials inspected the                          (2) Marking the contents with the
consignment shall be notified by the CSA. Under no                appropriate U.S. classification or the equivalent
circumstances shall the classified consignment be                 foreign government classification, downgrading, and
handed over to customs or other officials for their               declassification markings, as applicable.
custody.
                                                                                 (3) Ensuring that shipping documents
     j. When carrying classified material, the courier            (including, as appropriate, the Shipper's Export
shall not travel by surface routes through third                  Declaration) include the name and contact information
countries, except as authorized by the CSA. The                   for the CSA that validates the license or letter
courier shall travel only on carriers described in 10-            authorization, and the FSO or designee for the
402d, and travel direct routes between the U.S. and the           particular transfer.
destination.
                                                                                (4) Sending advance notification of the
10-406. Classified Material Receipts. There shall be              shipment to the CSA, the recipient, and to the freight
a continuous chain of receipts to record international            forwarder, if applicable. The notification will require
transfers of all classified material from the contractor          that the recipient confirm receipt of the shipment or
through the U.S. DGR and the recipient DGR to the                 provide notice to the contractor if the shipment is not
ultimate foreign recipient. The contractor shall retain           received in accordance with the prescribed shipping
an active suspense record until return of applicable              schedule.
receipts for the material. A copy of the external receipt
that records the passing of custody of the package                10-408. Transfers Pursuant to an ITAR Exemption
containing the classified material shall be retained by
the contractor and each intermediate consignee in a                    a. The contractor shall provide to the DGR valid
suspense file until the receipt that is enclosed in the           documentation (i.e., license, Letter of Offer and
package is signed and returned. Follow-up action shall            Acceptance, or agreement) to verify the export
be initiated through the CSA if the signed receipt is not         authorization for classified technical data or certain
returned within 45 days.                                          defense articles to be transferred under an exemption
                                                                  to reference (v). The documentation shall include a
10-407. Contractor Preparations for International                 copy of the Form DSP-83 associated with the original
Transfers Pursuant to Commercial and User                         export authorization.
Agency Sales. The contractor shall be responsible for
the following preparations to facilitate international                 b. Classified technical data or certain defense
transfers:                                                        articles to be exported pursuant to reference (v)
                                                                  exemptions 125.4(b)(1), 125.4(c), 125.5, 126.4(a), or
     a. Ensure that each party to be involved in the              126.4(c) shall be supported by a written authorization
transfer is identified in the applicable contract or              signed by an Authorized Exemption Official or
agreement, and in the license application or letter               Exemption Certifying Official who has been appointed
request.                                                          by the responsible Principal Disclosure Authority of


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the GCA. A copy of the authorization shall be                 c. Exports shall not be permitted under a
provided by the contractor through the CSA to the         Manufacturing License or Technical Assistance
State Department, Directorate of Defense Trade            Agreement for which the authorization has expired.
Controls (DDTC).




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                       Section 5. International Visits and Control of Foreign Nationals


10-500.     General.    This section describes the                 result in the loss of a contract opportunity. Emergency
procedures that the United States and foreign                      visits are approved only as a single, one-time visit.
governments have established to control international              The requester should coordinate the emergency visit in
visits to their organizations and cleared contractor               advance with the person to be visited and ensure that
facilities.                                                        the complete name, position, address, and telephone
                                                                   number of the person and a knowledgeable foreign
10-501. International Visits                                       government point of contact are provided in the visit
                                                                   request, along with the identification of the contract,
     a. The contractor shall establish procedures to               agreement, or program and the justification for
monitor international visits by their employees and                submission of the emergency visit request.
visits or assignments to their facilities of foreign
nationals to ensure that the disclosure of, and access to,         10-504. Requests for Recurring Visits. Recurring
export-controlled articles and related information are             visit authorizations should be requested at the
limited to those that are approved by an export                    beginning of each program. After approval of the
authorization.                                                     request, individual visits may be arranged directly with
                                                                   the security office of the location to be visited subject
     b. Visit authorizations shall not be used to employ           to 3 working days advance notice.
or otherwise acquire the services of foreign nationals
that require access to export-controlled information.              10-505. Amendments. Visit requests that have been
An export authorization is required for such situations.           approved or are being processed may be amended only
                                                                   to change, add, or delete names and change dates.
10-502. Types and Purpose of International Visits.                 Amendments requesting earlier dates than originally
Visit requests are necessary to make administrative                specified shall not be accepted. Emergency visit
arrangements and disclosure decisions, and obtain                  authorizations shall not be amended.
security assurances.    There are three types of
international visits:                                              10-506. Visits Abroad by U.S. Contractors. Many
                                                                   foreign governments require the submission of a visit
    a. One-time Visits. A visit for a single, short-               request for all visits to a government facility or a
term occasion (normally less than 30 days) for a                   cleared contractor facility, even though classified
specified purpose.                                                 information may not be involved. They also require
                                                                   that the requests be received a specified number of
     b. Recurring Visits. Intermittent, recurring visits           days in advance of the visit. These lead times for
over a specified period of time, normally up to 1 year             North Atlantic Treaty Organization (NATO) countries
in duration, in support of a Government-approved                   are in Appendix B. An export authorization must be
arrangement, such as an agreement, contract, or                    obtained if export controlled technical data is to be
license. By agreement of the governments, the term of              disclosed or, if information to be divulged is related to
the authorization may be for the duration of the                   a classified U.S. Government program, unless the
arrangement, subject to annual review, and validation.             disclosure of the information is covered by an ITAR
                                                                   exemption. Visit request procedures are outlined as
    c. Extended Visits. A single visit for an                      follows:
extended period of time, normally up to 1 year, in
support of an agreement, contract, or license.                         a. Request Format. The visit request format is
                                                                   contained in Appendix B. The visit request shall be
10-503. Emergency Visits.            Some     foreign              forwarded to the security official designated by the
governments will accept a visit request submitted                  CSA. The host for the visit should coordinate the visit
within 7 calendar days of the proposed visit for an                in advance with appropriate government authorities
"emergency visit." To qualify as an emergency visit,               who are required to approve the visit. It is the visitor's
the visit must relate to a specific Government-                    responsibility to ensure that such coordination has
approved contract, international agreement or                      occurred.
announced request for proposal, and failure to make
the visit could be reasonably expected to seriously                    b. Government Agency Programs.             When
jeopardize performance on the contract or program, or              contractor employees are to visit foreign government



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facilities or foreign contractors on U.S. Government              involved and, if classified information is involved, has
orders in support of a government contract or                     been notified that the requesting foreign government
agreement, a visit request shall be submitted by the              has provided the required security assurance of the
contractor.                                                       proposed visitor to the U.S. Government agency in the
                                                                  original visit request. It shall be the responsibility of
10-507. Visits by Foreign Nationals to U.S.                       the contractor to consult applicable export regulations
Contractor Facilities. Requests for visits by foreign             to determine licensing requirements regarding the
nationals to U.S. contractor facilities that will involve         disclosure of export controlled information during such
the disclosure of (a) classified information, (b)                 visits by foreign nationals.
unclassified information related to a U.S. Government
classified program, or (c) plant visits covered by                     d. Access by Foreign Visitors to Classified
Section 125.5 of reference (v) shall be processed                 Information.        The contractor shall establish
through the sponsoring foreign government (normally               procedures to ensure that foreign visitors are not
the visitor's embassy) to the U.S. Government agency              afforded access to classified information and other
for approval. (NOTE: Requests for visits by foreign               export-controlled technical data except as authorized
nationals that involve only commercial programs and               by an export license, approved visit request, or other
related unclassified information may be submitted                 exemption to the licensing requirements.             The
directly to the contractor. It is the contractor's                contractor shall not inform the foreign visitor of the
responsibility to ensure that an export authorization is          scope of access authorized or of the limitations
obtained, if applicable.) As described below, the U.S.            imposed by the government. Foreign visitors shall not
government agency may approve or deny the request                 be given custody of classified material except when
or decline to render a decision.                                  they are acting as official couriers of their government
                                                                  and the CSA authorizes the transfer.
     a. Government-Approved Visits.                 U.S.
Government-approved visits constitute an exemption                    e. Visitor Records.          The contractor shall
to the export licensing provisions of the ITAR. U.S.              maintain a record of foreign visitors when the visit
Government approved visits shall not be used to avoid             involves access to classified information. These
the export licensing requirements for commercial                  records shall be maintained for 1 year.
initiatives. When the cognizant U.S. Government
agency approves a visit, the notification of approval                  f. Visits to Subsidiaries.       A visit request
shall contain instructions on the level and scope of              authorization for a visit to any element of a corporate
classified and unclassified information authorized for            family may be used for visits to other divisions or
disclosure, as well as any limitations. Final acceptance          subsidiaries within the same corporate family provided
of the visit shall be subject to the concurrence of the           disclosures are for the same purpose and the
contractor who shall notify the U.S. Government                   information to be disclosed does not exceed the
agency when a visit is not desired.                               parameters of the approved visit request.

     b. Visit Request Denials.           If the U.S.              10-508. Control of Access by On-Site Foreign
Government agency does not approve the disclosure of              Nationals
the information related to the proposed visit, it will
deny the visit request. The requesting government and                  a. Extended visits and assignments of foreign
the contractor to be visited shall be advised of the              nationals to contractor facilities shall be authorized
reason for the denial. The contractor may accept the              only when it is essential that the foreign national be at
visitor(s). However, only information that is in the              the facility pursuant to a contract or government
public domain may be disclosed.                                   agreement (e.g., joint venture, liaison representative to
                                                                  a joint or multinational program, or direct commercial
    c. Non-Sponsorship. The U.S. Government                       sale).
agency will decline to render a decision on a visit
request that is not in support of a U.S. Government                    b. If the foreign national will require access to
program. A declination notice indicating that the visit           export-controlled information related to, or derived
is not government-approved (i.e., the visit is non-               from, a U.S. Government classified contract, the
sponsored) shall be furnished to the requesting foreign           contractor shall obtain the written consent of the GCA
government with an information copy to the U.S.                   before making a commitment to accept the proposed
contractor to be visited. A declination notice does not           visit or assignment. A copy of the written consent
preclude the visit, provided the contractor has, or               shall be included with the request for export
obtains, an export authorization for the information              authorization, when such authorization is required.


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     c. The applicable CSA shall be notified in                   and agreed to by the visitor's government. The agreed
advance of all extended visits and assignments of                 procedures shall be included in the contractor's TCP,
foreign nationals to cleared contractor facilities. The           shall require the foreign nationals to provide receipts
notification shall include a copy of the approved visit           for the material, and shall include an arrangement for
authorization or the U.S. Government export                       the CSA to ensure compliance, including provisions
authorization, and the TCP if applicable.                         for the CSA to inspect and inventory the material.

     d.    Classified U.S. and foreign government                 10-509. TCP. A TCP is required to control access by
material in a U.S. contractor facility is to remain under         foreign nationals assigned to, or employed by, cleared
U.S. contractor custody and control and is subject to             contractor facilities unless the CSA determines that
inspection by the FSO and the CSA. This does not                  procedures already in place at the contractor's facility
preclude a foreign visitor from being furnished a                 are adequate. The TCP shall contain procedures to
security container for the temporary storage of                   control access for all export-controlled information. A
classified material, consistent with the purpose of the           sample of a TCP may be obtained from the CSA.
visit or assignment, provided the CSA approves and
responsibility for the container and its contents remains         10-510. Security and Export Control Violations
with the U.S. contractor. Exceptions to this policy               Involving Foreign Nationals. Any violation of
may be approved on a case-by-case basis by the CSA                administrative security procedures or export control
for the storage of foreign government classified                  regulations that would subject classified information to
information furnished to the visitor by the visitor's             possible compromise by foreign visitors or foreign
government through government channels. Exceptions                national employees shall be reported to the CSA.
shall be approved in advance in writing by the CSA




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                                   Section 6. Contractor Operations Abroad


10-600. General. This section sets forth requirements              pursuant to an approved export authorization. The
governing contractor operations abroad, including                  responsible U.S. Government security official at the
PCLs for U.S. contractor employees assigned outside                U.S. Government facility shall verify that the
the United States and their access to classified                   contractor has an export authorization or other written
information.                                                       U.S. Government approval to have the material, verify
                                                                   the need for the material to be removed from the
10-601. Access by Contractor Employees Assigned                    facility, and brief the employee on handling
Outside the United States.                                         procedures. In such cases, the contractor employee
                                                                   shall sign a receipt for the classified material.
     a. Contractor employees assigned outside the                  Arrangements shall also be made with the U.S.
United States, its possessions or territories may have             Government custodian for the return and storage of the
access to classified information in connection with                classified material during non-duty hours. Violations
performance on a specified United States, NATO, or                 of this policy shall be reported to the applicable CSA
foreign government classified contract.                            by the security office at the U.S. Government facility.

     b. The assignment of an employee who is a                          d. A contractor employee shall not store classified
foreign national, including intending citizens, outside            information at overseas divisions or subsidiaries of
the United States on programs that will involve access             U.S. companies incorporated or located in a foreign
to classified information is prohibited and negates the            country. (NOTE: The divisions or subsidiaries may
basis on which an LAA may have been provided to                    possess classified information that has been transferred
such employee.                                                     to the applicable foreign government through
                                                                   government-to-government channels pursuant to an
     c. A consultant shall not be assigned outside the             approved export authorization or other written U.S.
United States with responsibilities requiring access to            Government authorization. Access to this classified
classified information.                                            information at such locations by a U.S. contractor
                                                                   employee assigned abroad by the parent facility on a
10-602. Storage, Custody, and Control of Classified                visit authorization in support of a foreign government
Information Abroad by Employees of a U.S.                          contract or subcontract, is governed by the laws and
Contractor.                                                        regulations of the country in which the division or
                                                                   subsidiary is registered or incorporated. The division
     a. The storage, custody, and control of classified            or subsidiary that has obtained the information from
information required by a U.S. contractor employee                 the foreign government shall provide the access.)
abroad is the responsibility of the U.S. Government.
Therefore, the storage of classified information by                     e. U.S. contractor employees assigned to foreign
contractor employees at any location abroad that is not            government or foreign contractor facilities under a
under U.S. Government control is prohibited. The                   direct commercial sales arrangement will be subject to
storage may be at a U.S. military facility, a U.S.                 the host-nation's industrial security policies.
Embassy or Consulate, or other location occupied by a
U.S. Government organization.                                      10-603. Transmission of Classified Material to
                                                                   Employees Abroad. The transmission of classified
    b. A contractor employee may be furnished a                    material to a cleared contractor employee located
security container to temporarily store classified                 outside the United States shall be through U.S.
material at a U.S. Government agency overseas                      Government channels. If the material is to be used for
location. The decision to permit a contractor to                   other than U.S. Government purposes, an export
temporarily store classified information must be                   authorization is required and a copy of the
approved in writing by the senior security official for            authorization, validated by the DGR, shall accompany
the U.S. Government host organization.                             the material. The material shall be addressed to a U.S.
                                                                   military organization or other U.S. Government
    c. A contractor employee may be permitted to                   organization (e.g., an embassy). The U.S. government
temporarily remove classified information from an                  organization abroad shall be responsible for custody
overseas U.S. Government-controlled facility when                  and control of the material.
necessary for the performance of a GCA contract or



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10-604. Security Briefings. An employee being                     including the handling, disclosure, and storage of
assigned outside the United States shall be briefed on            classified information overseas.
the security requirements of his or her assignment,




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                          Section 7. NATO Information Security Requirements


10-700. General. This section provides the security             the NATO FSCC to the requesting activity. A NATO
requirements needed to comply with the procedures               FSCC is not required for GCA contracts involving
established by the U.S. Security Authority for NATO             access to NATO classified information.
(USSAN) for safeguarding NATO information
provided to U.S. industry.                                      10-705. PCL Requirements.        Access to NATO
                                                                classified information requires a final PCL at the
10-701. Classification Levels.        NATO has the              equivalent level.
following levels of security classification: COSMIC
TOP SECRET (CTS), NATO SECRET (NS), NATO                        10-706. NATO Briefings. Before having access to
CONFIDENTIAL (NC), and NATO RESTRICTED                          NATO classified information, employees shall be
(NR). Another marking, ATOMAL, is applied to U.S.               given a NATO security briefing that covers the
RESTRICTED DATA or FORMERLY RESTRICTED                          requirements of this section and the consequences of
DATA and UK Atomic information that has been                    negligent handling of NATO classified information.
released to NATO. ATOMAL information is marked                  The FSO shall be initially briefed by a representative
COSMIC TOP SECRET ATOMAL (CTSA), NATO                           of the CSA. Annual refresher briefings shall also be
SECRET       ATOMAL          (NSA),       or   NATO             conducted.      When access to NATO classified
CONFIDENTIAL ATOMAL (NCA).                                      information is no longer required, the employee shall
                                                                be debriefed. The employee shall sign a certificate
10-702. NATO          RESTRICTED.               NATO            stating that they have been briefed or debriefed, as
RESTRICTED does not correspond to an equivalent                 applicable, and acknowledge their responsibility for
U.S. classification. NATO RESTRICTED does not                   safeguarding NATO information. Certificates shall be
require a PCL for access. An FCL is not required if             maintained for 2 years for NATO SECRET and
the only information to which the company will have             CONFIDENTIAL, and 3 years for COSMIC TOP
access is NATO RESTRICTED. IS handling only                     SECRET and all ATOMAL information.                The
NATO RESTRICTED information do not require                      contractor shall maintain a record of all NATO
certification or accreditation. NATO RESTRICTED                 briefings and debriefings in the CSA-designated
information may be included in U.S. unclassified                database.
documents. The U.S. document must be marked,
"THIS        DOCUMENT           CONTAINS        NATO            10-707. Access to NATO Classified Information by
RESTRICTED           INFORMATION."              NATO            Foreign Nationals. Foreign nationals of non-NATO
RESTRICTED material may be stored in locked filing              nations may have access to NATO classified
cabinets, bookcases, desks, or other similar locked             information only with the consent of the NATO Office
containers that will deter unauthorized access.                 of Security and the contracting activity. Requests shall
                                                                be submitted to the Central U.S. Registry (CUSR).
10-703. NATO Contracts.             NATO contracts              Access to NATO classified information may be
involving NATO-unique systems, programs, or                     permitted for citizens of NATO member nations,
operations are awarded by a NATO Production and                 provided a NATO security clearance certificate is
Logistics Organization (NPLO), a designated NATO                provided by their government and they have been
Management Agency, the NATO Research Staff, or a                briefed.
NATO Command. In the case of NATO infrastructure
projects (e.g., airfields, communications), the NATO            10-708. Subcontracting for NATO Contracts. The
contract is awarded by a contracting agency or prime            contractor shall obtain prior written approval from the
contractor of the NATO nation responsible for the               NATO contracting activity and a NATO FSCC must
infrastructure project.                                         be issued prior to awarding the subcontract. The
                                                                request for approval will be forwarded through the
10-704. NATO         Facility   Security  Clearance             CSA.
Certificate. A NATO Facility Security Clearance
Certificate (FSCC) is required for a contractor to              10-709. Preparing        and     Marking     NATO
negotiate or perform on a NATO classified contract A            Documents. All classified documents created by a
U.S. facility qualifies for a NATO FSCC if it has an            U.S. contractor shall be portion-marked. Any portion
equivalent U.S. FCL and its personnel have been                 extracted from a NATO document that is not portion
briefed on NATO procedures. The CSA shall provide



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marked, must be assigned the classification that is                  10-710. Classification Guidance. Classification
assigned to the NATO document.                                       guidance shall be in the form of a NATO security
                                                                     aspects letter and a security requirements checklist for
    a. All      U.S.-originated     NATO     classified              NATO contracts, or a Contract Security Classification
documents shall bear an assigned reference number                    Specification. If adequate classification guidance is
and date on the first page. The reference numbers shall              not received, the contractor shall contact the CSA for
be assigned as follows:                                              assistance. NATO classified documents and NATO
                                                                     information in other documents shall not be
         (1) The first element shall be the abbreviation             declassified or downgraded without the prior written
for the name of the contractor facility.                             consent of the originating activity. Recommendations
                                                                     concerning the declassification or downgrading of
         (2) The second element shall be the                         NATO classified information shall be forwarded to the
abbreviation for the overall classification followed by a            CUSR.
hyphen and the 4-digit sequence number for the
document within that classification that has been                    10-711. Further Distribution. The contractor shall
generated for the applicable calendar year.                          not release or disclose NATO classified information to
                                                                     a third party or outside the contractor's facility for any
      (3) The third element shall be the year; e.g.,                 purpose without the prior written approval of the
MM/NS-0013/93.                                                       contracting agency.

     b. COSMIC TOP SECRET, NATO SECRET,                              10-712. Storage of NATO Documents. NATO
and ATOMAL documents shall bear the reference                        classified documents shall be stored as prescribed for
number on each page and a copy number on the cover                   U.S. documents of an equivalent classification level,
or first page. Copies of NATO documents shall be                     except as follows:
serially numbered. Pages shall be numbered. The first
page or index or table of contents shall include a list,                a. NATO classified documents shall not be
including page numbers, of all Annexes and                           commingled with other documents.
Appendices. The total number of pages shall be stated
on the first page. All Annexes or Appendices will                         b. Combinations for containers used to store
include the date of the original document and the                    NATO classified information shall be changed
purpose of the new text (addition or substitution) on                annually. The combination also shall be changed when
the first page.                                                      an individual with access to the container departs or no
                                                                     longer requires access to the container, and if the
     c. One of the following markings shall be                       combination is suspected of being compromised.
applied to NATO documents that contain ATOMAL
information:                                                             c. When the combination is recorded it shall be
                                                                     marked with the highest classification level of
        (1) "This document contains U.S. ATOMIC                      documents stored in the container as well as to indicate
Information (RESTRICTED DATA or FORMERLY                             the level and type of NATO documents in the
RESTRICTED DATA) made available pursuant to the                      container. The combination record must be logged and
NATO Agreement for Cooperation Regarding                             controlled in the same manner as NATO classified
ATOMIC Information, dated 18 June 1964, and will be                  documents.
safeguarded accordingly."
                                                                     10-713. International Transmission. NATO has a
         (2) "This document contains UK ATOMIC                       registry system for the receipt and distribution of
Information. This information is released to NATO                    NATO documents within each NATO member nation.
including its military and civilian agencies and                     The central distribution point for the U.S. is the CUSR
member states on condition that it will not be released              located in the Pentagon. The CUSR establishes
by the recipient organization to any other organization              subregistries at U.S. Government organizations for
or government or national of another country or                      further distribution and control of NATO documents.
member of any other organization without prior                       Subregistries may establish control points at contractor
permission from H.M. Government in the United                        facilities. COSMIC TOP SECRET, NATO SECRET,
Kingdom."                                                            and all ATOMAL documents shall be transferred
                                                                     through the registry system. NATO CONFIDENTIAL
     d. Working papers shall be retained only until a                documents provided as part of NATO infrastructure
final product is produced.


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contracts shall be transmitted via government channels                    a. Minimum identifying data on logs, receipts,
in compliance with Section 4 of this Chapter.                        and destruction certificates shall include the NATO
                                                                     reference number, short title, date of the document,
10-714. Hand Carrying. NATO SECRET and                               classification, and serial copy numbers. Logs shall
NATO CONFIDENTIAL documents may be hand                              reflect the short title, unclassified subject, and
carried across international borders if authorized by the            distribution of the documents.
GCA. The courier shall be issued a NATO Courier
Certificate by the CSA. When hand carrying is                            b. Receipts are required for all NATO classified
authorized, the documents shall be delivered to a U.S.               documents except NATO CONFIDENTIAL.
organization at NATO, which shall transfer them to the
intended NATO recipient.                                                c. Inventories shall be conducted annually of all
                                                                     COSMIC TOP SECRET, NATO SECRET, and all
10-715. Reproduction. Reproductions of COSMIC                        ATOMAL documents.
TOP SECRET and COSMIC TOP SECRET
ATOMAL information shall be performed by the                            d. Records shall be retained for 10 years for
responsible Registry. The reproduction of NATO                       COSMIC TOP SECRET and COSMIC TOP SECRET
SECRET, and CONFIDENTIAL documents may be                            ATOMAL documents and 5 years for NATO
authorized to meet contractual requirements unless                   SECRET, NATO SECRET ATOMAL, NATO
reproduction is prohibited by the contracting entity.                CONFIDENTIAL, and NATO CONFIDENTIAL
Copies of COSMIC TOP SECRET, NATO SECRET,                            ATOMAL documents.
and ATOMAL documents shall be serially numbered
and controlled and accounted for in the same manner                  10-718. Security Violations and Loss, Compromise,
as the original.                                                     or Possible Compromise.         The contractor shall
                                                                     immediately report the loss, compromise, or suspected
10-716. Disposition. Generally, all NATO classified                  loss or compromise, as well as any other security
documents shall be returned to the contracting activity              violations involving NATO classified information to
that provided them on completion of the contract.                    the CSA.
Documents provided in connection with an invitation
to bid also shall be returned immediately if the bid is              10-719. Extracting from NATO Documents.
not accepted or submitted.          NATO classified                  Permission to extract from a COSMIC TOP SECRET
documents may also be destroyed when permitted.                      or ATOMAL document shall be obtained from the
COSMIC TOP SECRET and COSMIC TOP SECRET                              CUSR.
ATOMAL documents shall be destroyed by the
Registry that provided the documents. Destruction                         a. If extracts of NATO information are included
certificates are required for all NATO classified                    in a U.S. document prepared for a non-NATO contract,
documents except NATO CONFIDENTIAL. The                              the document shall be marked with U.S. classification
destruction of COSMIC TOP SECRET, NATO                               markings.        The caveat, "THIS DOCUMENT
SECRET and all ATOMAL documents must be                              CONTAINS NATO (level of classification)
witnessed.                                                           INFORMATION" also shall be marked on the front
                                                                     cover or first page of the document. Additionally, each
10-717. Accountability Records. Logs, receipts, and                  paragraph or portion containing the NATO information
destruction certificates are required for NATO                       shall be marked with the appropriate NATO
classified information, as described below. Records for              classification, abbreviated in parentheses (e.g., NS)
NATO documents shall be maintained separately from                   preceding the portion or paragraph. The "Declassify
records of non-NATO documents. COSMIC TOP                            on" line of the document shall show "Source marked
SECRET and all ATOMAL documents shall be                             OADR" and the date of origin of the most recent
recorded on logs maintained separately from other                    source document unless the original NATO document
NATO logs and shall be assigned unique serial control                shows a specific date for declassification.
numbers. Additionally, disclosure records bearing the
name and signature of each person who has access are                      b. The declassification or downgrading of NATO
required for all COSMIC TOP SECRET, COSMIC                           information in a U.S. document requires the approval
TOP SECRET ATOMAL, and all other ATOMAL or                           of the originating NATO activity. Requests shall be
NATO classified documents to which special access                    submitted to the CUSR for NATO contracts, through
limitations have been applied.                                       the GCA for U.S. contracts, and through the CSA for
                                                                     non-NATO contracts awarded by a NATO member
                                                                     nation.


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10-720. Release of U.S. Information to NATO.                        10-721. Visits. NATO visits are visits by personnel
                                                                    representing a NATO entity and relating to NATO
     a. Release of U.S. classified or export-controlled             contracts and programs. NATO visits shall be handled
information to NATO requires an export authorization                in accordance with the requirements in Section 5 of
or other written disclosure authorization. When a                   this chapter.    A NATO Certificate of Security
document containing U.S. classified information is                  Clearance will be included with the visit request.
being prepared for NATO, the appropriate NATO
classification markings shall be applied to the                           a. NPLO and NATO Industrial Advisory
document. Documents containing U.S. classified                      Group (NIAG) Recurring Visits.             NATO has
information and U.S. classified documents that are                  established special procedures for recurring visits
authorized for release to NATO shall be marked on the               involving contractors, government departments and
cover or first page "THIS DOCUMENT CONTAINS                         agencies, and NATO commands and agencies that are
U.S. CLASSIFIED INFORMATION.                      THE               participating in a NPLO or NIAG contract or program.
INFORMATION IN THIS DOCUMENT HAS BEEN                               The NATO Management Office or Agency responsible
AUTHORIZED FOR RELEASE TO (cite the NATO                            for the NPLO program will prepare a list of the
organization) BY (cite the applicable license or other              Government and contractor facilities participating in
written authority)."       The CSA shall provide                    the program. For NIAG programs, the list will be
transmission instructions to the contractor.       The              prepared by the responsible NATO staff element. The
material shall be addressed to a U.S. organization at               list will be forwarded to the appropriate clearance
NATO, which shall then place the material into NATO                 agency of the participating nations, which will forward
security channels. The material shall be accompanied                it to the participating contractor.
by a letter to the U.S. organization that provides
transfer instructions and assurances that the material                  b. Visitor Record. The contractor shall maintain
has been authorized for release to NATO. The inner                  a record of NATO visits including those by U.S.
wrapper shall be addressed to the intended NATO                     personnel assigned to NATO. The records shall be
recipient. Material to be sent to NATO via mail shall               maintained for 3 years.
be routed through the U.S. Postal Service and U.S.
military postal channels to the U.S. organization that
will make the transfer.

     b. A record shall be maintained that identifies the
originator and source of classified information that are
used in the preparation of documents for release to
NATO. The record shall be provided with any request
for release authorization.




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    Section 8. Transfers of Defense Articles to AUS or the UK without a License or Other Written
                                            Authorization
                                                                            For example, for defense articles classified
10-800 General. On June 21, 2007, the U.S. signed                           SECRET, the marking shall be “SECRET
the Defense Trade Cooperation Treaty between the                            USML//REL GBR AND USA TREATY
Government of the United States of America and the                          COMMUNITY//”
Government of the UK of Great Britain and Northern
Ireland (reference (ao)) and on September 5, 2007                           (2) Treaty with the Government of AUS
between the Government of the United States of
America and the Government of AUS (reference (ap))                          //CLASSIFICATION LEVEL USML//REL
concerning Defense Trade Cooperations (U.S.-UK                              AUS AND USA TREATY COMMUNITY//
Treaty and U.S.-AUS Treaty, referred to collectively in
this Manual as “the Treaties”). The U.S.-UK Treaty                          For example, for Defense Articles classified
entered into force on April 13, 2012. The U.S.-AUS                          SECRET, the marking will be “//SECRET
Treaty entered into force on May 16, 2013. The                              USML//REL AUS AND USA TREATY
Treaties provide a comprehensive framework for                              COMMUNITY//”
exports and transfers to the UK or AUS of certain
classified and unclassified defense articles without a                  b. All other standard classification markings in
license or other written authorization. Reference (v)              accordance with Chapter 4, Section 2 of this Manual
has been amended to implement the Treaties through                 shall apply.
new exemptions in parts 126.16 and 126.17.
Supplement No. 1 to part 126 of reference (v)                          c. Unclassified U.S. defense articles shall be
identifies those defense articles and services that are            marked:
not eligible for export via Treaty exemptions. This
exemption applies to contractors registered with the                        (1) Treaty with the Government of UK
DDTC, and eligible to export defense articles.
                                                                            //RESTRICTED USML//REL GBR AND
10-801 Defense Articles. Defense articles fall under                        USA TREATY COMMUNITY//
the scope of the Treaties when they are in support of:
                                                                            (2) Treaty with the Government of AUS
     a. U.S. and UK or U.S. and AUS combined
military or counter-terrorism operations;                                   //RESTRICTED USML//REL AUS AND
                                                                            USA TREATY COMMUNITY//
    b. U.S. and UK or U.S. and AUS cooperative
security and defense research, development,                             d. When defense articles are returned from the
production, and support programs;                                  UK or AUS to the U.S., any defense articles marked as
                                                                   RESTRICTED in this manner purely for the purposes
     c. Mutually agreed specific security and defense              of the Treaties shall be considered to be unclassified
projects where the Governments of the UK or AUS is                 and such marking shall be removed.
the end-user; or
                                                                   10-803. Notice.      The following notice shall be
    d. U.S. Government end-use.                                    included (e.g., as part of the bill of lading) whenever
                                                                   defense articles are exported in accordance with the
10-802. Marking Requirements. Contractors are                      provisions of these Treaties and reference (v):
required to mark defense articles that fall under the              These U.S. Munitions List commodities are authorized
scope of the treaty prior to transferring from the U.S.            by the U.S. Government under the U.S.-[AUS or UK,
to the UK as follows:                                              as applicable] Defense Trade Cooperation Treaty for
                                                                   export only to [AUS or UK, as applicable] for use in
a. Classified U.S. Defense Articles shall be marked:               approved projects, programs or operations by members
                                                                   of the [AUS or UK, as applicable] Community. They
        (1) Treaty with the Government of UK                       may not be retransferred or re-exported or used outside
                                                                   of an approved project, program, or operation, either in
CLASSIFICATION LEVEL USML//REL GBR AND                             their original form or after being incorporated into
USA TREATY COMMUNITY//                                             other end-items, without the prior written approval of
                                                                   the U.S. Department of State.



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10-804. Labelling                                                          c. Method of export or import.

     a. Defense articles (as defined in section 120.6 of                  d. Commodity code and description of the
reference (v)) (other than technical data) will be                     commodity, including technical data.
individually labeled with the appropriate identification;
or, where such labeling is impracticable (e.g.,                            e. Value of export.
propellants, chemicals), will be accompanied by
documentation (such as contracts or invoices) clearly                      f. Justification for export under the Treaties.
associating the defense articles with the appropriate
markings.                                                                  g. End-user or end-use.

     b. Technical data (as defined in section 120.10 of                     h. Identification of all U.S. and foreign parties to
reference (v)) (including data packages, technical                     the transaction.
papers, manuals, presentations, specifications, guides
and reports), regardless of media or means of                              i. How export was marked.
transmission (i.e., physical, oral, or electronic), will be
individually labeled with the appropriate identification                   j. Security classification of the export.
detailed; or, where such labeling is impracticable will
be accompanied by documentation (such as contracts                        k. All written correspondence with the U.S.
or invoices) or oral notification clearly associating the              Government on the export.
technical data with the appropriate markings.
                                                                            l. All information relating to political
     c. Defense services (as defined in section 120.9 of               contributions, fees, or commissions furnished or
reference (v)) will be accompanied by documentation                    obtained, offered, solicited, or agreed upon, as outlined
(contracts, invoices, shipping bills, or bills of lading)              in parts 126.16(m) or 126.17(m) of reference (v).
clearly labeled with the appropriate identification.
                                                                           m. Purchase order, contract, or letter of intent.

10-805. Transfers.                                                         n. Technical data actually exported.

    a. All Defense Articles that fall under the scope of                   o. The Internal Transaction Number for the
the Treaties must be transferred from the U.S. point of                Electronic Export Information filing in the Automated
embarkation through channels approved by both the                      Export System.
U.S. and the UK or the U.S. and AUS, as applicable.
                                                                            p. All shipping documentation (including, but not
     b. For transfers of defense articles as freight, the              limited to, the airway bill, bill of lading, packing list,
contractor shall prepare a transportation plan. For                    delivery verification, and invoice).
transfer of classified U.S. defense articles, a freight
forwarder must have a valid facility security clearance                    q. Statement of Registration (Form DS-2032).
(FCL) and storage capability at the appropriate level.
For unclassified U.S. defense articles that are
transferred as freight, a freight forwarder is not
required to be cleared.

10-806 Records. Contractors shall maintain records
of exports, transfers, re-exports, or re-transfers of
defense articles subject to the Treaties for a minimum
of 5 years. Records shall be made available to DSS
upon request. The records shall contain the following
information required by Sections 126.16 and 126.17 of
reference (v):

    a. Port of entry or exit.

    b. Date and time of export or import.


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                                                 CHAPTER 11
                                           Miscellaneous Information

                                                Section 1. TEMPEST

 11-100. General. TEMPEST is an unclassified                         determined that classified information may be
 short name referring to investigations and studies of               exposed to TEMPEST collection.
 compromising         emanations.        Compromising
 emanations are unintentional intelligence-bearing                        c. Contractors will assist the GCA in conducting
 signals that, if intercepted and analyzed, will disclose            threat and vulnerability surveys by providing the
 classified information when it is transmitted,                      following information upon request:
 received, handled, or otherwise processed by any
 information processing equipment.                                            (1) The specific classification and special
                                                                     categories of material to be processed/handled by
 11-101. TEMPEST Requirements.                                       electronic means.

      a. TEMPEST countermeasures will be applied                              (2) The specific location where classified
 only in proportion to the threat of exploitation and the            processing will be performed.
 resulting damage to the national security should the
 information be intercepted and analyzed by a foreign                         (3) The name, address, title, and contact
 intelligence organization. It is the responsibility of              information for a point-of-contact at the facility
 the GCA to identify in writing what TEMPEST                         where processing will occur.
 countermeasures may be required. The GCA will
 identify any TEMPEST requirements within the                        11-102. Cost. All costs associated with applying
 United States to the CSA for approval prior to                      TEMPEST        countermeasures,     when       such
 imposing       requirements         for      TEMPEST                countermeasures are imposed upon the contractor by
 countermeasures on contractors. Contractors may not                 a GCA, shall be recoverable by direct charge to the
 impose TEMPEST countermeasures upon their                           applicable contract.   The GCA should provide
 subcontractors without GCA and CSA approval.                        TEMPEST shielding and shielded equipment as
                                                                     government-furnished equipment (GFE) when such
      b. The government is responsible for performing                extreme countermeasures are deemed essential to the
 threat assessment and vulnerability studies when it is              protection of the information being processed.




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                          Section 2. Defense Technical Information Center (DTIC)


11-200. General. The Department of Defense                          contractor access to the information shall be placed on
operates certain activities to assist individuals and               each classified document. When the contract to which
organizations in gaining access to scientific and                   the DD Form 1540 applies is completed or terminated,
technical information describing planned or on-going                the contractor shall either destroy or request retention
research, development, test, and evaluation (RDT&E)                 for the material.
efforts of the Department of Defense. DTIC is the
central point within the Department of Defense for                  11-204. DTIC Downgrading or Declassification
acquiring, storing, retrieving, and disseminating                   Notices. DTIC re-marks downgraded or declassified
scientific and technical information to support the                 paper documents only on the front and back covers and
management and conduct of DoD RDT&E and study                       the title, first, and back pages. It is the responsibility
programs.                                                           of the recipient to complete any remarking required.
                                                                    Documents originally marked under the provisions of
11-201. User Community.          DTIC services are                  previous E.O.s may contain pages that do not bear any
available to the Department of Defense and its                      classification markings.         Before extracting or
contractors, as well as to other U.S. Government                    reproducing the information from these pages,
organizations and their contractors. Contractors may                contractors should direct any questions they may have
also become eligible for services under the Defense                 to the originator of the document.
Potential Contractors Program.
                                                                    11-205. Questions Concerning Reference Material.
11-202. Registration Process. All users are required                Most material made available to contractors by DTIC
to register for service. Registration, which is free,               and other distribution agencies is reference material.
generally involves completing two forms which are                   Therefore, the GCA that authorized the services of
available from DTIC as part of a registration kit.                  DTIC under a specific contract may not be in a
                                                                    position to provide the contractor with classification
    a. DD Form 1540, Registration for Scientific                    guidance for the reference material. Classification
and Technical Information Services. This form shall                 jurisdiction always is the responsibility of the
be completed for each contract that authorizes use of               originating agency, or its successor. Classification
DTIC services. This authorization is included in the                jurisdiction is not necessarily the responsibility of the
Contract Security Classification Specification. The                 authorizing GCA. When a contractor needs assistance
DD Form 1540 is submitted to DTIC through the                       in identifying the responsible department or agency for
sponsoring GCA for certification and approval. If a                 classification guidance for reference material the CSA
subcontract is involved, the DD Form 1540 is                        should be consulted.
submitted through the prime contractor. The DD Form
1540 remains in force until completion of the classified            11-206. Subcontracts. If a contractor awards a
contract or subcontract.                                            subcontract that authorizes the subcontractor to use the
                                                                    services of DTIC and is expected to require access
     b. DD Form 2345, Militarily Critical Technical                 only to classified reference material, the Contract
Data Agreement. Qualified contractors are eligible                  Security Classification Specification issued to the
for access to militarily critical technical data after              subcontractor shall show the highest category of
certification with Defense Logistics Services Center                classification required. The Contract Security
(DLSC) by completing the DD Form 2345. This                         Classification Specification will have a statement
DLSC certification is supplementary to registration                 similar to the following: "Information extracted from
with the DTIC. Upon certification with DLSC, the                    classified reference material shall be classified
user also may be eligible for access to unclassified,               according to the markings on such material. The DD
militarily critical technical data from other DoD                   Form 1540 prepared under this subcontract shall be
sources.                                                            forwarded through (name of prime contractor)."

11-203. Safeguarding Requirements.          Classified
information acquired from DTIC shall be safeguarded
according to the requirements of this Manual and with
any restrictions that are marked on the material itself.
The specific contract number that authorized



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                   Section 3. Independent Research and Development (IR&D) Efforts


 11-300. General. This section provides special                    NOTE: The Department of Defense "Index of
 procedures and requirements necessary for                         Security Classification Guides" and many of the
 safeguarding classified information when it is                    listed security classification guides are available to
 incorporated in contractors’ IR&D efforts.                        contractors who are registered with the DTIC.
                                                                   Contractors are encouraged to use the Index and the
 11-301. Information Generated Under an IR&D                       listed guides to obtain up-to-date security guidance
 Effort that Incorporates Classified Information.                  for the classified information involved when
 Under reference (b) information that is in substance              developing guidance appropriate for their IR&D
 the same as information currently classified requires             efforts.
 a derivative classification. Therefore, information in
 a contractor's IR&D effort will require a derivative              11-303. Preparation of Security Guidance.
 classification.                                                   Contractors shall use the Contract Security
                                                                   Classification Specification to provide security
 11-302. Classification Guidance. The releasing                    guidance for the classified information released in
 contractor may extract guidance appropriate for the               their IR&D efforts.
 IR&D effort from:
                                                                   11-304. Retention of Classified Documents
     a. An existing Contract Security Classification               Generated Under IR&D Efforts. Contractors may
 Specification that was previously furnished by a                  retain the classified documents that were generated in
 GCA in connection with performance of a classified                connection with their classified IR&D efforts for the
 contract;                                                         duration of their FCL provided they have proper
                                                                   storage capability. Documents shall be clearly
      b. A final Contract Security Classification                  identified as "IR&D DOCUMENTS." A contractor's
 Specification that was issued in connection with                  facility clearance will not be continued solely for the
 retention of classified documents under a completed               purpose of retention of classified IR&D documents
 contract;                                                         without specific retention authorization from the
                                                                   GCA that has jurisdiction over the classified
     c. A security classification guide obtained                   information contained in such documents.
 from DTIC; or                                                     Contractors shall establish procedures for review of
                                                                   their IR&D documents on a recurring basis to reduce
     d.   A classified source document.                            their classified inventory to the minimum necessary.




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                                                 APPENDIX A

                                  Cognizant Security Office Information

 DoD                                                        U.S. Department of Energy
                                                            Idaho Operations Office
 DoD as a CSA, designates DSS as its CSO. DSS is            850 Energy Drive
 headquartered in Northern Virginia.          The field     Idaho Falls, ID 83401
 organization structure consists of four regions. Each      (208) 526-1322
 region is comprised of Field Offices that employ
 Industrial Security Representatives (ISRs) to provide      U.S. Department of Energy
 security oversight, consultation and assistance to over    Oak Ridge Operations Office
 13,000 contractors. The DSS Field Offices and the ISRs     200 Administration Road
 have supporting IS Security Professionals and              Oak Ridge, TN 37831
 Counterintelligence personnel, who work with the           (865) 576-2140
 contractor on NISPOM-related matters. Field offices are
 located throughout the United States. Refer to the DSS     U.S. Department of Energy
 website (www.dss.mil) for a listing of office locations    Pittsburgh Naval Reactors
 and areas of responsibility.                               814 Pittsburgh McKeesport Boulevard
                                                            West Mifflin, PA 15122-0109
 Verification of Facility Clearance and Safeguarding:       (412) 476-5000
 www.dss.mil
                                                            U.S. Department of Energy
 Other questions: DoD Security Services Center              Richland Operations Office
 Phone: 1-888-282-7682                                      825 Jadwin Avenue
                                                            P.O. Box 550
 DOE                                                        Richland, WA 99352
                                                            (509) 376-7411
 DOE, as a CSA, designates the DOE Field Office
 Safeguards and Security Divisions as its CSO, Clearance    U.S. Department of Energy
 Agency, CVA, Adjudicative Authority, and PCL and           Savannah River Operations Office
 FCL databases for its contractors.                         Road 1A
                                                            Aiken, SC 29801
 Office of Headquarters Security Operations                 (803) 725-6211
 SO-30/Germantown Building
 U.S. Department of Energy                                  U.S. Department of Energy
 1000 Independence Avenue, S.W.                             Schenectady Naval Reactors Office
 Washington, D.C. 20585-1290                                U.S. DOE Building MS Warehouse
 (301) 903-4175                                             2401 River Road
                                                            Schenectady, NY 12309
 U.S. Department of Energy                                  (518) 395-4000
 National Nuclear Security Administration Office of
 Personnel and Facility Clearances                          For International Affairs and Industrial Security
 Pennsylvania & H Street, Kirtland Air Force Base           International, the DOE designates the:
 Albuquerque, NM 87116
 (505) 845- 4844                                            Office of International Safeguards and Security
                                                            SO-20.3/Germantown Building
 U.S. Department of Energy                                  U.S. Department of Energy
 Chicago Office, Bldg. 201                                  1000 Independence Avenue, S.W.
 9800 South Cass Avenue                                     Washington, D.C. 20585-1290
 Argonne, IL 60439                                          (301) 903-2910
 (630) 252-2000 (Operator)




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 Nuclear Regulatory Commission

 The NRC, as a CSA, designates the following office as
 its CSO, Adjudicative Authority, International Affairs
 Office, PCL and FCL databases, and the Office of
 Industrial Security International for their contractors.

 U.S. Nuclear Regulatory Commission
 ATTN: Director of Security
 Washington, DC 20555
 (301) 415-8100

 The NRC designates the following offices as the
 Clearance Agency and Central Verification Agency for
 its contractors.

 Clearance Agency:
 U.S. Nuclear Regulatory Commission
 ATTN: Director of Security Personnel Security Branch
 Washington D.C. 20555
 (301) 415-7043

 Central Verification Agency:
 U.S. Nuclear Regulatory Commission
 ATTN: Director of Security Facilities Security Branch
 Washington, D.C. 20555
 (301) 415-7407




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                                                   APPENDIX B

                                           International Visits
                                 Standard Request for Visit Format (RFV)


 This appendix contains the instructions for the completion of a Request for Visit (RFV) for international visits. The
 visit request must be submitted through the FSO to the applicable clearance agency. The RFV format below, will be
 used for all requests for international visits as follows:

          (1) A separate request must be submitted for each program, project, or contract.

          (2) A separate request must be submitted for each country to be visited.

          (3) Subject to Government Agency restrictions, multiple locations may be listed for each country provided
 each location is involved in the same program, project, or contract.

         (4) The RFV may be locally produced on a form or form letter provided the specified format is followed.
 Information given to answer each data element must be typed or printed in block letters so that it is legible.

 1. GENERAL INSTRUCTION

     1.1. The RFV is an important document and must be completed without misstatement or omission. Failure to
 provide all requested information will delay the processing of the request.

      1.2. The RFV should be used for a "one-time visit" and/or "recurring visits" and/or an "emergency visit" during a
 certain period of time not to exceed one year.

     1.3. The RFV should be marked to identify which type of information or subject will be involved:

        1.3.1. Unclassified/RESTRICTED information without access to information or areas classified
 CONFIDENTIAL or above.

            1.3.2. Information or areas classified CONFIDENTIAL or above.

      1.4. This RFV should be hand written in block letters or typed. Processing of the RFV in an IS is allowed provided
 that the original form and content are consistent.

     1.5. Submitting Terms and Country Codes.

 The RFV should be in the possession of the requesting National Security Authority/Designated Security Authority
 (NSA/DSA) the number of working days prior to the visit as follows:




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                        Country to be visited             2 letter-    Working days
                                                          code         (if different from lead
                                                                       times as shown in
                                                                       Section I)
                        Austria                           AT           20
                        Belgium                           BE           20
                        Canada                            CA           20
                        Czech Republic                    CZ           20
                        Denmark                           DA           7
                        France                            FR           15
                        Germany                           GE           20
                        Greece                            GR           20
                        Hungary                           HU           20
                        Italy                             IT           20
                        Luxembourg                        LU           14
                        Netherlands                       NL           10
                        Norway                            NO           10
                        Portugal                          PO           21
                        Poland                            PL           25
                        Spain                             SP           20
                        Sweden                            SE           15
                        Switzerland                       SZ           20
                        Turkey                            TU           21
                        United Kingdom                    UK           15
                        United States                     US           21

      1.6. The completed RFV should be sent to the following national agency/address that will process the request (to be
 inserted by issuing NSA/DSA):

 Name of Agency
 Address:

 Telefax no:




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                DETAILED INSTRUCTIONS FOR COMPLETION OF REQUEST FOR VISIT
                            (The application has to be submitted in English only)

 These detailed instructions are guidance for the visitors who complete the RFV in the case of one-time visits or by
 the agency or facility security officer in case of recurring visits in the framework of approved programs or projects.
 Since this RFV-format is designed for manual as well as for automated use it is required that a corresponding
 distinction is made in the completion of some items. When this distinction is applicable reference is made in the text
 of the item under "Remark(s)".

 Heading:          In case of a manual application mark the appropriate box in left, middle and right column.

 HEADING                                                 Check boxes for visit type, information or access type,
                                                         and whether or not there are annexes to the RFV.
 1. ADMINISTRATIVE DATA                                  Do not fill in (to be completed by requesting Embassy).

 2. REQUESTING GOVERNMENT AGENCY                         Mention full name and postal address. Include city,
 OR INDUSTRIAL FACILITY.                                 state, postal zone as applicable.

 3. GOVERNMENT AGENCY OR                                 Mention full name and postal address. Include city,
 INDUSTRIAL FACILITY TO BE VISITED                       state, postal zone, telex or fax number, telephone
                                                         number and e-mail. Mention the name and
                                                         telephone/fax numbers and e-mail of your main point
                                                         of contact or the person with whom you have made the
                                                         appointment for the visit.

                                                         Remarks:
                                                         1) Mentioning the correct postal zone (zip code) is very
                                                         important because there can be different facilities of the
                                                         same company.

                                                         2) In case of a manual application, Annex 1 can be used
                                                         when two or more agencies or facilities have to be
                                                         visited in the framework of the same subject. When an
                                                         Annex is used item 3 should state: "SEE ANNEX 1,
                                                         NUMBER OF AGENCIES/FAC.:.." (state number of
                                                         agencies/ facilities).

                                                         3) For visits to the United States one request for each
                                                         agency/facility to be visited should be filled in.

 4. DATES OF VISIT                                       Mention the actual date or period (date-to-date) of the
                                                         visit by "day- month-year". If applicable, place an
                                                         alternate date or period in brackets.

 5. TYPE OF VISIT                                        Mark one item of each column as indicated.
                                                         Government initiative will be specified only if the visit
                                                         is in support of an authorized government program,
                                                         which must be fully described in item 8.




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 6. SUBJECT TO BE DISCUSSED/                 Give a brief description of the subject(s) motivating the
 JUSTIFICATION                               visit. Do not use unexplained abbreviations.

                                             Remarks:
                                             1) In case of a recurring visit this item should state
                                             "Recurring Visits" as the first words in the data element
                                             (e.g. Recurring Visits to discuss_____)

                                             2) It is strongly advised to repeat the subject to be
                                             discussed and or the justification of the visit in the
                                             language of the receiving country.

 7. ANTICIPATED LEVEL OF CLASSIFIED          TOP SECRET (TS)
 INFORMATION TO BE INVOLVED                  SECRET (S)
                                             CONFIDENTIAL (C)
                                             RESTRICTED (R)
                                             UNCLASSIFIED (U)– As applicable

 8. IS THE VISIT PERTINENT TO:               Mark the appropriate line yes (Y) and specify the full
                                             name of the government project/program, FMS-case
 Specific equipment or weapon system         etc., or request for proposal or tender offer using
 Foreign military sales or export license    commonly used abbreviations only
 A Program or Agreement
 A defense acquisition process
 Other




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 9. PARTICULARS OF VISITOR           NAME: Title (Mr. Dr. COL), family name, first
                                     forename in full, middle initial(s), and suffix (Jr., PhD,
                                     etc. ) Family name and first forename are mandatory
                                     fields.

                                     DOB: date of birth (day-month-year)

                                     POB: place of birth (city-state-country)

                                     SC: actual security clearance status, e.g., TS, S, C.
                                     Indicate NATO clearance (CTS, NS, NC) if the visit is
                                     related to NATO business.

                                     ID-PP: enter the number of identification card or
                                     passport, as required by host government.

                                     NAT: enter nationality and/or citizenship in 2-letter-
                                     code in accordance with the General Instructions
                                     paragraph 1.4.

                                     POSITION: Mention the position the visitor holds in
                                     the organization (e.g., director, product manager, etc.)

                                     COMPANY/AGENCY: Mention the name of the
                                     government agency or industrial facility that the visitor
                                     represents (if different from item 2).

                                     [Remark: when more than 2 visitors are involved in
                                     the visit, Annex 2 should be used. In that case item no.
                                     9 should state "SEE ANNEX 2, NUMBER OF
                                     VISITORS:" (state the number of visitors)].


 10. THE SECURITY OFFICER OF THE     This items requires the name, telephone, facsimile
 REQUESTING AGENCY                   numbers and e-mail of the requesting facility security
                                     officer




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 11. CERTIFICATION OF SECURITY       DO NOT FILL IN (to be completed
 CLEARANCE                           by government certifying authority only if access to
                                     information or to areas classified CONFIDENTIAL or
                                     above will be involved unless otherwise required by bi-
                                     lateral agreements.)

                                     Note for the certifying authority:

                                     a. Mention name, address, telephone, facsimile
                                     numbers and e-mail (can be pre-printed).

                                     b. This item should be signed and eventually stamped,
                                     as applicable.

                                     c. If the certifying authority corresponds with the
                                     requesting National Security Authority enter: "See item
                                     12".

                                     Remark: Item 11 and 12 may be filled in by the
                                     appropriate official of the Embassy of the requesting
                                     country.

 12. REQUESTING SECURITY AUTHORITY   DO NOT FILL IN.
                                     Note for the requesting NSA/DSA:

                                     a. Mention name, address, telephone, facsimile
                                     numbers and e-mail (can be pre-printed).

                                     b. Sign and eventually stamp this item.

 13. REMARKS                         a. This item can be used for certain administrative
                                     requirements (e.g. proposed itinerary, request for hotel,
                                     and/or transportation).

                                     b. This space is also available for the receiving
                                     NSA/DSA for processing, e.g., "no security
                                     objections", etc.

                                     c. In case of an Emergency Visit the name, telephone,
                                     fax numbers and e-mail of the knowledgeable person (
                                     Doc. 7, section II, point 2a ) should be stated.

                                     d. In case a special briefing is required, the type of
                                     briefing and the date that the briefing was given
                                     should be stated.




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                                    REQUEST FOR VISIT

 [ ] One-time                  [ ] Unclassified/RESTRICTED information   Annexes:
 [ ] Recurring                 or access to areas without access to      [ ] Yes
 [ ] Emergency                 information classified CONFIDENTIAL or
 [ ] Amendment                 above                                     [ ] No

                               [ ] CONFIDENTIAL or above involved.

                                1. ADMINISTRATIVE DATA

 REQUESTOR:                                    DATE:

 TO:                                           VISIT ID:


                 2. REQUESTING GOVERNMENT AGENCY OR INDUSTRIAL FACILITY

 NAME
 POSTAL ADDRESS                                            E-MAIL ADDRESS (when known)



 TELEX/FAX NR.                                             TELEPHONE

 3. GOVERNMENT AGENCY OR INDUSTRIAL FACILITY TO BE VISITED

 NAME

 ADDRESS                                                   E-MAIL ADDRESS (when known)




 TELEX/FAX NR.                                             TELEPHONE

 POINT OF CONTACT



 4. DATES OF VISIT: / / TO / / ( / / TO / / )

 5 TYPE OF VISIT: (SELECT ONE FROM EACH COLUMN)

 [ ] GOVERNMENT INTITIATIVE                    [ ] INITIATED BY REQUESTING AGENCY OR
                                               FACILITY

 [ ] COMMERCIAL INITIATIVE                     [ ] BY INVITIATION OF THE FACILITY TO BE
                                               VISITED




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 6. SUBJECT TO BE DISCUSSED/JUSTIFICATION:




 7. ANTICIPATED LEVEL OF CLASSIFIED INFORMATION TO BE INVOLVED



 8. IS THE VISIT PERTINENT TO:                                              SPECIFY
  Specific equipment or weapon system              []

 Foreign military sales or export license          []

 A Program or Agreement                            []

 A defence acquisition process                     []

 Other                                             []

 9. PARTICULARS OF VISITORS

 NAME
 DATE OF BIRTH; / /                                      PLACE OF BIRTH
 SECURITY CLEARANCE:                                     ID/PP NR:
 POSITION                                                NATIONALITY
 COMPANY/AGENCY

 NAME
 DATE OF BIRTH; / /                                      PLACE OF BIRTH
 SECURITY CLEARANCE:                                     ID/PP NR:
 POSITION                                                NATIONALITY
 COMPANY/AGENCY

 10. THE SECURITY OFFICER OF THE REQUESTING GOVERNMENT AGENCY OR
 INDUSTRIAL FACILITY

 NAME:                                                   TELEPHONE/FAX NRS.
                                                         E-MAIL-ADDRESS (when known):
 SIGNATURE:

 11. CERTIFICATON OF SECURITY CLEARANCE
 (only if information or areas classified CONFIDENTIAL or above will be involved unless required by
 bilateral agreements)

 NAME:




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 ADDRESS:
                                                                STAMP




 SIGNATURE:


 12. REQUESTING NATIONAL SECURITY AUTHORITY:

 NAME:

 ADDRESS:
                                                                STAMP




 SIGNATURE:


 13. REMARKS:




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  GOVERNMENT AGENCY OR INDUSTRIAL FACILITY TO BE VISITED:

  1. NAME                  :
  ADDRESS                  :


    TELEX/FAX NO     :                      E-MAIL (when known):
    POINT OF CONTACT :                      TELEPHONE NO:


  2. NAME                  :
     ADDRESS               :


    TELEX/FAX NO     :                      E-MAIL (when known):
    POINT OF CONTACT :                      TELEPHONE NO:


  3. NAME                  :
     ADDRESS               :


    TELEX/FAX NO     :                      E-MAIL (when known):
    POINT OF CONTACT :                      TELEPHONE NO:


  4. NAME                  :
     ADDRESS               :


    TELEX/FAX NO     :                      E-MAIL (when known):
    POINT OF CONTACT :                      TELEPHONE NO:


  5. NAME                  :
     ADDRESS               :


    TELEX/FAX NO     :                      E-MAIL (when known):
    POINT OF CONTACT :                      TELEPHONE NO:




  (Continue as Required)




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                                                  APPENDIX C

                                                    Definitions

           Unless otherwise noted, these terms and their definitions are for the purposes of this Manual.

  Access.   The ability and opportunity to gain                   Security Container" on the face of the top drawer.
  knowledge of classified information.                            Acceptable tests of these containers can be
                                                                  performed only by a testing facility specifically
  Adverse Information.         Any information that               approved by GSA.
  adversely reflects on the integrity or character of a
  cleared employee, that suggests that his or her                 Approved Vault. A vault constructed in accordance
  ability to safeguard classified information may be              with this Manual and approved by the CSA.
  impaired, that his or her access to classified
  information clearly may not be in the interest of               Approved Vault Door. A vault door and frame unit
  national security, or that the individual constitutes           originally procured from the Federal Supply
  an insider threat.                                              Schedule (FSC Group 71, Part III, Section E, FSC
                                                                  Class 7110), that meets Federal Specification AA-D-
  Affiliate.    Any entity effectively owned or                   600.
  controlled by another entity.
                                                                  AUS Community. Consists of the Government of
 Approved Access Control Device. An access                        Australia entities and Australian non-governmental
 control device that meets the requirements of this               facilities identified on the DDTC website
 Manual as approved by the FSO.                                   (http://pmddtc.state.gov/) at the time of export or
                                                                  transfer.
 Approved Built-in Combination Lock.             A
 combination lock, equipped with a top-reading dial               Authorized Person. A person who has a need-to-
 that conforms to UL Standard Number UL 768                       know for classified information in the performance
 Group 1R.                                                        of official duties and who has been granted a PCL at
                                                                  the required level.
 Approved Combination Padlock. A three-position
 dial-type changeable combination padlock listed on               Certification. Defined in the Committee on National
 the GSA Qualified Products List as meeting the                   Security Systems Instruction No. 4009 (reference
 requirements of Federal Specification FF-P-110.                  (aq)).

 Approved Electronic, Mechanical, or Electro-                     Classified Contract. Any contract requiring access
 Mechanical Device. An electronic, mechanical, or                 to classified information by a contractor or his or her
 electro-mechanical device    that  meets     the                 employees in the performance of the contract. (A
 requirements of this Manual as approved by the                   contract may be a classified contract even though the
 FSO.                                                             contract document is not classified.)                The
                                                                  requirements prescribed for a "classified contract"
 Approved Key-Operated Padlock. A padlock,                        also are applicable to all phases of precontract
 which meets the requirements of MIL-SPEC-P-                      activity, including solicitations (bids, quotations, and
 43607 (shrouded shackle), National Stock Number                  proposals), precontract negotiations, post-contract
 5340-00-799-8248, or MIL-SPEC-P-43951 (regular                   activity, or other GCA program or project which
 shackle), National Stock Number 5340-00-799-                     requires access to classified information by a
 8016.                                                            contractor.

 Approved Security Container. A security file con-                Classification Guide. A document issued by an
 tainer, originally procured from a Federal Supply                authorized original classifier that identifies the
 Schedule supplier that conforms to federal specifica-            elements of information regarding a specific subject
 tions and bears a "Test Certification Label" on the              that must be classified and prescribes the level and
 locking drawer attesting to the security capabilities            duration     of   classification  and     appropriate
 of the container and lock. Such containers will be               declassification instructions. (Classification guides
 labeled "General Services Administration Approved


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 are provided to contractors by the Contract Security               to administer industrial security on behalf of the
 Classification Specification.)                                     CSA.

 Classified Information. Official information that                  Colleges and Universities. Educational institutions
 has been determined, pursuant to reference (b) or any              that award academic degrees, and related research
 predecessor order, to require protection against                   activities directly associated with a college or
 unauthorized disclosure in the interest of national                university through organization or by articles of
 security and which has been so designated. The term                incorporation.
 includes NSI, RD, and FRD.
                                                                    Communications Security (COMSEC). Protective
 Classified Information Procedures Act. A law that                  measures taken to deny unauthorized persons
 provides a mechanism for the courts to determine                   information derived from telecommunications of the
 what classified information defense counsel may                    U.S. Government relating to national security and to
 access.                                                            ensure the authenticity of such communications.

 Classified Visit. A visit during which a visitor will              Company. A generic and comprehensive term
 require, or is expected to require, access to classified           which may include sole proprietorships, individuals,
 information.                                                       partnerships, corporations, societies, associations,
                                                                    and organizations usually established and operating
 Classifier. Any person who makes a classification                  to carry out a commercial, industrial or other
 determination and applies a classification category to             legitimate business, enterprise, or undertaking.
 information or material. The determination may be
 an original classification action or it may be a                   Compromise.        An unauthorized disclosure of
 derivative classification action. Contractors make                 classified information.
 derivative classification determinations based on
 classified source material, a security classification              CONFIDENTIAL. The classification level applied
 guide, or a Contract Security Classification                       to information, the unauthorized disclosure of which
 Specification.                                                     reasonable could be expected to cause damage to the
                                                                    national security that the original classification
 Cleared Commercial Carrier. A carrier authorized                   authority is able to identify or describe.
 by law, regulatory body, or regulation to transport
 SECRET material and has been granted a SECRET                      Consignee. A person, firm, or government activity
 facility clearance.                                                named as the receiver of a shipment; one to whom a
                                                                    shipment is consigned.
 Cleared Employees. All contractor employees
 granted PCLs and all employees being processed for                 Consignor. A person, firm, or government activity
 PCLs.                                                              by which articles are shipped. The consignor is
                                                                    usually the shipper.
 Closed Area. An area that meets the requirements of
                                                                    Constant Surveillance Service. A transportation
 this Manual for safeguarding classified material that,
                                                                    protective service provided by a commercial carrier
 because of its size, nature, or operational necessity,
                                                                    qualified by SDDC to transport CONFIDENTIAL
 cannot be adequately protected by the normal
                                                                    shipments.        The service requires constant
 safeguards or stored during nonworking hours in
                                                                    surveillance of the shipment at all times by a
 approved containers.
                                                                    qualified carrier representative; however, an FCL is
                                                                    not required for the carrier. The carrier providing
 Cognizant Security Agency (CSA). Agencies of
                                                                    the service must maintain a signature and tally
 the Executive Branch that have been authorized by                  record for the shipment.
 reference (a) to establish an industrial security
 program to safeguard classified information under
                                                                    Contracting Officer. A government official who, in
 the jurisdiction of those agencies when disclosed or
                                                                    accordance with departmental or agency procedures,
 released to U.S. Industry. These agencies are: The
                                                                    has the authority to enter into and administer
 Department of Defense, DOE, CIA, and NRC.
                                                                    contracts and make determinations and findings with
                                                                    respect thereto, or any part of such authority. The
 Cognizant Security Office (CSO).                  The
                                                                    term also includes the designated representative of
 organizational entity delegated by the Head of a CSA



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 the contracting officer acting within the limits of his             the scope of section 126.17 of reference (v) are
 or her authority.                                                   identified in Supplement No. 1 to Part 126 of
                                                                     reference (v).
 Contractor.       Any industrial, educational,
 commercial, or other entity that has been granted an                Derivative Classification. The incorporating,
 FCL by a CSA.                                                       paraphrasing, restating, or generating in new form
                                                                     information that is already classified, and marking
 Courier. A cleared employee, designated by the                      the newly developed material consistent with the
 contractor, whose principal duty is to transmit                     classification markings that apply to the source
 classified material to its destination. The classified              information. Derivative classification includes the
 material remains in the personal possession of the                  classification of information based on classification
 courier except for authorized overnight storage.                    guidance.      The duplication or reproduction of
                                                                     existing classified information is not derivative
 Corporate Family.             The corporation,        its           classification.     Persons who apply derivative
 subsidiaries, divisions and branch offices.                         classification markings shall observe and respect
                                                                     original classification decisions and carry forward to
 Counterintelligence. Defined in reference (e)                       any newly created documents any assigned
 .                                                                   authorized markings.

 Covered IS. An IS that is owned or operated by or                   Document. Any recorded information, regardless of
 for a cleared defense contractor and that processes,                the nature of the medium or the method or
 stores, or transmits information created by or for the              circumstances of recording.
 Department of Defense with respect to which such
 contractor is required to apply enhanced protection                 Downgrade.        A determination that classified
 (e.g., classified information).                                     information requires, in the interest of national
                                                                     security, a lower degree of protection against
 Custodian. An individual who has possession of, or                  unauthorized disclosure than currently provided,
 is otherwise charged with, the responsibility for                   together with a changing of the classification
 safeguarding classified information.                                designation to reflect a lower degree of protection.

 Cybersecurity. Defined in the National Security                     Embedded System.          An IS that performs or
 Presidential Directive-54 (reference (ar)). Prevention              controls a function, either in whole or in part, as an
 of damage to, protection of, and restoration of                     integral element of a larger system or subsystem
 computers, electronic communications systems,                       such as, ground support equipment, flight
 electronic communication services, wire                             simulators, engine test stands, or fire control
 communication, and electronic communication,                        systems.
 including information contained therein, to ensure its
 availability, integrity, authentication, confidentiality,           Escort.     A cleared person, designated by the
 and non-repudiation.                                                contractor, who accompanies a shipment of classified
                                                                     material to its destination. The classified material
 Cyber Incident. Actions taken through the use of                    does not remain in the personal possession of the
 computer networks that result in an actual or                       escort but the conveyance in which the material is
 potentially adverse effect on an IS or the information              transported remains under the constant observation
 residing therein.                                                   and control of the escort.

 Declassification. The determination that classified                 Facility.    A plant, laboratory, office, college,
 information no longer requires, in the interest of                  university, or commercial structure with associated
 national security, any degree of protection against                 warehouses, storage areas, utilities, and components,
 unauthorized disclosure, together with removal or                   that, when related by function and location, form an
 cancellation of the classification designation.                     operating entity.      (A business or educational
                                                                     organization may consist of one or more facilities as
 Defense Articles. Those articles, services, and                     defined herein.) For purposes of industrial security,
 related technical data, including software, in tangible             the term does not include Government installations.
 or intangible form, which are listed on the United
 States Munitions List (USML) of reference (v), as                   Facility (Security) Clearance (FCL).           An
 modified or amended. Defense articles exempt from                   administrative determination that, from a security


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 viewpoint, a company is eligible for access to                     with a classified visit or meeting. The classified
 classified information of a certain category (and all              material remains in the personal possession of the
 lower categories).                                                 hand carrier except for authorized overnight storage.

 Foreign     Government        Information       (FGI).             Home Office Facility (HOF). The headquarters
 Information that is:                                               company of a multiple facility organization.

      a. Provided to the U.S. by a foreign government               Industrial Security. That portion of information
 or governments, an international organization of                   security concerned with the protection of classified
 governments, or any element thereof with the                       information in the custody of U.S. industry.
 expectation, expressed or implied, that the
 information, the source of the information, or both,               Information.        Any knowledge that can be
 are to be held in confidence; or                                   communicated or documentary material, regardless
                                                                    of its physical form or characteristics.
      b. Produced by the U.S. pursuant to, or as a
 result of, a joint arrangement with a foreign                      Information Security. The result of any system of
 government or governments, an international                        administrative policies and procedures for
 organization of governments, or any element thereof,               identifying, controlling, and protecting from
 requiring that the information, the arrangement, or                unauthorized disclosure, information the protection
 both are to be held in confidence.                                 of which is authorized by executive order.

 Foreign Interest. Any foreign government, agency                   Information System (IS). An assembly of computer
 of a foreign government, or representative of a                    hardware, software, and firmware configured for the
 foreign government; any form of business enterprise                purpose of automating the functions of calculating,
 or legal entity organized, chartered or incorporated               computing,     sequencing,     storing,    retrieving,
 under the laws of any country other than the United                displaying,    communicating,        or     otherwise
 States or its territories, and any person who is not a             manipulating data, information and textual material.
 citizen or national of the United States.
                                                                    Insider.      Cleared contractor personnel with
 Foreign National. Any person who is not a citizen                  authorized access to any Government or contractor
 or national of the United States.                                  resource, including personnel, facilities, information,
                                                                    equipment, networks, and systems.
 Formerly Restricted Data (FRD). Information that
 has been removed from the RD category after DOE                    Insider Threat. The likelihood, risk, or potential
 and the Department of Defense have jointly                         that an insider will use his or her authorized access,
 determined that the information: (1) relates primarily             wittingly or unwittingly, to do harm to the national
 to the military utilization of nuclear weapons and (2)             security of the United States. Insider threats may
 can be adequately safeguarded as NSI in the United                 include harm to contractor or program information,
 States.                                                            to the extent that the information impacts the
                                                                    contractor or agency’s obligations to protect
 Freight Forwarder (Transportation Agent). Any                      classified national security information.
 agent or facility designated to receive, process, and
 transship U.S. material to foreign recipients. In the              Intelligence.   The product resulting from the
 context of this Manual, an agent or facility cleared               collection, evaluation, analysis, integration, and
 specifically to perform these functions for the transfer           interpretation of all available information, that
 of U.S. classified material to foreign recipients.                 concerns one or more aspects of foreign nations or
                                                                    of areas of foreign operations, and that is
 Government Contracting Activity (GCA). An                          immediately or potentially significant to military
 element of an agency designated by the agency head                 planning and operations.
 and delegated broad authority regarding acquisition
 functions.                                                         Limited Access Authorization (LAA). Security
                                                                    access authorization to CONFIDENTIAL or
 Hand Carrier. A cleared employee, designated by                    SECRET information granted to non-U.S. citizens
 the contractor, who occasionally hand carries                      requiring such limited access in the course of their
 classified material to its destination in connection               regular duties.



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 Material. Any product or substance on or in which                classified information of the same or lower category
 information is embodied.                                         as the level of the personnel clearance being granted.

 Media. Defined in reference (aq).                                Prime Contract. A contract let by a GCA to a
                                                                  contractor for a legitimate government purpose.
 Multiple Facility Organization (MFO). A legal
 entity    (single      proprietorship,  partnership,             Prime Contractor. The contractor who receives a
 association, trust, or corporation) composed of two              prime contract from a GCA.
 or more contractors.
                                                                  Proscribed Information.
 National of the United States. A citizen of the
 United States or a person who, though not a citizen                  a. Top Secret information;
 of the United States, owes permanent allegiance to
 the United States.                                                    b. COMSEC information or material, excluding
                                                                  controlled cryptographic items when unkeyed or
 NOTE: 8 USC 1101(a)(22) (reference (x)) lists                    utilized with unclassified keys;
 categories of persons born in and outside the United
 States or its possessions who may qualify as                         c. RD as defined in reference (c);
 nationals of the United States. This subsection
 should be consulted when doubt exists as to whether                  d. SAP information; or
 or not a person can qualify as a national of the
 United States.                                                       e. SCI.

 NATO Information. Information bearing NATO                       Protective Security Service.       A transportation
 markings, indicating the information is the property             protective service provided by a cleared commercial
 of NATO, access to which is limited to                           carrier qualified by the SDDC to transport SECRET
 representatives of NATO and its member nations                   shipments.
 unless NATO authority has been obtained to release
 outside of NATO.                                                 Reference Material. Documentary material over
                                                                  which the GCA, who lets the classified contract,
 Need-to-Know.         A determination made by an                 does not have classification jurisdiction, and did not
 authorized holder of classified information that a               have classification jurisdiction at the time the
 prospective recipient has a requirement for access to,           material was originated.       Most material made
 knowledge, or possession of the classified                       available to contractors by the DTIC and other
 information to perform tasks or services essential to            secondary distribution agencies is reference material
 the fulfillment of a classified contract or program.             as thus defined.

 Network. A system of two or more IS that can                     Remote Terminal. A device for communication
 exchange data or information.                                    with an automated IS from a location that is not
                                                                  within the central computer facility.
 Original Classification. An initial determination
 that information requires, in the interest of national           Restricted Area.         A controlled access area
 security, protection against unauthorized disclosure,            established to safeguard classified material, that
 together with a classification designation signifying            because of its size or nature, cannot be adequately
 the level of protection required. (Only government               protected during working hours by the usual
 officials who have been designated in writing may                safeguards, but that is capable of being stored during
 apply an original classification to information.)                non-working hours in an approved repository or
                                                                  secured by other methods approved by the CSA.
 Parent Corporation. A corporation that owns at
 least a majority of another corporation's voting                 Restricted Data (RD). All data concerning the
 securities.                                                      design, manufacture, or use of atomic weapons; the
                                                                  production of special nuclear material; or the use of
 Personnel (Security) Clearance (PCL).              An            special nuclear material in the production of energy,
 administrative determination that an individual is               but shall not include data declassified or removed
 eligible, from a security point of view, for access to           from the RD category pursuant to section 142 of
                                                                  reference (c).


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 SAP. Any program that is established to control                     enters into a contract with a prime contractor. For
 access, distribution, and to provide protection for                 purposes of this Manual, each subcontractor shall be
 particularly sensitive classified information beyond                considered as a prime contractor in relation to its
 that normally required for TOP SECRET, SECRET,                      subcontractors.
 or CONFIDENTIAL information. A SAP can be
 created or continued only as authorized by a senior                 Subsidiary Corporation. A corporation in which
 agency official delegated such authority pursuant to                another corporation owns at least a majority of its
 reference (b).                                                      voting securities.

 SECRET.         The classification level applied to                 System Software. Computer programs that control,
 information, the unauthorized disclosure of which                   monitor, or facilitate use of the IS; for example,
 reasonably could be expected to cause serious                       operating    systems,    programming     languages,
 damage to the national security that the original                   communication, input-output control, sorts, security
 classification authority is able to identify or describe.           packages and        other utility-type programs.
                                                                     Considered to also include off-the-shelf application
 Security in Depth. A determination made by the                      packages obtained from manufacturers and
 CSA that a contractor's security program consists of                commercial vendors, such as for word processing,
 layered and complementary security controls                         spreadsheets, data base management, graphics, and
 sufficient to deter and detect unauthorized entry and               computer-aided design.
 movement within the facility.
                                                                     Technical Data. Information governed by reference
 Security Violation. Failure to comply with the                      ( v) and the Export Administration Regulation (EAR)
 policy and procedures established by this Manual                    (reference (y)). The export of technical data that is
 that reasonably could result in the loss or                         inherently military in character is controlled by
 compromise of classified information.                               reference (v). The export of technical data that has
                                                                     both military and civilian uses is controlled by
 Shipper. One who releases custody of material to a                  reference (y).
 carrier for transportation to a consignee.   (See
 "Consignor.")                                                       TOP SECRET. The classification level applied to
                                                                     information, the unauthorized disclosure of which
 Source Document. A classified document, other                       reasonable could be expected to cause exceptionally
 than a classification guide, from which information is              grave damage to the national security that the
 extracted for inclusion in another document.                        original classification authority is able to identify or
                                                                     describe.
 Standard Practice Procedures (SPP).         A
 document(s) prepared by a contractor that                           Transclassified Foreign Nuclear Information
 implements the applicable requirements of this                      (TFNI). Defined in the DOE Order 475.2B
 Manual for the contractor's operations and                          (reference (as)).
 involvement with classified information at the
 contractor's facility.                                              Transmission. The sending of information from
                                                                     one place to another by radio, microwave, laser, or
 Subcontract. Any contract entered into by a                         other nonconnective methods, as well as by cable,
 contractor to furnish supplies or services for                      wire, or other connective medium. Transmission
 performance of a prime contract or a subcontract.                   also includes movement involving the actual transfer
 For purposes of this Manual a subcontract is any                    of custody and responsibility for a document or other
 contract, subcontract, purchase order, lease                        classified material from one authorized addressee to
 agreement, service agreement, request for quotation                 another.
 (RFQ), request for proposal (RFP), invitation for bid
 (IFB), or other agreement or procurement action                     Transshipping Activity. A government activity to
 between contractors that requires or will require                   which a carrier transfers custody of freight for
 access to classified information to fulfill the                     reshipment by another carrier to the consignee.
 performance requirements of a prime contract.
                                                                     UK Community. Consists of the UK Government
 Subcontractor. A supplier, distributor, vendor, or                  entities with facilities and non-governmental
 firm that furnishes supplies or services to or for a                facilities identified on the DDTC website
 prime contractor or another subcontractor, who                      (http://www.pmddtc.state.gov/) at the time of export.


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 Unauthorized Person. A person not authorized to                     Upgrade. A determination that certain classified
 have access to specific classified information in                   information, in the interest of national security,
 accordance with the requirements of this Manual.                    requires a higher degree of protection against
                                                                     unauthorized disclosure than currently provided,
 United States.     The 50 states and the District of                coupled with a changing of the classification
 Columbia.                                                           designation to reflect such a higher degree.

 United States and its Territorial Areas. The 50                     Voting Securities. Any securities that presently
 states, the District of Columbia, Puerto Rico, Guam,                entitle the owner or holder thereof to vote for the
 American Samoa, the Virgin Islands, Wake Island,                    election of directors of the issuer or, with respect to
 Johnston Atoll, Kingman Reef, Palmyra Atoll, Baker                  unincorporated entities, individuals exercising
 Island, Howland Island, Jarvis Island, Midway                       similar functions.
 Islands, Navassa Island, and Northern Mariana
 Islands.                                                            Working Hours. The period of time when:

 NOTE: From 18 July 1947 until 1 October 1994, the                           a. There is present in the specific area
 United States administered the Trust Territory of the               where classified material is located, a work force on
 Pacific Islands; it entered into a political relationship           a regularly scheduled shift, as contrasted with
 with all four political units: the Northern Mariana                 employees
 Islands is a commonwealth in political union with the
 United States (effective 3 November 1986); the                      working within an area on an overtime basis outside
 Republic of the Marshall Islands signed a Compact                   of the scheduled work shift; and
 of Free Association with United States (effective
 21 October 1986); the Federated States of                                    b. The number of employees in the
 Micronesia signed a Compact of Free Association                     scheduled work force is sufficient in number and so
 with the United States (effective 3 November 1986);                 positioned to be able to detect and challenge the
 Palau concluded a Compact of Free Association with                  presence of unauthorized personnel. This would,
 the United States (effective 1 October 1994).                       therefore, exclude janitors, maintenance personnel,
                                                                     and other individuals whose duties require
 U.S. Person. Any form of business enterprise or                     movement throughout the facility.
 entity organized, chartered or incorporated under the
 laws of the United States or its territories and any                Working Papers.           Documents or materials,
 person who is a citizen or national of the United                   regardless of the media, which are expected to be
 States.                                                             revised prior to the preparation of a finished product
                                                                     for        dissemination          or         retention.




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                                                    APPENDIX D

       NISPOM Supplement - Security Requirements for SAPs, SCI, IC Compartmented
                               Programs, RD, and FRD


 1. General. Given the sensitive nature of the                           2.2. Non-DoD SAPS. Contractors performing
 classified information in these categories, the security           on SAP contracts issued by other than DoD GCAs,
 requirements prescribed in this appendix are in                    will implement SAP protection requirements imposed
 addition to NISPOM standards, and must be applied                  in their contracts. These requirements may be from,
 through specific contract requirements.                            but are not limited to, statutes, Executive orders, CSA
                                                                    directives, instructions, manuals, regulations,
       1.1. The contractor will comply with the                     standards, memorandums, and other SAP security
 security measures reflected in this appendix and other             related policy documents.
 issuances specifically referenced, when applied by
 the GCA or designee as part of a contract.                         3. Alternative Compensatory Control Measures
 Acceptance of the contract security measures is a                  (ACCM). Contractors may participate in ACCMs,
 prerequisite to any negotiations leading to program                or be directed to participate, only when such access
 participation and an area accreditation (e.g., a SCIF              and the associated security plan are identified in DD
 or a SAP facility accreditation).                                  Form 254. Care must be taken to ensure
                                                                    identification of the security plan does not disclose
      1.2. In some cases, security or sensitive factors             ACCM-protected data.
 of a CSA-created program may require security
 measures that exceed the standards of this appendix.                    3.1. ACCM Contracts. DoD contractors will
 In such cases, the CSA-imposed higher standards                    implement the security requirements for ACCMs,
 specifically detailed in the contract or conveyed                  when established by contract, in accordance with
 through other applicable directives will be binding on             applicable statutes, Executive orders, CSA directives,
 government and contractor participants. In cases of                instructions, manuals, regulations, standards,
 doubt over the specific provisions, the contractor                 memorandums, and other SAP security related policy
 should consult the program security officer and the                documents.
 contracting officer before taking any action or
 expending program-related funds. In cases of                           3.2. Non-DoD with ACCMs. Contractors
 extreme emergency requiring immediate attention,                   performing on ACCM contracts issued by other than
 the action taken should protect the government’s                   DoD GCAs, will implement ACCM protection
 interest and the security of the program from                      requirements imposed in their contracts.
 compromise.
                                                                    4. IC Compartmented Programs
      1.3. Every effort will be made to avoid waivers
 to established standards unless they are in the best                    4.1. This section encompasses SCI and IC SAPs
 interest of the government. In those cases where                   (collectively referred to in this issuance as
 waivers are deemed necessary, a request will be
                                                                    “Controlled Access Programs (CAPs)”) requiring
 submitted in accordance with the procedures
 established by the CSA.                                            compartmentation and enhanced protection when the
                                                                    vulnerability of, or threat to, specific information is
 2. SAPS.                                                           exceptional and normal standards, criteria, processes,
                                                                    and accesses are insufficient to protect such
     2.1. DoD SAP Contracts. Contractors will                       information from unauthorized disclosure.
 implement the security requirements for SAPs
 codified in SAP-related policy, when established by                    4.2. Contractors will implement the security
 contract, in accordance with applicable statutes,                  requirements for CAPs in accordance with applicable
 Executive orders, CSA directives, instructions,                    CAP-related issuances, when established by contract.
 manuals, regulations, standards, memorandums, and                  These issuances include all DNI security-related
 other SAP security related policy documents.



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 policy documents that may pertain to the protection               of the common defense and security will permit.
 of CAP and CAP-related information.                               Pursuant to section 123 of reference (c), information
                                                                   controlled by reference (c) may be shared with
 5. RD, FRD, and TFNI                                              another nation only under the terms of an agreement
                                                                   for cooperation. The disclosure by a contractor of
      5.1. General. This section describes                         RD and FRD will not be permitted until an agreement
 requirements for nuclear-related information                      is signed by the United States and participating
 designated RD, FRD, or TFNI in accordance with                    governments, and disclosure guidance and security
 reference (c). Part 1045 of Title 10, CFR (reference              arrangements are established. RD and FRD will not
 (p)) contains the requirements for classification and             be transmitted to a foreign national or regional
 declassification of RD and FRD. Additional                        defense organization unless such action is approved
 handling and protection requirements are included in              and undertaken under an agreement for cooperation
 DOE policy.                                                       between the U.S. and the cooperating entity and
                                                                   supporting statutory determinations, as prescribed in
           5.1.1 Control and distribution of RD will be            reference (c).
 sufficient to assure common defense and security.
 Weapon data is always RD or FRD, specifically that                     5.4. Personnel Security Clearances and
 portion concerning design, manufacture, or use of                 Access. Only DOE, NRC, DoD, and NASA can
 atomic weapons. RD and FRD categories are                         grant access to RD and FRD that is under their
 distinguished from the NSI category, which is                     cognizance. Access to RD and FRD must be granted
 governed in accordance with reference (b). It is                  in accordance with reference(c). Baseline
 necessary to differentiate between the handling of                requirements for access to RD and FRD are codified
 this information and NSI because of its direct                    in specific DoD, DOE, NRC, and NASA directives
 relationship to our nation’s nuclear deterrent.                   and regulations. In addition, need-to-know and other
                                                                   restrictions on access may apply.
          5.1.2 Principal authority for setting
 requirements for classifying, accessing, handling, and                5.5. Classification and Declassification
 securing and protecting RD is entrusted to the
 Secretary of Energy.                                                        5.5.1 All persons with access to RD and
                                                                   FRD must be trained on the authorities required to
           5.1.3 Some access requirements for RD and               classify and declassify RD and FRD information and
 FRD exceed the requirements for NSI. It is
                                                                   documents and on handling procedures in accordance
 important to note that due to the unique national
 security implications of RD and FRD, and to                       with parts 1045 and 1016 of reference (p).
 facilitate maintaining consistency of codified
 requirement, they are not repeated in the baseline                          5.5.2 Any person who believes he or she
 NISPOM, but may be applied through specific                       has information that may be RD or FRD must submit
 contract requirements.                                            it to an RD classifier for evaluation.

          5.1.4 When RD is transclassified to TFNI, it
                                                                            5.5.3 Only RD classifiers may classify
 is safeguarded as NSI. Such information will be
 labeled as TFNI. The label TFNI will be included on               documents containing RD or FRD. RD classifiers
 documents to indicate it is exempt from automatic                 must be trained on the procedures for classifying,
 declassification as specified in part 1045 of reference           declassifying, marking, and handling RD, or FRD
 (p) and references (c), (b,) and (z).                             and documents in accordance with part 1045 of
                                                                   reference (p).
      5.2. Unauthorized Disclosures. Contractors
 will report all unauthorized disclosures involving RD,
                                                                            5.5.4 RD classifiers will use classification
 FRD and TFNI information to the CSA.
                                                                   guides as the primary basis for classifying documents
      5.3. International Requirements. Reference                   containing RD, FRD, and TFNI.
 (c) provides for a program of international
 cooperation to promote common defense and security                         5.5.5. RD classifiers cannot declassify a
 and to make available to cooperating nations the                  document marked as containing RD, FRD, or TFNI.
 benefits of peaceful applications of atomic energy as
                                                                   Declassification includes redacting RD, FRD, and
 widely as expanding technology and considerations


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 TFNI portions from a document and removing RD,                       5.7. Challenges to RD, FRD and TFNI
 FRD, and TFNI markings from documents. RD                       Classification. Any contractor employee who
 documents must be sent to designated individuals in             believes that an RD, FRD, or TFNI document is
 DOE. FRD documents must be sent to designated                   classified improperly or unnecessarily may challenge
 individuals in DOE or appropriate officials in DoD.             that classification following the procedures
                                                                 established by the GCA.
            5.5.6 RD and FRD documents must
 include:                                                                 5.8. Comingling. Comingling of RD, FRD,
                                                                 and TFNI with information classified, in accordance
                5.5.6.1 The RD classifier’s name and             with reference (b), in the same document should be
 position or title.                                              avoided to the greatest degree possible. When
                                                                 mixing this information cannot be avoided, the
             5.5.6.2 The classification guide or                 protection requirements of references (b) and (z), as
 source document (by title and date) used to classify            well as Part 2003 of reference (z) must be met.
 the document.
                                                                      5.9. Marking RD and FRD. RD and FRD, in
          5.5.7 No date or event for automatic                   addition to any traditional NSI classification
                                                                 markings, will include RD category admonishment
 declassification ever applies to RD, FRD or TFNI
                                                                 information on the first page, RD or FRD marked at
 documents, even if they contain classified NSI. RD,             the top and bottom of each interior page containing it,
 FRD or TFNI documents remain classified until a                 and notation of Sigma information. These markings
 positive action by a designated DOE official (for RD,           may appear on any classification level
 FRD or TFNI) or an appropriate DoD official (for                (CONFIDENTIAL, SECRET, or TOP SECRET)
 FRD) is taken to declassify them.                               documents. Weapon data documents being sent
                                                                 outside the weapons complex will bear the marking
                                                                 NUCLEAR WEAPON DATA, or CNWDI, as
           5.5.8 Any RD or FRD document intended
                                                                 appropriate. Further information regarding these
 for public release in an RD or FRD subject area must            requirements can be found at
 be reviewed for classification by the appropriate               https://www.directives.doe.gov/ and
 DOE organization (for RD or TFNI) or the                        www.nnsa.energy.gov or, by e-mail to
 appropriate DOE or DoD organization (for FRD)                   Security.Directives@hq.doe.gov.
 prior to its release.
                                                                     5.10. Protection of RD and FRD. Most of the
                                                                 protection requirements for RD and FRD are similar
           5.5.9 Consult DOE Manual 205.1B
                                                                 to NSI and are based on the classification level;
 (reference (at)) for additional information and                 however, there are some specific protection
 requirements. Contact the DOE Office of                         requirements for certain Sigma information that may
 Classification at outreach@hq.doe.gov or at (301)               be applied through specific contract requirements by
 903-7567 for additional information concerning the              the GCA. These range from distribution limitations
 classification and declassification of RD and FRD.              through the limitation of access to specifically
                                                                 authorized individuals to specific storage
                                                                 requirements, including the requirement for intrusion
      5.6. Automatic declassification. Documents                 detection systems, and additional accountability
 containing TFNI are excluded from the automatic                 records (i.e., Sigmas 14, 15, and 20).
 declassification provisions of part 1045 of reference
 (p) until the TFNI designation is properly removed                        5.10.1 Any DOE contractor that violates a
 by DOE. When DOE determines that a TFNI                         classified information security requirement may be
 designation may be removed, any remaining                       subject to a civil penalty under the provisions of part
                                                                 824 of reference (p).
 information classified must be referred to the
 appropriate agency in accordance with reference (c)                      5.10.2 Certification is required for
 and part 1045 of reference (p).                                 individuals authorized access to specific Sigmas, as
                                                                 appropriate. Address questions regarding these
                                                                 requirements to Security.Directives@hq.doe.gov.


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           5.10.3 Storage and distribution
 requirements are determined by the classification                            5.13.2 DOE Order 452.7 (Reference (au)).
 level, category, and Sigma. All RD documents do                    Reference (au) establishes a general process and
 not require a Sigma designation. Storage and                       provides direction for controlling access to and
 distribution requirements will be dependent only on                distributing Sigma 14 and 15 nuclear weapon data at
 classification level and category.                                 the DOE. It supplements DOE Order 452.4B
                                                                    (reference (av)), which establishes DOE requirements
      5.11. Accountability. In addition to TS                       and responsibilities to prevent the deliberate
 information, some S/RD information is considered                   unauthorized use of U.S. nuclear explosives and
 accountable (e.g., specific Sigma 14, 15, and 20                   nuclear weapons.
 documents.) Each weapon data control point will
 keep a record of transactions involving Secret                               5.13.3 DOE Order 473.3 (Reference
 weapon data documents under its jurisdiction                       (aw)). Reference (aw) establishes requirements for
 including origination, receipt, transmission, current              the physical protection of safeguards and security
 custodian, reproduction, change of classification,                 interests. Copies of certain sections of reference (aw)
 declassification, and destruction.                                 (e.g., Attachment 3, Annex 1, Safeguards and
                                                                    Security Alarm Management System, which contains
     5.12. Cyber. Classified databases, systems and                 Unclassified Controlled Nuclear Information) are
 networks containing RD and FRD are protected                       only available, by request, from
 under the requirements developed and distributed by                Security.Directives@hq.doe.gov or, by phone at
 the DOE Office of the Chief Information Officer.                   (301) 903-1159.

     5.13. References. The following may not have                             5.13.4 DOE Order 471.6 (Reference (ax)).
 been previously referenced, but are some of the                    Reference (ax) establishes security requirements for
 primary directives that cover RD and FRD.                          the protection and control of matter required to be
 Information regarding copies of DOE Security                       classified or controlled by statutes, regulations, or
 Directives may be requested via e-mail at:                         DOE directives.
 Security.Directives@hq.doe.gov.
                                                                            5.13.5 DOE Order 483.1-1A (Reference
           5.13.1 Reference (at). Reference (at)                    ay). Reference (ay) provides policy, requirements,
 provides baseline requirements and controls for the                and responsibilities for the oversight, management
 graded protection of the confidentiality, integrity, and           and administration of Cooperative Research and
 availability of classified information and IS used or              Development Agreement activities at DOE facilities.
 operated by the DOE, contractors, and any other
 organization on behalf of DOE, including the
 National Nuclear Security Administration.




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